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                 TRADE COURT JUDGMENT




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                UNITED STATES COURT OF INTERNATIONAL TRADE

TAU-KEN TEMIR LLP, and
JSC NMC TAU-KEN SAMRUK,

                            Plaintiffs,
         and

MINISTRY OF TRADE AND INTEGRATION OF
THE REPUBLIC OF KAZAKHSTAN,

                            Plaintiff-Intervenor,        Before: Leo M. Gordon, Judge

         v.
                                                         Court No. 21-00173
UNITED STATES,

                            Defendant,

         and

GLOBE SPECIALTY METALS, INC., and
MISSISSIPPI SILICON LLC,

                            Defendant-Intervenors.

                                          JUDGMENT

      This action having been submitted for decision, and the court, after due

deliberation, having rendered an opinion; now in conformity with that opinion, it is hereby

       ORDERED that final affirmative determination by the U.S. Department

of Commerce in the countervailing duty investigation of silicon metal from the Republic

of Kazakhstan, see Silicon Metal from the Republic of Kazakhstan, 86 Fed. Reg. 11,725




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(Dep't of Commerce Feb. 26, 2021) (final affirm. determ.), and the accompanying Issues

and Decision Memorandum, C-834-811 (Dep't of Commerce Feb. 22, 2021), is sustained.




                                                            /s/ Leo M. Gordon
                                                         Judge Leo M. Gordon



Dated: July 14, 2022
       New York, New York




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                                          Slip Op. 22-82

                UNITED STATES COURT OF INTERNATIONAL TRADE

TAU-KEN TEMIR LLP, and
JSC NMC TAU-KEN SAMRUK,

                            Plaintiffs,
          and

MINISTRY OF TRADE AND INTEGRATION OF
THE REPUBLIC OF KAZAKHSTAN,

                           Plaintiff-Intervenor,           Before: Leo M. Gordon, Judge

          v.
                                                           Court No. 21-00173
UNITED STATES,

                           Defendant,

         and

GLOBE SPECIALTY METALS, INC., and
MISSISSIPPI SILICON LLC,

                           Defendant-Intervenors.

                                           OPINION

[Commerce's Final Determination sustained.]

                                                                     Dated: July 14, 2022

      Peter J. Koenig and Jeremy W. Dutra of Squire Patton Boggs LLP,
of Washington, D.C., for Plaintiffs Tau-Ken Temir LLP and JSC NMC Tau-Ken Samruk,
and Plaintiff-Intervenor Ministry of Trade and Integration of the Republic of Kazakhstan.

       Bret R. Vallacher, Trial Attorney, U.S. Department of Justice, Civil Division,
Commercial Litigation Branch, Washington, D.C., for Defendant United States. On the
brief were Brian M. Boynton, Principal Deputy Assistant Attorney General,
Patricia M. McCarthy, Director, and L. Misha Preheim, Assistant Director. Of counsel was
Jared M. Cynamon, Attorney, Office of the Chief Counsel for Trade Enforcement and
Compliance, U.S. Department of Commerce, of Washington, D.C.




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       Adam H. Gordon, Jennifer M. Smith, Lauren N. Fraid, and Ping Gong of The Bristol
Group PLLC, of Washington, D.C., for Defendant-Intervenors Globe Specialty Metals,
Inc. and Mississippi Silicon LLC.

        Gordon, Judge: This action involves the U.S. Department of Commerce's

("Commerce") final affirmative determination in the countervailing duty ("CVD")

investigation of silicon metal from the Republic of Kazakhstan. See Silicon Metal from

the Republic of Kazakhstan, 86 Fed. Reg. 11,725 (Dep't of Commerce Feb. 26, 2021)

("Final Determination"), and the accompanying Issues and Decision Memorandum,

C-834-811           (Dep't        of        Commerce            Feb.         22,        2021),

https://enforcement.trade.gov/frn/summary/kazakhstan/2021-04032-1.pdf (last visited

this date) ("Decision Memorandum").

       Before the court is the USCIT Rule 56.2 motion for judgment on the agency record

filed by Plaintiffs Tau-Ken Temir LLP ("TKT") and JSC NMC Tau-Ken Samruk ("TKS")

(collectively "Plaintiffs" or "TKT/TKS"). See Pl. Tau-Ken Temir LLP et. al.'s Rule 56.2 Br.

for J. upon the Agency R., ECF No. 331 ("Pls.' Br.")2; see also Def.'s Resp. to PIs.' Mots.

for J. upon the Agency R., ECF No. 37 ("Def.'s Resp."); Def.-Intervenors' Resp. Br.

in Opposition to Pls.' Rule 56.2 Mot. for J. upon the Agency R., ECF No. 38; Reply Br.

of Pl. Tau-Ken Temir LLP et. al., ECF No. 39 ("Pls.' Reply"). The court has jurisdiction

pursuant to Section 516A(a)(2)(B)(i) of the Tariff Act of 1930, as amended, 19 U.S.C.


1 All citations to the parties' briefs and the agency record are to their confidential versions
unless otherwise noted.
2 Plaintiff-Intervenor, Ministry of Trade and Integration of the Republic of Kazakhstan, did
not file its own USCIT Rule 56.2 motion, nor an opening or reply brief in its own right.
Nevertheless, it appears to join and support Plaintiffs' motion, and briefs and arguments.
See PIs.' Br. at 1; Pls.' Reply at 1.




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§ 1516a(a)(2)(B)(i) (2018),3 and 28 U.S.C. § 1581(c) (2018). For the reasons set forth

below, the court sustains Commerce's Final Determination.

                                  I. Standard of Review

       The court sustains Commerce's "determinations, findings, or conclusions" unless

they are "unsupported by substantial evidence on the record, or otherwise not

in accordance with law." 19 U.S.C. § 1516a(b)(1)(B)(i). More specifically, when reviewing

agency determinations, findings, or conclusions for substantial evidence, the court

assesses whether the agency action is reasonable given the record as a whole.

Nippon Steel Corp. v. United States, 458 F.3d 1345, 1350-51 (Fed. Cir. 2006); see also

Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951) ("The substantiality

of evidence must take into account whatever in the record fairly detracts from its weight.").

Substantial evidence has been described as "such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion." DuPont Teiiin Films USA v.

United States, 407 F.3d 1211, 1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. v.

NLRB, 305 U.S. 197, 229 (1938)).         Substantial evidence has also been described

as "something less than the weight of the evidence, and the possibility of drawing

two inconsistent conclusions from the evidence does not prevent an administrative

agency's finding from being supported by substantial evidence." Consolo v. Fed. Mar.

Comm'n, 383 U.S. 607, 620 (1966). Fundamentally, though, "substantial evidence"

is best understood as a word formula connoting reasonableness review. 3 Charles H.



3 Further citations to the Tariff Act of 1930, as amended, are to the relevant provisions of
Title 19 of the U.S. Code, 2018 edition.




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Koch, Jr. & Richard Murphy, Administrative Law and Practice § 9.24[1] (3d ed. 2022).

Therefore, when addressing a substantial evidence issue raised by a party, the court

analyzes whether the challenged agency action "was reasonable given the circumstances

presented by the whole record." 8A West's Fed. Forms, National Courts § 3.6 (5th ed.

2022).

                                       II. Background

         In the underlying investigation, Commerce sought information via Section III of its

Initial Questionnaire regarding entities either cross-owned or affiliated with TKT and TKS,

the mandatory respondents. See Decision Memorandum at 15. TKT/TKS filed a timely

response to the affiliation portion of the Initial Questionnaire.          Id.   Commerce

subsequently sought supplemental information relative to Plaintiffs' response and

information regarding two other affiliated entities (collectively "First Supplemental

Questionnaire"). Acting on separate requests from TKT/TKS, Commerce twice extended

the filing deadline for Plaintiffs' response to the First Supplemental Questionnaire,

with an ultimate due date of September 15, 2021.4 Id.

         On September 15th, Plaintiffs' counsel ("Counsel") found that it was unable to meet

Commerce's 5:00 pm filing deadline for filing its response to the First Supplemental

Questionnaire because of technical/computer problems with the data supplied




4The September 15th deadline was for Plaintiffs' response to the First Supplemental
Questionnaire. Commerce made a further request for affiliation information for a third
entity with a filing deadline of September 25, 2021. See Decision Memorandum at 15.
That information request is not the subject of this action.




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by Plaintiffs and with its submission to Commerce via the ACCESS system.5 Id. at 6.

Faced with these problems, Counsel, at 3:50 pm, one hour and 10 minutes prior to the

5:00 pm filing deadline, filed a request for a third extension—this time for one day.

Commerce was unable to act on Plaintiffs' request before the close of business at 5:00 pm

on September 15th, so TKT/TKS received an automatic extension until 8:30 am on the

next work day, September 16th. Id. at 15 (citing Extension of Time Limits, 78 Fed. Reg.

57,790 (Dep't of Commerce Sept. 20, 2013) ("Final Rule") (modifying 19 C.F.R.

§ 351.302, regulation governing extension of time limits in antidumping and countervailing

duty proceedings)); see also 78 Fed. Reg. at 57,792 ("For submissions that are due

at 5:00 p.m., if the Department is not able to notify the party requesting the extension

of the disposition of the request by 5:00 p.m., then the submission would be due by the

opening of business (8:30 a.m.) on the next work day.")).

       Throughout    the   evening on     September 15th       and the early morning

of September 16th, Counsel attempted to resolve its technical/computer problems and

file Plaintiffs' response to the First Supplemental Questionnaire, but was unable

to complete the entirety of the filing until 10:11 am on September 16th, one hour and

41 minutes beyond the 8:30 am deadline. Decision Memorandum at 16. Commerce then

denied Plaintiffs' request for an extension of time and rejected Plaintiffs' response

to Section III of the Initial Questionnaire as well as the First Supplemental Questionnaire

(collectively "Plaintiffs' Response") as untimely. See id. at 20-21 (citing Commerce's



5ACCESS is Commerce's electronic database and Internet filing system used by parties
participating in an antidumping or countervailing duty proceeding.




                                        Appx59
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Rejection Letter, PR6 238 (Oct. 1, 2020) ("First Rejection Letter") and Commerce's Denial

of Second Request for Reconsideration, PR 319 (Nov. 19, 2020) ("Second Rejection

Letter")). As a result of Plaintiffs' failure to make a timely filing, Commerce relied on facts

otherwise available with adverse inferences ("AFA") in reaching its final determination

to countervail certain subsidies provided by the Government of Kazakhstan. Id. at 4.

Additionally, Commerce rejected Plaintiffs' argument that a conflict-of-interest claim

raised by Petitioners (Defendant-Intervenors in this action) interfered with Counsel's

ability to file a timely response on behalf of Plaintiffs. Id. at 32-33.

       TKI7TKS now challenge Commerce's denial of Plaintiffs' extension request,

as well as Commerce's determination to reject Plaintiffs' Response, and Commerce's

resulting determination to use AFA. See Pls.' Br. at 4-22; 33-34. Plaintiffs also challenge

Commerce's refusal to take corrective action with respect to the conflict-of-interest claim

raised by Petitioners, who Plaintiffs maintain interfered with its ability to timely file

a response. See id. at 26-33.

                                       III. Discussion

                                       A. Framework

       19 C.F.R. Part 351 sets forth the procedures before Commerce in an antidumping

or countervailing duty proceeding, with Subpart C—§§ 351.301-351.313—governing

the submission of factual information, argument, and other material. Section 351.301

provides the time limits for the submission of factual information, while the rules for filing,


6 "PR     " refers to a document contained in the public version of the administrative
record, which is found in ECF No. 22-2 unless otherwise noted.




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including electronically in ACCESS, are contained in § 351.303. The latter regulation

specifically requires that a filing "must be received successfully in its entirety"

via ACCESS "by 5 p.m. Eastern Time on the due date." 19 C.F.R. § 351.303(b).

       Prior to the expiration of any time limit established by Part 351, a party may

request, in writing, an extension of time. Id. § 351.302(c); see also Final Rule, 78 Fed.

Reg. at 57,790 ("Th[is] modification clarifies that parties may request an extension of time

limits before any time limit established under Part 351 expires."). Upon receipt of a timely

filed request for an extension, Commerce may, for good cause shown, extend a time limit,

except where precluded by statute. Id. § 351.302(b); see also Final Rule, 78 Fed. Reg.

at 57,791 ("This modification is ... consistent with section 351.302(b), which provides that

the Secretary may, for good cause, extend any time limit established under this part.").

       Unless an extension is granted, Commerce will reject any untimely filed factual

information, written argument, or other material with a written notice explaining

the reasons for the rejection.     Id.   §§ 351.302(d)(2); 351.301(c)(1).      Additionally,

Commerce will not consider nor retain such information, argument, or other material in the

official record of the subject proceeding. Id. § 351.302(d)(1)(i).

       "Commerce has discretion both to set deadlines and to enforce those deadlines

by rejecting untimely filings." Grobest & I-Mei Indus. (Vietnam) Co. v. United States,

36 CIT 98, 122, 815 F. Supp. 2d 1342, 1365 (2012) (citing NTN Bearing Corp. v. United

States, 74 F.3d 1204, 1206-07 (Fed. Cir. 1995)). Agency decisions on acceptance or

rejection of documents submitted for the record are reviewed for abuse of discretion. Id.;

see also Maverick Tube Corp. v. United States, 39 CIT         „      107 F. Supp. 3d 1318,




                                         Appx61
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1331 (2015) ("Strict enforcement of time limits and other requirements is neither arbitrary

nor an abuse of discretion when Commerce provides a reasoned explanation for its

decision."). "Judicial review of agency discretionary decisions ... is supposed to be highly

deferential." 33 Fed. Prac. & Proc. Judicial Review § 8411 (2d ed. 2022).7

       "An abuse of discretion occurs where the decision is based on an erroneous

interpretation of the law, on factual findings that are not supported by substantial

evidence, or represents an unreasonable judgment in weighing relevant factors."

Consol. Bearings Co. v. United States, 412 F.3d 1266, 1269 (Fed. Cir. 2005) (citation

omitted); see also Nat'l Wildlife Federation v. Nat'l Marine Fisheries Serv., 422 F. 3d 782,

798 (9th Cir. 2005) ("An abuse of discretion is 'a plain error, discretion exercised to an

end not justified by the evidence, a judgment that is clearly against the logic and effect

of the facts as are found." (citation omitted)).

                         B. Denial of Extension Request and
                   Rejection of TKT/TKS's Questionnaire Response

       The parties agree that Plaintiffs filed a third request for an extension of time on a

timely basis, i.e., prior to the 5:00 pm deadline on September 15th, and that § 351.302(b)

imposes a "good cause" standard on a party seeking an extension of time. E.q., PIs.' Br.

at 6-7; Def.'s Resp. at 5, 7.      Where the parties, however, diverge is on whether




  "To capture the notion that judicial review of agency discretion should be strongly
deferential, the Administrative Procedure Act (APA), along with many agency enabling
acts, instructs courts to set aside such determinations only if they are 'arbitrary,'
'capricious,' or amount to an 'abuse of discretion.' These three terms are essentially
synonymous." 33 Fed. Prac. & Proc. Judicial Review § 8411.




                                         Appx62
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Commerce abused its discretion in denying Plaintiffs' extension request and rejecting

the filing of Plaintiffs' Response as untimely.

       As to whether Commerce unreasonably denied Plaintiffs' extension request,

it appears that Plaintiffs fail to develop an argument demonstrating that Plaintiffs satisfied

the "good cause" standard. There is no language in either Plaintiffs' USCIT Rule 56.2

Brief or Reply Brief directly addressing how Commerce abused its discretion.

See generally Pls.' Br. & Pls.' Reply (mentioning "good cause" only once, in a quotation

from the Decision Memorandum, and developing no argument as to that standard).

Under these circumstances, the court could deem this issue waived. See United States

v. Great Am. Ins. Co., 738 F. 3d 1320, 1328 (Fed. Cir. 2013) ("It is well established that

arguments that are not appropriately developed in a party's briefing may be deemed

waived.").; United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990 ("Issues adverted to in

a perfunctory manner, unaccompanied by some effort at developed argumentation,

are deemed waived. It is not enough merely to mention a possible argument in the most

skeletal way, leaving the court to do counsel's work, create the ossature for the argument,

and put flesh on its bones.").

       Giving Plaintiffs the benefit of the doubt, it may be that TKT/TKS combined

arguments regarding "good cause" and the denial of the third extension request

with arguments challenging Commerce's rejection of Plaintiffs' Response. Assuming that

is the case, Plaintiffs have not shown that Commerce abused its discretion in denying

Plaintiffs' extension request.




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         Despite receiving full information from Plaintiffs in response to the First

Supplemental Questionnaire at approximately 11:00 am on September 15th, Counsel

believed it was possible to file the entirety of that submission prior to the 5:00 pm deadline.

Decision Memorandum at 16 (citing TKT/TKS's Administrative Case Brief at 6, PR 338

(Jan. 4, 2021); TKT/TKS's Request for Reconsideration of Acceptance of Questionnaire

Response at 2, PR 241 (Oct. 2, 2020) ("Request for Reconsideration")); see also

Extension of Time Request, PR 220 (Sept. 15, 2020) ("TKT/TKS's EOT Request")).

Similarly, Counsel indicated that it experienced technical/computer problems when

initially attempting to file on ACCESS; yet again, it continued to believe that these

problems were fixable before the 5:00 pm filing deadline on September 15th. Id. (citing

Request for Reconsideration). However, later that afternoon, Counsel determined that

meeting the filing deadline was not possible, so it filed a request for a one-day extension,

until 5:00 pm on September 16th.8 See TKT/TKS's EOT Request. As noted previously,

Commerce was unable to notify Plaintiffs of the disposition of its request for an extension

prior to 5:00 pm that day. Consequently, pursuant to § 351.103(b) and the Final Rule,




8   The substance of Plaintiffs' request was:

         Tau-Ken Temir LLP (TKT) requests a one day extension from today
         September 15, 2020 to tomorrow September 16, to answer the subsidy
         questionnaire, including as to cross-owned companies. They have worked
         flat out to get this done. We have now received full response but are some
         technical/computer issues to resolve to file it. The prior extension requests
         indicate the need for time to answer the questionnaire.

TKT/TKS's EOT Request.




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Plaintiffs received an automatic extension until 8:30 am on the next work day,

September 16th. See Decision Memorandum at 15.

       In an effort to buttress Plaintiffs' extension request, Counsel, on September 17th,

provided Commerce with an "illustrative" example of the technical/computer problems

it experienced in the form of two emails from access@trade.gov, one sent at 3:46 pm

on September 15th, and the other sent at 7:02 am on September 16th, indicating that

the documents that Counsel had attempted to file were rejected because of problems

with embedded hyperlinks. See TKT/TKS's EOT Request; Request for Reconsideration;

TKT/TKS's Comments on Filing Issues, PR 224 (Sept. 17, 2020).            Counsel further

explained that it faced other technical/computer issues, including corrupted files and

difficulty in converting Russian language documents into searchable PDF format that

were not resolvable by the 5:00 pm deadline on September 15th. See Request for

Reconsideration.

      After considering Plaintiffs' extension request, including Counsel's supplemental

submissions, Commerce concluded that Plaintiffs' filings "failed to meet the requirements

of 19 CFR § 351.303, which stipulate[s] that the submission must be filed in its,entirety

by 5:00 p.m. on the due date specified or ... [pursuant to the Final Rulel, by 8:30 a.m.

on the following work day," and rejected TKT/TKS's September 16th submission

as untimely. See First Rejection Letter ("In accordance with 19 C.F.R. 351.303(b)(1),

an electronically filed document must be received successfully in its entirety ....").

Commerce reasoned that it had been "unable to respond to [TKT/TKS's] request" for an




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extension and that TKT/TKS had not filed its response "in its entirety"9 as required by the

regulation before the automatic extension deadline of 8:30 am on the next work day

pursuant to the Final Rule. Id.

       Commerce further explained that the Final Rule emphasized "the need

for extension requests to be submitted before the last minute," and that the exception set

forth in the Final Rule would not "excuse the untimely filing of a submission for which

Commerce received a last-minute extension request which [Commerce] did not have time

to evaluate." Decision Memorandum at 18. Commerce also advised TKT/TKS that

Commerce would neither consider nor retain a copy of Plaintiffs' Response in accordance

with 19 C.F.R. § 351.104(a)(2)(iii). See id. In rejecting Plaintiffs' submission, it is

reasonably discernible that Commerce denied Plaintiffs' extension request for lack

of "good cause." See id. at 21 (noting that "Commerce's rejection of TKS/TKT's response

from the record and the explanatory letters issued to TKS/TKT explaining this action

represent a clear and direct response to TKS/TKT's September 15, 2020, extension

request.")

       Counsel's subsequent request for reconsideration explained the work done to file

Plaintiffs' response to the First Supplemental Questionnaire, including specifically

addressing the problem with "missing" parts of certain BPI exhibits (actually one computer

file) for which a public version was submitted. Counsel stated that one file, a TKS BPI

file, was inadvertently uploaded twice instead of the relevant TKT BPI file, noting



9In particular, Commerce noted that Plaintiffs had failed to file the business proprietary
versions of certain exhibits before the deadline.




                                        Appx66
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that Commerce "remedies such situations by requesting the BPI version via

a supplemental questionnaire." See Request for Reconsideration. Plaintiffs' Request

for Reconsideration    (and    the   case    for   acceptance    of    Plaintiffs'   Response)

was supplemented in two conference calls between Counsel and Commerce.

See Decision Memorandum at 53 ("In October, we twice held meetings or conference

calls with TKS/TKT's counsel to discuss its rejected submissions, as well as TKS/TKT's

request that Commerce terminate the investigation, first with the Director of the office

handling this investigation, and then with the Assistant Secretary of Enforcement &

Compliance.").

       Commerce thereafter denied Plaintiffs' request for reconsideration and reaffirmed

its denial of Plaintiffs' extension request and rejection of Plaintiffs' Response as untimely.

See Second Rejection Letter; see also Decision Memorandum at 21. In so doing,

Commerce addressed Plaintiffs' difficulty in responding because of "'extremely tight

deadlines." Second Rejection Letter (quoting Request for Reconsideration). Commerce

commented that:

              TKT was aware that it need not wait until deadlines were
              extremely tight to request an extension. TKT had twice
              previously requested extensions for submitting its
              questionnaire response during this investigation, the first time
              on August 25, 2020, six days before the actual due date, and
              then later on September 9, 2020, one full day before the
              extended due date. In both instances, TKT cited difficulties in
              assembling its response due to personnel issues and
              Covid-19, and Commerce was able to accommodate TKT's
              requests by providing additional time. With respect to the
              latter request, while Commerce provided an extension on the
              same day as the request, we note that the request was made




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              early in the morning, not one hour prior to the close of
              business.

Id. at 2. Additionally, Commerce rejected TKT/TKS's characterization of the Final Rule

"as a pre-COVID-19 relic." Id. Commerce highlighted that "[t]o the extent that Commerce

chooses to modify its rules and procedures to accommodate the pandemic, it is capable

of doing so." Id. (citing, e.g., Temporary Rule Modifying AD/CVD Service Requirements

Due to COVID-19: Extension of Effective Period, 85 Fed. Reg. 41,363 (July 20, 2020)).

However, Commerce did not modify the requirements for an extension of time in the

Final Rule, nor indicate that those requirements were no longer in effect because

of COVID. Id.

       Commerce re-emphasized many of these same considerations in the

Final Determination. Commerce specifically noted that Counsel was well aware of the

8:30 am deadline on September 16th as evidenced by the fact that "it began submission

of its supplemental questionnaire response at 5:31 am [that morning], and continued filing

its submission through 10:10 am ...." Decision Memorandum at 15. Commerce stated

that despite Plaintiffs' numerous "difficulties," "the fact remains that [TKT/TKS]

was represented by experienced counsel, and Commerce had already granted multiple

extensions as a result of these issues." Id. at 16. Commerce explained that TKT/TKS

made "the minimum effort to ensure that Commerce had notice of [Counsel's] ongoing

computer/technical issues," highlighting that Counsel "did not attempt to contact either

the official in charge of the investigation or the ACCESS help desk before the close

of business" on September 15th.       Id. at 16-17.     Commerce also explained that




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if "difficulties" prevented an electronic filing by the deadline—which may have been

the situation in this proceeding—Plaintiffs were required, pursuant to the instructions

in the Initial Questionnaire, to contact Commerce officials and "submit a full written

explanation of the reasons {the recipient is) unable to file the document electronically."

Id. at 17. The inference here is that Plaintiffs' 5-line barebones extension request,

see supra at fn. 8, did not satisfy the requirement for "a full written explanation."

       As to "missing" parts of Plaintiffs' exhibits, Commerce clarified that "the absence

of portions of the BPI submission only supplemented the fact that the submission was not

filed in its entirety prior to the stated 5:00 p.m. deadline or the 8:30 a.m. deadline provided

for in the Final Rule." Decision Memorandum at 21. As Commerce explained:

              To be clear, our highlighting of [TKT/TKS's] deficient response
              had as much to do with the untimeliness of the accompanying
              public version than any documents missing from the BPI
              version of the submission. Moreover, in the Preliminary
              Determination, we did not rely on [TKT/TKS's] failure
              to provide a full version of the submission as a reason for its
              rejection; in fact, we did not reference it at all. We stated only
              that '[TKT/TKS's] failure to provide the requested information
              in a timely manner means that the necessary information
              is not available on the record, and [TKT/TKS] has significantly
              impede this proceeding.'
Id.

                             C. Application of the Final Rule

       TKT/TKS contend that its submission was timely despite completing the electronic

submission at 10:11 am, one hour and 41 minutes after the rollover 8:30 am deadline.

Pls.' Br. at 7-25. Plaintiffs argue that, because the extension request was filed prior to the

5:00 pm deadline on September 15th, the request was timely under the Final Rule, and




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as a consequence, Commerce was required to accept the response, even though not

submitted in its entirety until after the passage of the 8:30 am deadline

on September 16th. See Pls.' Br. at 4-9. In particular, Plaintiffs maintain that "Commerce

should have considered and accepted [Plaintiffs' supplemental] questionnaire response"

because TKT/TKS "filed the extension request before the deadline and then filed

the response before the [end of the] requested" deadline of 5:00 pm on September 16th.

Id. at 15.

       The timeliness of TKT/TKS's extension request does not dictate Commerce's

decision on it. The Final Rule makes clear that:

             Parties should be aware that the likelihood of the Department
             granting an extension will decrease the closer the extension
             request is filed to the applicable time limit because
             the Department must have time to consider the extension
             request and decide on its disposition. Parties should not
             assume that they will receive an extension of a time limit
             if they have not received a response from the Department.
             For submissions that are due at 5:00 p.m., if the Department
             is not able to notify the party requesting the extension of the
             disposition of the request by 5:00 p.m., then the submission
             would be due by the opening of business (8:30 a.m.) on the
             next work day.


Final Rule, 78 Fed. Reg. at 57,792.

       TKT/TKS nevertheless argue that one of the purposes behind the Final Rule

supports its position, namely that "Commerce will not adopt rules that are 'inflexible

to permit' Commerce 'to effectively and fairly administer the AD and CVD laws." Pls.' Br.

at 8 (quoting Modification of Regulation Regarding the Extension of Time Limits, 78 Fed.

Reg. 3,367, 3,370 (Jan. 16, 2013)). Plaintiffs misapprehend Commerce's rationale for the




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Final Rule. As Commerce explained, the objective of the modification was "to clarify"

that parties may request an extension of time before the expiration of any time limit

provided for in Part 351, not just the time limits for submissions made under 19 C.F.R.

§ 351.301. 78 Fed. Reg. at 3,368; 78 Fed. Reg. at 57,791. It also sets forth the "specific

circumstances under which [Commerce] will consider an untimely-filed extension

request." 78 Fed. Reg. at 3,368; 78 Fed. Reg. at 57,791. Commerce further explained

that it was making the modification to address last-minute extension requests that

"often resulted in confusion among parties, difficulties in [Commerce's] organization of its

work, and undue expenditures of ...resources, which impede ... [Commerce's] ability

to conduct AD and CVD proceedings in a timely and orderly manner." 78 Fed. Reg.

at 57,791. The language relied upon by TKT/TKS does not accurately characterize those

objectives.1°

       TKT/TKS had ample notice of the consequences of failing to timely file. The Initial

Questionnaire issued to TKT/TKS clearly stated that "Commerce will not accept

any requested information submitted after the established deadlines." See Commerce's

Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic

of Kazakhstan: Supplemental Questionnaire," PR 33 at 1; Commerce's Letter,

"Investigation of Silicon Metal from the Republic of Kazakhstan: Countervailing Duty


10 It appears that Plaintiffs have taken the quoted material out of context. That material
is found in a section of the initial Federal Register notice entitled Description of Any
Significant Alternatives to the Proposed Rule That Accomplish the Stated Objectives
of Applicable Statutes and That Minimize any Significant Economic Impact of the
Proposed Rule on Small Entities, and reflects Commerce's rejection of an alternative
proposal regarding untimely extension requests in favor of the language ultimately
adopted in the Final Rule.




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Questionnaire," PR 27 at 3. The Final Rule also put TKT/TKS and Counsel on notice

of the decreasing likelihood of receiving an extension of time the closer the extension

request was to the deadline. See Final Rule, 78 Fed. Reg. at 57,792 ("Parties should not

assume that they will receive an extension of a time limit if they have not received

a response from the Department."). In the absence of a response from Commerce,

Counsel knew or should have known that it had an "automatic extension" until 8:30 am

on the next work day in accordance with the Final Rule. See id.

       At the core of the parties' dispute are differing interpretations of Donqtai Peak

Honey Indus. v. United States, 777 F.3d 1343 (Fed. Cir. 2015) ("Donqtai Peak"), which

involved an untimely extension request along with the recitation of technical difficulties

and the fact that respondent's counsel represented an overseas client. Donqtai Peak,

777 F.3d at 1351-52. The main question there was what prevented the respondent

from filing an extension request earlier. Id. (emphasizing that "all of the causes of delay

noted in the April 19 Letter were known to Appellant prior to the April 17th deadline, and

did not prevent the company from filing an extension request before that date").

       Here, similarly, it is unclear why Plaintiffs did not file an extension request earlier.

Despite receiving the completed response from Plaintiffs at 10:58 am on September 15th

(roughly six hours before the 5:00 pm deadline), Counsel nevertheless did not request

an extension of time, concluding instead that it would be possible to complete submission

of the response to Commerce by the 5:00 pm deadline. See Decision Memorandum

at 16, 19 ("Nonetheless, on the final due date for the questionnaire response, TKS/TKT

failed to submit a similarly-early additional extension request, concluding on its own




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that just over six hours was enough time for its counsel to receive and submit

the documents via ACCESS."). While Counsel emphasized difficulties in communicating

with Plaintiffs, noting "the inexperience of [Plaintiffs'] personnel in responding to such

questionnaires, and issues related to COVID-19," none of that excused TKT/TKS from

making a timely filing of Plaintiffs' response to the initial supplemental questionnaire.

As Commerce noted, "these factors did not prevent TKS/TKT from filing previous

additional extension requests early enough for Commerce to respond."               Decision

Memorandum at 19.         Commerce concluded that, given the circumstances in the

underlying proceeding, the decision by Counsel to attempt to file Plaintiffs' response in its

entirety without earlier requesting an additional extension of time constituted an unwise

gamble that did not justify granting the subsequent last-minute request. Id.

       TKT/TKS contend that Commerce's rejection of Plaintiffs' Response was an abuse

of discretion akin to that found in Artisan Mfg. Corp. v. United States, 38 CIT     , 978 F.

Supp. 2d 1334 (2014) (holding that Commerce abused discretion in rejecting

questionnaire response filing submitted less than 24 hours after deadline where "[s]uch

a brief period could not have delayed the investigation in any meaningful way"). See Pls.'

Br. at 20-22.     Commerce found TKT/TKS's reliance on Artisan to be misplaced,

emphasizing that Artisan predated both the Final Rule, which specifically clarifies

Commerce's policy regarding extension requests, as well as guidance from the U.S. Court

of Appeals for the Federal Circuit in Dongtai Peak. See Decision Memorandum at 18-21.

       TKT/TKS also argue that Commerce "made no effort to meet its statutory mandate

to calculate accurately the subsidy margin." See Pls.' Br. at 9; id. at 19-20 (maintaining




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that Commerce failed to balance the interests of "accuracy and fairness" against

the "interest in finality"). Defendant argues to the contrary that Commerce did not abuse

its discretion in prioritizing the need for finality over Commerce's obligation to determine

the most accurate CVD margin. See Def.'s Resp. at 13 (citing Bebitz Flanges Works

Private Ltd. v. United States, 44 CIT        „      433 F. Supp. 3d 1297, 1305 (2020)

("Bebitz CVD")).   In Bebitz CVD, the respondent filed a fourth extension request

20 minutes before the 5:00 pm deadline. See 44 CIT at          , 433 F. Supp. 3d at 1302.

Commerce did not respond by 5:00 pm, so the filing deadline automatically rolled over

to 8:30 am the next work day. Id. The Bebitz CVD plaintiff-respondent missed the

8:30 am deadline the following day and instead filed its response at 10:24 am. See id.

The Bebitz CVD court was not persuaded that Commerce unreasonably denied

the extension request and that Bebitz's untimely filing must be accepted, emphasizing

that it is not for the respondent "to establish Commerce's deadlines or dictate

to Commerce whether and when Commerce actually needs the requested information."

Id. 44 CIT at      , 433 F. Supp. 3d at 1305 (citing Dongtai Peak, 777 F.3d at 1352).

The court explained that the applicable regulation, § 351.302(b), provides Commerce

with discretion on "whether to grant or deny an extension request," and that the

plaintiff-respondent failed to demonstrate that Commerce abused its discretion. See id.

44 CIT at    , 433 F. Supp. 2d at 1305-06. The circumstances here are parallel to those

in Bebitz CVD, and the court sees no reason to differ in the outcome, particularly in light

of the multiple extensions already granted to TKT/TKS.11


11 The court notes that Counsel here also represented plaintiff-respondent in Bebitz CVD.




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       A court "cannot set aside application of a proper administrative procedure because

it believes that properly excluded evidence would yield a more accurate result if the

evidence were considered."         PSC VSMPO, 688 F.3d at 761.               The Statement

of Administrative Action ("SAA") accompanying the Uruguay Round Agreements Act

explains that the purpose of the adverse facts available provision is "to ensure that

the party does not obtain a more favorable result by failing to cooperate than if it had

cooperated fully." SAA, H.R. Doc. No. 103-316, 870, reprinted in 1994 U.S.C.C.A.N.

4040, 4199 (1994).      Congress "intended for an adverse facts available rate to be

a reasonably accurate estimate of the respondent's actual rate, albeit with some built-in

increase intended as a deterrent to non-compliance." F.Ili De Cecco Di Filippo Fara S.

Martino S.p.A. v. United- States, 216 F.3d 1027, 1032 (Fed. Cir. 2000). Commerce

reasonably determined that, under the facts of this case, Plaintiffs failed to act to the best

of their ability and that the use of facts available with an adverse inference was warranted.

       The record demonstrates that TKT/TKS did not put forth a maximum effort

to provide Commerce with the requested information by the deadline, that Plaintiffs

did not follow instructions in the Initial Questionnaire to contact Commerce officials

in case of difficulty filing a submission, nor did Plaintiffs file a response by 8:30 am

the following work day pursuant to the Final Rule. Counsel's explanation here is vague

and conclusory.12 Counsel submitted no affidavits from its staff or Plaintiffs detailing


12  See, e.g., TKT/TKS's EOT Request ("They have worked flat out to get this done.
We have now received full response but are some technical/computer issues to resolve
to file it. The prior extension requests indicate the need for time to answer the
questionnaire."); TKT/TKS's Comments on Filing Issues ("as to our September 15, 2017
(footnote continued)




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the technical or other difficulties experienced or the efforts undertaken in "preparing"

TKT/TKS's documents for filing with ACCESS or attempts to reach Commerce.

       The court agrees with Commerce that Plaintiffs' reliance on Artisan is misplaced.

Plaintiffs offer little to support their position, other than asserting that Donqtai Peak and

Bebitz CVD run contrary to Commerce's determination.              Given that Plaintiffs fail

to develop how Commerce abused its discretion here, see Pls.' Reply at 5, the court finds

that Plaintiffs' argument on this point is meritless. Accordingly, the court cannot agree

with Plaintiffs that Commerce's decisions to deny the September 15th extension request

and reject Plaintiffs' Response constituted an abuse of discretion.

                                  D. Due Process Claim

       Plaintiffs also argue that, under Donqtai Peak, "TKT's due process rights were

violated by Commerce rejecting TKT's extension request for doing exactly as Commerce

told TKT to do." Pls.' Br. at 16 (emphasizing that "(a) TKT filed its extension request

before the deadline and in writing (in ACCESS), doing exactly as Commerce instructed;

and (b) Commerce had not informed TKT to do otherwise than exactly what TKT did.").

The court does not agree.       The Court of Appeals held that "Commerce's rejection

of untimely-filed factual information does not violate a respondent's due process rights

when the respondent had notice of the deadline and an opportunity to reply."

Donqtai Peak, 777 F.3d at 1353; see also PSC VSMPO-Avisma Corp. v. United States,


extension request to answer the subsidy questionnaire (which we did in three parts),
attached illustrates technical filing issues that we were facing as to the huge filing and
continuing to deal with.") TKT Request to Terminate Investigation, PR 240 (Oct. 2, 2020)
("Petitioner claims, loudly made, consumed many, many multiples of the 1.5 hours of all
concerned in the TKT questionnaire response process."); Request for Reconsideration.




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688 F.3d 751,761-62 (Fed. Cir. 2012) (respondent had opportunity to put forth evidence

supporting proposed accounting methodology but failed to do so, and therefore

respondent was not deprived of due process). TKT/TKS knew the deadline, and that the

deadline was previously extended—not once, but three times—and failed to respond

accordingly. See Decision Memorandum at 19 ("As the CAFC noted in Donqtai Peak

with respect to the need for fairness and accuracy, Commerce's rejection of an untimely-

filed questionnaire response does not violate any due process rights of a respondent such

as TKS/TKT, because the respondent had notice of the deadline and the opportunity

to respond to the Initial Questionnaire in a timely manner, or file an earlier request for an

extension.    The Initial Questionnaire emphasized the importance of submitting

the response in a timely manner and highlighted that the consequences for failing to do

so might result in the application of AFA.       As such, TKS/TKT was afforded notice

regarding the consequences of its decisions." (footnotes omitted)).

                           E. Time to Complete Investigation

       TKT/TKS nonetheless contends that its extension request provided sufficient time

for Commerce to recognize that a filing was made, consider the request through proper

channels, and draft, file, and put on the record a disposition prior to 5:00 pm. Pls.' Br.

at 15-16,22-25. Plaintiffs specifically argue that granting counsel's one-day extension

request would not have hindered Commerce's investigation because there was still some

time before Commerce's next deadline. Id. at 9—10, 18. Additionally, Plaintiffs maintain

that Commerce "violate[d] its own precedent" because it has, in the past, granted

extension requests later than TKT/TKS's 3:50 pm request. Id. Defendant maintains




                                         Appx77
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that Commerce does not "automatically" grant extension requests. Def.'s Resp. at 7

(citing 19 C.F.R. § 351.302(b)). While Commerce has discretion in enforcing time limits,

that discretion is not unbounded. See SKF USA Inc. v. United States, 263 F.3d 1369,

1382 (Fed. Cir. 2001) ("an agency action is arbitrary when the agency offers insufficient

reasons for treating similar situations differently"); see also Cerro Flow Prod., LLC v.

United States, 38 CIT       „      2014 WL 3539386 at *6 (2014) ("Commerce must treat

similarly situated parties consistently"). Furthermore, "[s]trict enforcement of time limits

and other requirements is neither arbitrary nor an abuse of discretion when Commerce

provides a reasoned explanation for its decision." Maverick Tube Corp. v. United States,

39 CIT      ,      107 F. Supp. 3d 1318, 1331 (2015). Here, Commerce has provided

such reasons, and the denial of Plaintiffs' extension request and the rejection of Plaintiffs'

incomplete and untimely submission were within Commerce's discretion.

       Plaintiffs highlight that Commerce has granted extension of time requests,

even certain untimely requests, in numerous circumstances. See PIs.' Br. at 22-24

(listing examples of Commerce granting extension of time requests including

in Ripe Olives from Spain, C-469-818 (Dep't of Commerce Apr. 30, 2020) ("Ripe Olives")).

Plaintiffs' argument, however, ignores any factual distinctions between those prior

proceedings and the underlying investigation. For instance, in Ripe Olives, the submitting

party had already uploaded most of its submission, experienced technical issues with one

attachment, had promptly contacted Commerce personnel about the problem, and,

importantly, was able to file before 8:30 am the next work day. See id.; see also Bebitz

Flanges Works Private Ltd. v. United States, 44 CIT           „      433 F. Supp. 3d 1309,




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1324 n.6 (2020) (explaining that various cases "in which the court rejected Commerce's

use of its discretion in connection with rejecting information from respondents," also cited

by Plaintiffs here, were inapposite). Plaintiffs would like the court to conclude that

Ripe Olives and other prior proceedings where Commerce granted extension of time

requests stand for the proposition that because Commerce "can" grant an extension

in certain scenarios, it "must" grant them in others, and that the timing of the filing is the

only dispositive factor. See Pls.' Br. at 22-25. Plaintiffs provide no authority for its

position.   Accordingly, the court finds Plaintiffs' arguments relying on Commerce's

granting of extension requests in other proceedings unpersuasive. In fact, the only

conclusion that can be drawn from Commerce's prior determinations is that Commerce

has an administrative "practice" to treat extensions on a case-by-case basis.

                               F. Conflict-of-Interest Claim

       Plaintiffs next challenge Commerce's determination that a conflict-of-interest claim

raised by Petitioners during the underlying proceeding did not interfere with Counsel's

ability to submit Plaintiffs' response to the First Supplemental Questionnaire via ACCESS.

Pls.' Br. at 26-32.      Plaintiffs maintain that Counsel submitted a letter including

two decisions of Commerce plus a copy of a transcript before the U.S. International Trade

Commission ("ITC") involving the same petitioners as here in support of its interference

argument. See TKT/TKS's Letter Re: Hearings & Decisions, PR 257 (Oct. 28, 2020).

Plaintiffs argue that the ITC transcript is evidence of bad faith on the part of Petitioners

regarding Counsel's alleged conflict-of-interest, which claim was meant to distract

Plaintiffs from filing a timely response with Commerce. See Pls.' Br. at 26-32.




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       On September 8th, Petitioners (which included Mississippi Silicon LLC) requested

that Commerce disqualify and require the immediate withdrawal of Counsel because

of a conflict-of-interest. See Request to Disqualify, PR 45 (Sept. 8, 2020). Petitioners

alleged that a direct and ongoing conflict-of-interest existed because Counsel had

previously represented Mississippi Silicon LLC in a 2017 investigation before the ITC,

also involving silicon metal from Kazakhstan. Id. Ultimately, Commerce determined

that no ongoing conflict-of-interest existed. See Decision Memorandum at 27 (citing

Disqualification Memorandum, PR 247 (Oct. 6, 2020)).

       TKT/TKS argue that Mississippi Silicon's conflict-of-interest claim lacked

"even colorable merit," and thus, Petitioners "necessarily had some other intent, where

the only one possible intent seems to be a litigious one to disrupt TKT's ability

to participate in the questionnaire process." Pls.' Br. at 27-29. Plaintiffs argue that

Mississippi Silicon's actions, in raising the conflict-of-interest claim, succeeded

in disrupting Counsel's ability to meet the September 15th deadline. Id. at 30-32.

       Regardless of the claim by Counsel as to the motive/intent of Petitioners, the issue

here is whether substantial evidence on the record supports Commerce's determination.

TKT/TKS placed no information on the record regarding an abuse of process

by Petitioners.   Indeed, Commerce found "no evidence that petitioner's allegation

of a conflict-of-interest interfered with the respondent's ability to respond ... in a timely

manner."    Decision Memorandum at 31.         In reaching its determination, Commerce

explained that:




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               TKS/TKT did not reference any additional burden placed upon
               it by the petitioners' submission of the previous day, nor any
               uncertainty regarding the role of counsel vis-à-vis TKS/TKT.
               Nor did TKS/TKT claim that the petitioners' submission had
               any deleterious effect on its ability to timely submit its
               response to the Initial Questionnaire on the revised due date,
               September 15, 2020.           Further, following Commerce's
               rejection of TKS/TKT's initial questionnaire response
               as untimely, TKS/TKT similarly failed to argue that
               the petitioners interfered in its response preparation process
               as part of its October 2, 2020, reconsideration request. In that
               letter, TKS/TKT merely notes that its counsel only received
               the complete questionnaire response at 10:58 a.m. on the
               date the submission was due. Thus, the record does not
               support TKS/TKT's contentions.

Id. at 32 (footnotes omitted). Given the record and Commerce's explanation, Plaintiffs'

argument lacks merit.

                        G. Application of Adverse Facts Available

                                       1. Framework

         In an investigation or review, "the burden of creating an adequate record lies

with interested parties." QVD Food Co. v. United States, 658 F.3d 1318, 1324 (Fed. Cir.

2011).      If Commerce determines that "necessary information is not available

on the record" or "an interested party or any other person ... withholds information that

has been requested" by Commerce," "fails to provide such information by the deadlines

... or in the form and manner requested," "significantly impedes a proceeding,"

or "provides such information but the information cannot be verified," then Commerce

is permitted to use "facts otherwise available" in making its determinations. 19 U.S.C.

§ 1677e(a); see 19 C.F.R. § 351.308 (providing for Icljeterminations on the basis

of the facts available"). The purpose of "facts otherwise available" is to fill "gaps" in the




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administrative record.    Nippon Steel Corp. v. United States, 337 F.3d 1373, 1381

(Fed. Cir. 2003) ("Nippon Steel II").

       Additionally, "if an interested party 'fail[s] to cooperate by not acting to the best of

its ability to comply with a request for information,' then Commerce 'may use an inference

that is adverse to the interests of that party in selecting from among the facts otherwise

available,' commonly referred to as AFA." Deacero S.A.P.I. de C.V. v. United States,

996 F.3d 1283, 1295-96 (Fed. Cir. 2021) (quoting 19 U.S.C. § 1677e(b)); see 19 C.F.R.

§ 351.308 (similar).

                                    2. Information Gap

       Commerce's rejection of Plaintiffs' Response resulted in eliminating from the

record the entirety of that response on affiliation. See supra. As a result, there was a gap

of necessary information in the record of the underlying proceeding.               Given the

circumstances presented, Commerce found that necessary information was not on the

record, and as a consequence, resorted to facts available pursuant to 19 U.S.C. § 1677e.

See Decision Memorandum at 15-21, 25. Commerce determined that:

              TKS/TKT did not put forth the "maximum effort" required of it.
              TKS/TKT retained and was represented by experienced trade
              counsel throughout the entirety of this proceeding, and,
              therefore, had the ability to understand Commerce's requests
              for information at the time such requests were issued.
              In addition, it was TKS/TKT's responsibility to provide
              complete and accurate information to Commerce so that
              we could analyze and determine the amount of any benefits
              received under the programs being investigated. The "failure
              to provide information" in a timely manner lies with TKS/TKT.
              As the CAFC held in Maverick Tube, [857 F.3d 1353, 1360-61
              (Fed. Cir. 2017),] it is the responsibility of Commerce, and not
              the responsibility of a respondent, to analyze and determine




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              if a benefit exists, and if it does, to determine the amount
              of benefit received. Moreover, given TKS/TKT's retention
              of experience counsel, TKS/TKT's inability to comply with the
              instructions in the Initial Questionnaire to contact Commerce
              officials in case of difficulty filing a submission, to file
              an extension request early enough to consider it, or to file
              a complete response by 8:30 a.m. the following business day
              in accordance with the Final Rule is inexplicable, and
              evidence of the respondent's failure to act to the best of its
              ability.

Id. at 26-27 (footnote omitted).

                                   3. Adverse Inference

       Plaintiffs do not challenge Commerce's decision to resort to facts available, only

Commerce's decision to use an adverse inference in its selection of facts available.

See Pls.' Br. at 33-34. TKT/TKS argue that, given the circumstances of this proceeding,

an adverse inference may not be drawn from failing to provide a questionnaire response,

and that "more is required." See PIs.' Br. at 33 (relying on Nippon Steel Corp. v. United

States, 34 CIT       „       118 F. Supp. 2d 1366, 1377 (2000) ("Nippon Steel I").

The problem for Plaintiffs here is that they seem to misapprehend the applicable

precedent regarding facts available. To avoid AFA, interested parties must "do the

maximum [they are] able to do." Nippon Steel II, 337 F.3d at 1382. This standard

"does not require perfection and recognizes that mistakes sometimes occur," but "it does

not condone inattentiveness, carelessness, or inadequate record keeping."             Id.

In reversing Nippon Steel I, the Court of Appeals noted that:

             Compliance with the 'best of its ability' standard is determined
             by assessing whether respondent has put forth its maximum
             effort to provide Commerce with full and complete answers
             to all inquiries in an investigation. While the standard does




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              not require perfection and recognizes that mistakes
              sometimes occur, it does not condone inattentiveness [or]
              carelessness ...

Nippon Steel II, 337 F.3d at 1382. The Court also explained that "[w]hile intentional

conduct, such as deliberate concealment or inaccurate reporting," may show "a failure

to cooperate, the statute does not contain an intent element." Id. at 1383.

       Plaintiffs also argue that Commerce should not "impose adverse inferences

on a respondent company for the actions of its government." PIs.' Br. at 34 (citing Clearon

Corp. v. United States, 44 CIT     ,     474 F. Supp. 3d 1339, 1343-44 (2020); Guizhou

Tyre Co. v. United States, 43 CIT         „       415 F. Supp. 3d 1402, 1403 (2019)).

Again, TKT/TKS's reliance on these decisions is misplaced. In those matters, it was the

respective governmental entity that did not cooperate or withheld requested information,

not the private party respondents. The non-cooperation in both cases complicated

the examination of the particular subsidy program in issue, one that was outside

the purview of the underlying investigation. Furthermore, the focus of those actions was

on indicia in the record that the cooperating respondents did not use the program, as well

as Commerce's inadequate explanation of why it could not verify that fact despite

the foreign government's failure to provide the requested information. See Clearon,

44 CIT at     , 474 F. Supp. 3d at 1349-54; Guizhou Tyre, 43 CIT at           , 415 F. Supp.

3d at 1403-05.

      Here, it was the private party respondent, not the government, that failed to provide

necessary information "by the deadlines ... or in the form and manner requested,"

19 U.S.C. § 1677e(a). Commerce explained that its CVD analysis requires certain




                                        Appx84
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information, part from the foreign government relating to the contribution and specificity

aspects of that analysis, and part from the private party respondents that produce and/or

export the goods in question, including whether a benefit was received. See Decision

Memorandum at 46.        That information was not filed in its entirety by Plaintiffs.

Accordingly, the court cannot agree with Plaintiffs that Commerce improperly "impose[d]

adverse inferences on a respondent company for the actions of its government."

See Pls.' Br. at 34.

       Plaintiffs also argue since there is "only one Kazakh silicon metal producer"

that fact somehow implies that an adverse inference cannot be applied. See Pls.' Br.

at 34. TKT/TKS provides no authority for this proposition; nevertheless, Plaintiffs suggest

that the imposition of AFA on TKT/TKS collaterally affects the Government

of Kazakhstan's willingness to cooperate in the future because the Government

of Kazakhstan has no incentive to participate if the end result is AFA regardless of its

cooperation.     Pls.' Reply at 7-8.      That policy argument fails to demonstrate

how Commerce's determination was unsupported by substantial evidence. Therefore,

Commerce's determination to apply adverse inferences was reasonable.




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                                   Ill. Conclusion

      For the above reasons, TKT/TKS's motion for judgment on the agency record is

denied. Judgment will be entered accordingly.




                                                          Is/ Leo M. Gordon
                                                       Judge Leo M. Gordon



Dated: July 14, 2022
       New York, New York




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          COMMERCE FEDERAL REGISTER DECISION




                        Appx136
                    Case
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                                                  C-834-811 INV - Investigation -
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 FOR FURTHER INFORMATION CONTACT:                     SUPPLEMENTARY INFORMATION:     On                      adjusted cash deposit rates for the
David Goldberger, AD/CVD Operations                   December 11, 2020, Commerce                            Turkey LTFV investigation after
Office 11, Enforcement and Compliance,                published in the Federal Register the                  accounting for export subsidies in the
International Trade Administration,                   notice of the final determination of sales             companion countervailing duty
U.S. Department of Commerce, 1401                     at LTFV of PC strand from Turkey and                   investigation. The adjusted rates, along
Constitution Avenue NW, Washington,                   seven other countries.' In the Final                   with the dumping margins, are included
DC 20230; telephone: (202) 482-4136.                  Determinations, Commerce                               in the table below:
                                                      inadvertently failed to publish the
                                                                                                                        Dumping
                                              Exporter/producer                                                          margin           Cash deposit rate 2
                                                                                                                        (percent)

Turkey:
    Celik Halat ye Tel Sanayi A.S                                                                                                53.65                   44.60
    Giiney Celik Hasir ye Demir                                                                                                  53.65                   44.60
    All Others                                                                                                                   53.65                   44.60


   We are hereby correcting the Final                    Dated: February 22, 2021.                           Background
 Determinations to include the adjusted               James Maeder,
cash deposit rates listed above.                      Deputy Assistant Secretary for Antidumping
                                                                                                On December 3, 2020, Commerce
Commerce intends to issue instructions                and Countervailing Duty Operations.     published the Preliminary
to Customs and Border Protection (CBP)                                                       Determination of this countervailing
                                                      IFR Doc. 2021-03999 Filed 2-25-21; 8:45 am]
                                                                                              duty (CVD) investigation, which also
to correct the cash deposit rates                     BILLING CODE 3510-DS-P
                                                                                             aligned the final determination of this
applicable to entries of PC strand from                                                      CVD investigation with the final
Turkey which were entered, or                                                                 determinations in the companion
withdrawn from warehouse, for                         DEPARTMENT OF COMMERCE
                                                                                             antidumping duty investigations of
consumption during the period                         International Trade Administration     silicon metal from Bosnia and
December 11, 2020 through January 31,                                                        Herzegovina and Iceland.' A summary
2021 (i.e., the day before the date of                [C-834-811]                            of the events that occurred since
publication of the antidumping duty                                                          Commerce published the Preliminary
order in the Federal Register, which                  Silicon Metal From the Republic of     Determination, as well as a full
included the adjusted cash deposit                    Kazakhstan: Final Affirmative          discussion of the issues raised by parties
rate).3 Commerce also intends to issue                Countervailing Duty Determination      for this final determination, may be
instructions to CBP to authorize refunds              AGENCY: Enforcement and Compliance,    found in the Issues and Decision
of cash deposits, if requested by the                 International Trade Administration,    Memorandum,2 The Issues and Decision
importer. The refund amount will be                   Department of Commerce.                Memorandum is a public document and
calculated by determining the difference              SUMMARY: The Department of Commerce
                                                                                             is on file electronically via Enforcement
between the amount of cash deposits                                                          and Compliance's Antidumping and
                                                      (Commerce) determines that             Countervailing Duty Centralized
paid as a result of the application of the            countervailable subsidies are being
rates listed in the Final Determinations                                                     Electronic Service System (ACCESS).
                                                      provided to producers and exporters of ACCESS is available to registered users
and the amount due as a result of the                 silicon metal from the Republic of
application of the corrected final                                                           at http://access.trade.gov. In addition, a
                                                      Kazakhstan (Kazakhstan).               complete version of the Issues and
determination rate.                                   DATES: Applicable February 26, 2021.   Decision Memorandum can be accessed
   This notice serves as a correction and             FOR FURTHER INFORMATION CONTACT:       directly at http://enforcement.trade.gov/
is published in accordance with section               Justin Neuman, AD/CVD Operations,      fin/. The signed and electronic versions
777(i) of the Tariff Act of 1930, as                  Office V, Enforcement and Compliance, of the Issues and Decision
amended.                                              International Trade Administration,    Memorandum are identical in content,
                                                      U.S. Department of Commerce, 1401
                                                      Constitution Avenue NW, Washington,    Period of Investigation
                                                      DC 20230; telephone: (202) 482-0486.      Tile period of investigation is January
                                                      SUPPLEMENTARY INFORMATION:             1, 2019, through December 31, 2019.
    Sec Prestressed Concrete Steel Wire Strand from   total export subsidies rate 019.05 percent. See        Arabia, Taiwan, the Republic of Turkey, and the
Argentina, Colombia, Egypt, the Netherlands, Saudi    Prestressed Concrete Steel Wire Strand front the       United Arab Emirates: Antidumping Duty Orders,
Arabia, Taiwan, the. Republic of Turkey, and the      Republic of Turkey: Final Affirmative                  86 FR 7703,7704 (February 1.2021).
United Arab Emirates: Final Affirmative               Countervailing Duty Determination and Final               ' See Silicon Metal from the Republic of
Determinations of Sales at Less Than Fair Value       Negative Critical Circumstances Determination, 85      Kazakhstan: Preliminary Affirmative Countervailing
and Final Affirmative Critical Circumstances          FR 80005 (December 11.2020), and accompanying          Duty Determination, and Alignment of Final
Determinations, in Port 85 FR 80001 (December 11,     Issues and Decision Memorandum nt 12-16; and           Determination with Final Antidumping Duty
2020) (Final Determinations).                         Prestressed Concrete Steel Wire from the Republic      Determination, 85 FR 78122 (December 3, 2020)
  2 Tho cash deposit rates for Celik Halat ve Tel     of Turkey: Preliminary Affirmative Countervailing      (Preliminary Determination), and accompanying
Sanayi A.S.. Miley conk Hasir ve Demir (Giiney        Duty Determination, Preliminary Affirmative            Preliminary Decision Memorandum.
Colik), and the companies covered by We "All          Critical Circumstances Determination, in Part, 85        2 See Memorandum, "Issues and Decision
Others" rate are equal to the petition rate (53.95    FR 59287 (September 21, 2020), and accompanying        Memorandum for the Final Determination of the
percent) adjusted for the lowest rate of export       Preliminary Decision Memorandum at 18-20.25-           Countervailing Duty investigation of Silicon Metal
subsidies found for any company in the most           27, and 31-33.                                         from the Republic of Kazakhstan," dated
recently-completed segment in the companion             "See Prestressed Concrete Steel I.Vire Strand from   concurrently with, and hereby adopted by, this
countervailing duty proceeding, i.e, Giiney Celik's   Argentina, Colombia, Egypt, the Netherlands. Saudi     notice (issues and Decision Memorandum).

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 Scope of the Investigation                   relied upon in making its final                                                                Subsidy rate
                                             determination in this investigation.                                     Company
    The product covered by this                                                                                                               (percent)
 investigation is silicon metal from         However, we attempted to take
                                                                                                           Tau-Ken Temlr LLP and JSC
 Kazakhstan. For a full description of the additional steps in lieu of an on-site                            NMC Tau-Ken Samruklo                   160.00
 scope of this investigation, see the        verification to verify the information
                                                                                                           All Others                               160.00
 "Scope of the Investigation" in             relied upon in making this final
 Appendix I.                                 determination, in accordance with
                                             section 782(i) of the Act.°                                    Disclosure
 Scope Comments                                  Pursuant to section 776(a)(2)(D) of the                       Normally, Commerce discloses to
    As stated in the Preliminary             Act, in situations where information has                       interested parties the calculations
 Determination, no interested parties        been provided but the information                              performed in connection with a final
 commented on the scope of the               cannot be verified in accordance with                          determination within five days of the
 investigation as it appeared in the         section 782(i) of the Act, Commerce may                        public announcement or, where there is
 Initiation Notice.3 Accordingly, the        use "facts otherwise available" on the                         no public announcement, within five
 scope of the investigation remains the      record in reaching the applicable                              days of the date of publication of the
 same as it appeared in the Initiation       determination. Accordingly, because                            notice of final determination in the
 Notice. See Appendix I of this notice.     Commerce was unable to verify certain                           Federal Register, in accordance with 19
                                            information, and because that inability                         CFR 351.224(b). However, because
 Analysis of Subsidy Programs and            to verify information, or gather                               Commerce applied adverse facts
 Conunents Received                         information in lieu of an on-site                              available (AFA) to the individually-
    The subsidy programs under              verification, was a result of a respondent                      examined company Tau-Ken Temir
 investigation and the issues raised in     failing to act to the best of its ability, in                   LLP/JSC NMC Tau-Ken Samruk in this
 the case and rebuttal briefs by parties in accordance with section 776(b) of the                           investigation, in accordance with
 this investigation are discussed in the    Act, we have applied an adverse                                section 776 of the Act, and the applied
Issues and Decision Memorandum. A           inference in using facts otherwise                              AFA rate is based solely on information
 list of the issues raised by parties is    available. in making our final                                 provided by the Government of
attached to this notice at Appendix II,     determination.?                                                Kazakhstan, there are no calculations to
                                            Changes Since the Preliminary                                  disclose.
Methodology
                                            Determination                                                  Continuation of Suspension of
    Commerce conducted this                                                                                Liquidation
investigation in accordance with section        Based on our review and analysis of
701 of the Tariff Act of 1930, as           the comments received from parties and                            As a result of our Preliminary
amended (the Act). For each of the          the results of verification, we made                           Determination and pursuant to sections
subsidy programs found                      certain changes to the subsidy rate                             7D3(d)(1)(B) and (d)(2) of the Act,
countervailable, Commerce determines        calculations. For a discussion of these                        Commerce instructed U.S. Customs and
that there is a subsidy, i.e., a financial  changes, see the Issues and Decision                           Border Protection to suspend
contribution by an "authority" that         Memorandum.                                                    liquidation of entries of subject
gives rise to a benefit to the recipient,   All-Others Rate                                                merchandise from Kazakhstan that were
and that the subsidy is specific.4 For a                                                                   entered, or withdrawn from warehouse,
full description of the methodology             As discussed in the Preliminary                            for consumption on or after December 3,
underlying our final determination, see Determination, Commerce based the                                  2020, the date of publication of the
the Issues and Decision Memorandum.         selection of the all-others rate on the                        Preliminary Determination in the
    Commerce notes that, in making these countervailable subsidy rate established                          Federal Register.
findings, it relied on facts available and, for the mandatory respondents in                                  If the U.S. International Trade
because it finds that one or more           accordance with section 705(c)(5)(A)(ii)                       Commission (ITC) issues a final
respondents did not act to the best of      of the Act.8 Because we are adjusting the                      affirmative injury determination, we
their ability to respond to Commerce's      final subsidy rate applicable to the                           will issue a CVD order and require a
requests for information, it drew an        mandatory respondents, we are making                           cash deposit of estimated countervailing
adverse inference where appropriate in      similar changes to the all-others rate as                      duties for entries of subject merchandise
selecting from among the facts              well.°                                                         in the amounts indicated above, in
otherwise available.s For further           Final Determination                                            accordance with section 706(a) of the
information, see "Use of Facts                                                                             Act. If the ITC determines that material
Otherwise Available and Adverse                 In accordance with section                                 injury, or threat of material injury, does
Inferences" in the Issues and Decision      705(c)(1)(B)(i)(I) of the Act, Commerce                        not exist, this proceeding will be
Memorandum.                                 determines that the following estimated                        terminated, and all estimated duties
                                            countervailable subsidy rates exist:                           deposited or securities posted as a result
Verification                                                                                               of the suspension of liquidation will be
                                                 See Commerce's Letter, "Countervailing Duty               refunded or canceled.
   Commerce was unable to conduct on- Investigation      of Silicon Metal from the Republic of
site verification of the information        Kazakhstan: Supplemental Questionnaire in Lieu of              ITC Notification
                                                       Verification," dated December 7. 2020.
  3 See Silicon Metal from the Republic of               7 See Issues and Decision Memorandum at              In accordance with section 705(d) of
Kazakhstan: initiation of Countervailing Duty          Comments 8 and 11.                                  the Act, Commerce will notify the ITC
investigation, 85 FR 45173 (July 27. 2020)               "See Preliminary Determination, 85 FR al 78122-   of its final affirmative determination
(Initiation Notice): see also Preliminary              23.
Determination, 85 FR at 78122.                           °See Issues and Decision Memorandum at
                                                                                                           that countervailable subsidies are being
  " See sections 771(5)(B) and (DI of the Act          Comment 11.                                         provided to producers and exporters of
regarding financial contribution; section 771(5)(E)      to As discussed in the Preliminary Decision
of the Act regarding benefit: and section 771(5A) of   Memorandum, Commerce has found tho following        LLP. Metallurgical Combine KesSilicon LLP,
the Act regarding specificity.                         companies to he cross-owned with Tau-Ken Temir      National Welfare Fund "Santruk-Kazyna"JSC,
    See sections 776(a) and (b) of the Act.            LLP and JSC NMC Tan-Ken Samruk: Silicon Metal       "Ekibastnz GRES-2 station" JSC. and JSC KEGOC.

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silicon metal from Kazakhstan. As               Appendix II                                    SUMMARY: Free Atlantic Shark
Commerce's final determination is               List of Topics Discussed in the Issues and     Identification Workshops and Safe
affirmative, in accordance with section        Decision Memorandum                             Handling, Release, and Identification
705(b) of the Act, the ITC will                                                                Workshops will be held in April, May,
                                                I. Summary
determine, within 45 days, whether the         H. Background                                  and June of 2021. Certain fishermen and
domestic industry in the United States         III. Period of Investigation                   shark dealers are required to attend a
is materially injured or threatened with       IV. Use of Facts Otherwise Available and        workshop to meet regulatory
material injury. In addition, we are                 Adverse Inferences                        requirements and to maintain valid
making available to the ITC all non-           V. Subsidies Valuation                          permits. Specifically, the Atlantic Shark
privileged and nonproprietary                  VI. Analysis of Programs                        Identification Workshop is mandatory
information related to this investigation.     VII. Analysis of Comments                       for all federally permitted Atlantic shark
                                                   Comment 1: Whether the Company
We will allow the ITC access to all                  Respondents' Initial Questionnaire        dealers. The Safe Handling, Release, and
privileged and business proprietary                  Response Should be Accepted              Identification Workshop is mandatory
information in our files, provided the             Comment 2: Whether the Administrative      for vessel owners and operators who use
ITC confirms that it will not disclose               Procedures Act (APA) Supports            bottom longline, pelagic longline, or
such information, either publicly or                 Accepting the Company Respondents'       gillnet gear, and who have also been
under an administrative protective order             Questionnaire Response                   issued shark or swordfish limited access
(APO), without the written consent of              Continent 3: Whether Commerce Should        permits. Additional free workshops will
the Assistant Secretary for Enforcement              Apply Facts Available (FA) Rather Than   be conducted during 2021 and will he
                                                     Adverse Facts Available (AFA) in
and Compliance.                                      Establishing the Countervailing Duty     announced in a future notice.
 Notification Regarding Administrative               (CVD) Rate                               DATES: The Atlantic Shark Identification
 Protective Orders                                 Comment 4: Whether the Petitioners'        Workshops will be held on April 16,
                                                     Allegations of a Conflict-of-Interest    May 6, and June 17, 2021. The Safe
    In the event that the ITC issues a final         Warrant the Application of FA Rather     Handling, Release, and Identification
 negative injury determination, this                 Than AFA                                 Workshops will be held on April 2,
 notice will serve as the only reminder            Comment 5: Whether Petitioners'            April 23, May 6, May 19, June 2, and
 to parties subject to the APO of their              Allegations of a Conflict-of-Interest
                                                     Create an Actionable Violation of        June 29, 2021. See SUPPLEMENTARY
 responsibility concerning the                                                                INFORMATION for further details.
                                                     Antitrust Laws
destruction of proprietary information             Comment 6: Whether the Petitioners'        ADDRESSES: The Atlantic Shark
disclosed under APO in accordance                    Alleged Violation of a Confidentiality   Identification Workshops will be held in
with 19 CFR 351.305(8)(3). Timely                    Agreement Warrants the Application of    Philadelphia, PA; Fort Lauderdale, FL;
written notification of the return/                  FA Rather Than AFA                       and Boston, MA. The Safe Handling,
destruction of APO materials or                    Comment 7: Whether the AFA Rate            Release, and Identification Workshops
conversion to judicial protective order is           Applied in the Preliminary
                                                     Determination Is Warranted               will be held in Palm Coast, FL;
hereby requested. Failure to comply                                                           Warwick, RI; Kenner, LA; Kitty Hawk,
with the regulations and terms of an               Comment 8: Whether Commerce Should
                                                     Rely on Information Provided by the      NC; Panama City, FL; and Philadelphia,
APO is a violation which is subject to               Government of Kazakhstan in              PA. See SUPPLEMENTARY INFORMATION for
sanction.                                            Determining the Countervailability of    further details on workshop locations.
Notification to Interested Parties                   Programs                                 FOR FURTHER INFORMATION CONTACT: Rick
                                                   Comment 9: Whether Commerce Is             Pearson by phone: (727) 824-5399, or by
   This determination is issued and                  Required To Exhaust Administrative
published pursuant to sections 705(d)                Remedies                                 email at rick.a.pearson@nocio.gov.
and 777(i) of the Act, and 19 CFR                  Comment 10: Whether Commerce Imposed       SUPPLEMENTARY INFORMATION: The
351.210(c).                                          Provisional Measures Without Adequate    workshop schedules, registration
                                                     Consideration                            information, and a list of frequently
   Dated: February 22, 2021.                       Comment 11: Whether Commerce Should        asked questions regarding the Atlantic
James Maeder,                                        Find That Two Additional Programs Are    Shark Identification and Safe Handling,
Deputy Assistant Secretaryfor Antidumping            Countervailable                          Release, and Identification workshops
and Countervailing Duty Operations.           VIII. Recommendation
                                                                                              are posted online at: https://
Appendix I                                    [FR   Doc. 2021-04032 Filed 2-25-21; 8:45 am)   www.fisheries.nocra.gov/atlantic-highly-
                                               BILLING CODE 3510-DS-P                         migratory-species/atlantic-shark-
Scope of the Investigation
                                                                                              identification-workshops and https://
   The scope of this investigation covers all                                                 www.fisheries.noaa.gov/atlantic-highly-
forms and sizes of silicon metal, including   DEPARTMENT OF COMMERCE
silicon metal powder. Silicon metal contains                                                  migratory-species/safe-handling-release-
at least 85.00 percent but less than 99.99    National Oceanic and Atmospheric                and-identification-workshops.
percent silicon, and less than 4.00 percent   Administration                                  Atlantic Shark Identification
iron, by actual weight. Semiconductor grade                                                   Workshops
silicon (merchandise containing at least      (RTID    0648-XA863)
99.99 percent silicon by actual weight and                                                      Since January 1, 2008, Atlantic shark
classifiable under Harmonized Tariff          Schedules for Atlantic Shark                    dealers have been prohibited from
Schedule of the United States (HTSUS)         Identification Workshops and                    receiving, purchasing, trading, or
subheading 2804.61.0000) is excluded from     Protected Species Safe Handling,                bartering for Atlantic sharks unless a
the scope of this investigation.              Release, and Identification Workshops           valid Atlantic Shark Identification
   Silicon metal is currently classifiable                                                    Workshop certificate is on the premises
under subheadings 2804.69.1000 and            AGENCY:      National Marine Fisheries
2804.69.5000 of the HTSUS. While the          Service (NMFS), National Oceanic and            of each business listed under the shark
HTSUS numbers are provided for                Atmospheric Administration (NOAA),              dealer permit that first receives Atlantic
convenience and customs purposes, the         Commerce.                                       sharks (71 FR 58057; October 2, 2006).
written description of the scope remains      ACTION: Notice of public workshops.             Dealers who attend and successfully
dispositive.                                                                                  complete a workshop are issued a

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       COMMERCE ISSUES AND DECISION MEMORANDUM




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       Case
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                                                                                         C-834-811
                                                                                       Investigation
                                                                         POI: 1/1/2019 — 12/31/2019
                                                                                  Public Document
                                                                                    E&C/OV: JMN

February 22, 2021

MEMORANDUM TO:               James Maeder
                             Deputy Assistant Secretary
                              for Antidumping and Countervailing Duty Operations

FROM:                        Shawn Thompson
                             Director, Office V
                             Antidumping and Countervailing Duty Operations

SUBJECT:                     Issues and Decision Memorandum for the Final Determination of
                             the Countervailing Duty Investigation of Silicon Metal from the
                             Republic of Kazakhstan


I.     SUMMARY

The Department of Commerce (Commerce) determines that countervailable subsidies are being
provided to producers of silicon metal from the Republic of Kazakhstan (Kazakhstan), as
provided in section 705 of the Tariff Act of 1930, as amended (the Act). Below is the complete
list of issues in this investigation for which we received comments from interested parties:

Comment 1: Whether the Company Respondents' Initial Questionnaire Response Should be
           Accepted
Comment 2: Whether the Administrative Procedures Act (APA) Supports Accepting the
           Company Respondents' Questionnaire Response
Comment 3: Whether Commerce Should Apply Facts Available (FA) Rather than Adverse
           Facts Available (AFA) in Establishing the Countervailing Duty (CVD) Rate
Comment 4: Whether the Petitioners' Allegations of a Conflict-of-Interest Warrant the
           Application of FA Rather than AFA
Comment 5: Whether Petitioners' Allegations of a Conflict-of-Interest Create an Actionable
           Violation of Antitrust Laws
Comment 6: Whether the Petitioners' Alleged Violation of a Confidentiality Agreement
           Warrants the Application of FA Rather than AFA
Comment 7: Whether the AFA Rate Applied in the Preliminary Determination is Warranted
Comment 8: Whether Commerce Should Rely on Information Provided by the Government of
           Kazakhstan (GOK) in Determining the Countervailability of Programs
Comment 9: Whether Commerce is Required to Exhaust Administrative Remedies



                                                                                                ,1*

                                                                                         TRADE
       Filed By: Justin Neuman, Filed Date: 2/23/21 4:07 PM, Submission Status: Approved •  ”



                                         Appx190
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Comment 10: Whether Commerce Imposed Provisional Measures Without Adequate
            Consideration
Comment 11: Whether Commerce Should Find that Two Additional Programs Are
            Countervailable

II.      BACKGROUND

The mandatory company respondents in this investigation are JSC NMC Tape u-Ken Samruk
(TKS) and Tau-Ken Temir LLP (TKT).' On December 3, 2020, Commerce published the
Preliminary Determination in this investigation and aligned this final CVD determination with
the final determinations in the antidumping duty (AD) investigations of silicon metal from
Bosnia and Herzegovina and Iceland, in accordance with section 705(a)(1) of the Act and 19
CFR 351.210(b)(4)(i).2

During the course of this investigation, travel restrictions were imposed that prevented
Commerce personnel from conducting on-site verification. In lieu of on-site verification,
Commerce sent a supplemental questionnaire to the GOK to collect additional or supporting
documentation related to information that it had already submitted to the record.3 However, the
GOK did not respond to the ILV Questionnaire.

We invited parties to comment on the Preliminary Determination.4 In December 2020, we
received a timely-filed case brief from the GOK.5 In January 2021, we received timely-filed
case briefs from Globe Specialty Metals, Inc. (Globe) and Mississippi Silicon LLC (collectively,
the petitioners) and TKS/TKT, as well as timely-filed rebuttal briefs from the petitioners and the
GOK.6 In February 2021, Commerce held a public hearing.

III.     PERIOD OF INVESTIGATION

The period of investigation (POI) is January 1, 2019, through December 31, 2019.

 I As discussed in the Pt-din:brag Determination, Commerce found TKS and TKT to be cross-owned entities who
are also cross-owned with the following companies: National Welfare Fund "Samruk-Kazyna" JSC (Samruk-
Kazyna), Silicon Metal LLP (SM), Metallurgical Combine KazSilicon LLP (KazSilicon), JSC "Samruk-Energy"
(Samruk-Energy), "Ekibastuz GRES-2 station" JSC (GRES-2), and JSC KEGOC (KEGOC). We refer to these
companies collectively as TKS/TKT. See Silicon Metalfrom the Republic of Kazakhstan: Preliminary Affirmative
Countervailing Duty Determination, and Alignment of Final Determination with Final Antidumping Duty
Determination, 85 FR 78122 (December 3, 2020) (Preliminary Determination), and accompanying Preliminary
Decision Memorandum (PDM).
l id.
3 See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Supplemental Questionnaire in Lieu of Verification," dated December 7, 2020 (ILV Questionnaire).
4 See Memorandum, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Briefing Schedule," dated December 17, 2020; see also Memorandum, "Countervailing Duty Investigation of
Silicon Metal from the Republic of Kazakhstan: Extension of Briefing Schedule," dated December 23, 2020.
5 See the GOK's Letter, "Silicon Metal from Kazakhstan," dated December 28, 2020 (GOK's Case Brief).
6 See Petitioners' Letter, "Silicon Metal from the Republic of Kazakhstan: Petitioners' Case Brief," dated January 4,
2021 (Petitioners' Case Brief); TKS/TKT's Case Brief, "Silicon Metal From Kazakhstan," dated January 5, 2021
(TKS/TKT's Case Brief); the GOK's Letter, "Silicon Metal from Kazakhstan - REBUTTAL BRIEF," dated January
11, 2021; and Petitioners' Letter, "Silicon Metal from the Republic of Kazakhstan: Petitioners' Rebuttal Brief,"
dated January 14, 2021 (Petitioners' Rebuttal Brief),



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IV.         USE OF FACTS OTHERWISE AVAILABLE AND ADVERSE INFERENCES

Section 776(a)(1) and (2) of the Act provides that Commerce shall, subject to section 782(d) of
the Act, apply "facts otherwise available" if necessary information is not on the record or if an
interested party or any other person (A) withholds information that has been requested; (B) fails
to provide information within the deadlines established or in the form and manner requested by
Commerce, subject to section 782(c)(1) and (e) of the Act; (C) significantly impedes a
proceeding; or (D) provides information that cannot be verified, as provided by section 782(i) of
the Act.

Under section 782(c)(1) of the Act, if an interested party, "promptly after receiving a request
from {Commerce} for information, notifies {Commerce} that such party is unable to submit the
information requested in the requested form and manner," then Commerce shall consider the
ability of the interested party and may modify the requirements to avoid imposing an
unreasonable burden on that party.

In accordance with section 782(d) of the Act, if we determine that a response to a request for
information does not comply with the request, Commerce shall promptly inform the party
submitting the response of the nature of the deficiency and shall, to the extent practicable,
provide that party with an opportunity to remedy or explain the deficiency. If that party submits
further information that continues to be unsatisfactory or such information is not submitted
within the applicable time limits, Commerce may, subject to section 782(e) of the Act, disregard
all or part of the original and subsequent responses, as appropriate.

Section 782(e) of the Act states that Commerce shall not decline to consider information that is
submitted by an interested party and is necessary to the determination, but does not meet all of
the applicable requirements established by the administering authority, if (1) the information is
submitted by the established deadline, (2) the information can be verified, (3) the information is
not so incomplete that it cannot serve as a reliable basis for reaching the applicable
determination, (4) the interested party has demonstrated that it acted to the best of its ability, and
(5) the information can be used without undue difficulties.

           A.      The GOK

In the Preliminary Determination, we relied on information provided by the GOK to
preliminarily determine that one of the eight programs under investigation, the Provision of
Electricity for Less than Adequate Remuneration (LTAR), was de facto specific because the
metallurgical industry is a disproportionate user of electricity in Kazakhstan.7 We also relied on
information provided by the GOK to preliminarily determine that two additional programs,
Provision of Water for LIAR and Provision of Drainage System Services for LTAR, were not
countervailable because the Saryarka special economic zone (SEZ), where TKS/TKT is located,
did not provide water or drainage services to companies located in the zone.

Consistent with section 782(i) of the Act, on December 7, 2020, we issued the ILV
Questionnaire to the G0K in order to verify the information upon which we relied in the

7 See   Preliminary Determination PDM at 16.



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Preliminary Determination.8 As we only relied on information provided by the GOK in the
Preliminary Determination with respect to these three programs, our ILV Questionnaire was in
turn limited to these programs as well. Nonetheless, the GOK did not respond to our ILV
Questionnaire.

Section 782(i)(1) of the Act requires that Commerce verify all information relied upon in making
a final determination in an investigation. By not providing a response to Commerce's ILV
Questionnaire, the GOK has significantly impeded this proceeding with regard to the allegation
that TKS/TKT received electricity, water, and drainage services for LTAR, failed to provide
information within the deadlines established or in the form and manner requested by Commerce,
and provided information which could not be verified. Consequently, pursuant to sections
776(a)(2)(B)-(D) of the Act, we are relying on facts otherwise available regarding specificity and
financial contribution for the water and drainage service programs for the final determination,
and for specificity as it relates to the provision of electricity for LTAR.

In selecting from among the facts available, we find that an adverse inference is warranted,
pursuant to section 776(b) of the Act, because the requested information was in the GOK's
possession and the GOK failed to provide it in a timely response to Commerce's ILV
Questionnaire. Therefore, we find that the GOK failed to cooperate to the best of its ability to
comply with Commerce's requests for necessary information in this investigation.
Consequently, pursuant to section 776(b) of the Act, we find that these three programs are
specific pursuant to section 771(5A)(D)(iv) of the Act because they are limited to companies
located in SEZs, and that the provision of water and drainage services constitute a financial
contribution under section 771(5)(D)(iii) of the Act.

        B.        TKS/TKT

Commerce relied on "facts otherwise available," including AFA, to find that TKS/TKT used
each program under investigation in the Preliminary Determination.9 We are adopting our
methodology from the Preliminary Determination in this final determination. However, as
described above, in addition to our findings from the Preliminary Determination, for this final
determination Commerce is finding that two additional programs under investigation are
countervailable, based on our finding that the application of AFA is warranted in finding that the
Provision of Water for LTAR and Provision of Drainage System Services for LTAR programs
provided a financial contribution and are specific.'° For further discussion, see Comments 3, 8,
and 11 below.




  See ILV Questionnaire.
9 See Preliminary Determination PDM at 4-9.
10 See Comment i I.



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V.       SUBSIDIES VALUATION INFORMATION

A.       Allocation Period

Interested parties raised no issues in their case briefs regarding the allocation period set forth in
the Preliminary Determination. Therefore, we have made no changes to this period for the final
determination. For a description of the allocation period, see the Preliminary Determination."

B.       Attribution of Subsides

Interested parties raised no issues in their case briefs regarding the attribution of subsidies as
described in the Preliminary Determination. Therefore, we have made no changes for the final
determination. For further discussion, see the Preliminary Determination.'2

VI.      ANALYSIS OF PROGRAMS

A.       Programs Determined to Be Countervailable

Except where noted, we made no changes to the methodology used to calculate the subsidy rates
for the following programs in the Preliminary Determination. The final program rates are as
follows:

      1. Corporate Income Tax Exemption: 20 percent ad valorem

      2. Property Tax Exemption: 20 percent ad valorem

      3. Land Tax and Land Use Fee Exemption: 20 percent ad valorem

      4. Customs Duty Exemption: 20 percent ad valorem

      5. Provision of Electricity for LTAR: 20 percent ad valorem

     6. Provision of Water for LTAR:13 20 percent ad valorem

      7. Provision of Drainage System Services for LTAR:14 20 percent ad valorem

     8. Debt Forgiveness: 20 percent ad valorem




II See Preliminary Determination PDM at 9.
I2 Id. at 9-10.
13 This program was not countervailed in the Preliminary Determination. See Comment 11.
14 This program was not countervailed in the Preliminary Determination. See Comment 11.



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VII.     ANALYSIS OF COMMENTS

Comment 1: Whether the Company Respondents' Initial Questionnaire Response Should
           be Accepted

The deadline for Section III of TKS/TKT's initial questionnaire response was on September 15,
2020. Shortly before 5 p.m. on that date, TICS/TKT requested that Commerce grant it an
extension of one additional business day. Commerce did not respond to this request, and
TKS/TKT submitted a portion of its response on the morning of September 16, 2020. Because
this filing was received after 8:30 a.m., Commerce rejected it as untimely, pursuant to 19 CFR
351.302(b).

TKS/TKT's Comments: is
  • Commerce should accept TKS/TKT's initial questionnaire response. TKS/TKT complied
     with the requirements of 19 CFR 351.302 by making a timely extension request, filing its
     request as soon as it was known that more time was required, and citing the technical
     issues encountered in filing the questionnaire response. Commerce has still not
     responded to this extension request, which Commerce may do at any time in accordance
     with 19 CFR 351.302(b).
  • TKS/TKT's counsel was unable to submit TKS/TKT's response in Commerce's
     electronic filing system, ACCESS, by the deadline due to technical/computer issues in
     the files he received, which were not resolved by the 5:00 p.m. deadline. In particular,
     the files had imbedded information or were corrupt, and counsel had difficulty making
     Russian searchable in PDFs, all of which resulted in rejection of the submission by
     ACCESS.
  • Counsel immediately filed on ACCESS, at 3:50 p.m., a stand-alone written one-day
     extension request, allowing Commerce officials to learn of the extension request before
     the 5:00 p.m. deadline. Commerce's ACCESS Manual informs parties not to begin
     filings after 4:00 p.m., the only clear time a benchmark is given in this regard.
     Commerce officials grant one-day extension requests under those circumstances and even
     far closer to 5:00 p.m. (e.g., 4:30 p.m.).
  • The technical issues with the filing could not be resolved until early the next business
     day, resulting in a 10:10 a.m. filing on September 16, 2020. Filing by 8:30 a.m. was not
     possible, as Commerce's rejection notification indicates that a party may contact
     ACCESS for help. However, this was not possible after hours, and the ACCESS team
     was unavailable until next business day.
  • Commerce's ACCESS rejection notification states that there may be other document
     issues without listing them, causing filers to cease submitting more documents until the
     situation can be fully understood and resolved.
  • Commerce's suggestion that the extension request should be made as soon as the need for
     an extension is apparent is not legal or supportable. The Final Rule states that Commerce
     "will continue to grant extensions of time limits to the extent that they are warranted and




Is See TKS/TKT's Brief at 8-14, 17-26.



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       deadlines for the segment permit."I6 At the time the final extension request was made,
        the preliminary determination was still 73 days away.
     • Commerce's Final Rule is pre-COVID-19. With COVID-19, Commerce has made
       accommodations for deadlines as many law firms are subject to key staff furloughs and
       work restrictions. For example, Commerce disallowed physical manual filings, and it
       was only at the time developing a workaround for them.
     • The Final Rule states that Commerce will not adopt rules that are "inflexible to permit"
       Commerce "to effectively and fairly administer the AD and CVD laws."17 Commerce
       "may not decide a critical legal and factual issue by resorting to an irrebuttable
       presumption as a substitute for engaging in reasoned decision making and basing its
       findings on record evidence."18 Commerce impermissibly inflexibly applied the Final
       Rule as an irrebuttable presumption.
     • The Final Rule is merely a discussion, not a regulation, and such discussions are
       routinely rejected by the reviewing courts when such regulations unnecessarily prevent
       Commerce from achieving its statutory mandate to calculate accurately subsidy (or
       dumping) rates.19
     • Commerce provides no statement or support beyond the impermissible per se next day
       8:30 a.m. deadline as to why it should not accept TKT's timely one-day extension request
       and still meet statutory deadlines. This is particularly valid given that Commerce
       extended the preliminary determination by 60 days. In other CVD cases, Commerce has
       granted multiple extensions of comparable length or more, evidencing that Commerce
       had time remaining in the investigation to grant TKS/TKT's request for a one-day
       extension.'
     • Commerce has the inherent authority under the regulations to accept a questionnaire
       response at any point, including the authority to consider and accept TKS/TKT's still not
       decided and timely filed one-day extension request.21 A claim that Commerce can simply

18 See TKS/TKT's Brief at 12 (citing Extension of Time Limits, 78 FR 57790, 57795 (September 20, 2013) (Final
Rule).
17 Id. at 13, (citing Final Rule, 78 FR at 57795-96).
18 Id. (citing NLRB v. St. Francis Hasp., 601 F. 2d 404, 416 (9th Cir. 1979); Charles I Koch, Administrative Law and
Practice § 6.43 (Supp. 1992); and Jacob A. Stein et. al., Administrative Law § 24.04 (1994)).
19 Id. (citing NTN Bearing Coip. v. United States, 74 F. 3d 1204, 1207 (Fed. Cir. 1995) (NTN Bearing); Pro-Team
Coil Nail Enter., Inc. v. United States, No. 18-00027, 2019 WL 7167536, at 9-10 (CIT 2019); U.S. Magnesium LLC
v. United States, 895 F. Supp. 2d 1319, 1325 (CIT 2013) ("In determining whether Commerce's rejection of an
untimely submission amounts to an abuse of discretion, this Court considers whether the interests of accuracy and
fairness outweigh the burden placed on (Commerce) and the interest in finality"); Withu Fenglian Co., Ltd. v.
United States, 836 F. Supp. 2d 1398, 1404-05 (Cif 2012); Fine Furniture (Shanghai) Ltd. v. United States, 865 F.
Supp. 2d 1254, 1267 (CIT 2012) (Fine Furniture 1); and Dupont Teijin Films v. United States, Slip Op. 13-111 at 5
(CIT 2013).
20 Id. (citing Commerce Memoranda, "Phosphate Fertilizers from Morocco," dated September 15, 2020 (barcode
4026926-01); "Certain Vertical Shaft Engines Between 225cc and 999cc, and Parts Thereof from China (A-570-
119)," dated December 31, 2020 (barcode 4070614-01); and Jiangsu Senmao Bamboo & Wood Indus. Co. v. United
States, 322 F. Supp. 3d 1308, 1323-25 (CIT 2018)).
21 Id. at 14 (citing Artisan Manufacturing Corp. v. United States, 978 F.Supp.2d 1334, 1338 & 1344-45 (CIT 2014);
USiI701' Sacilor v. United States, 872 F. Supp. 1000, 1008 (CIT 1994) (Artisan) (When deciding if Commerce abused
its discretion in rejecting information submitted after the deadline, it should consider the interests of accuracy to




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              not decide matters because it does not have the time and resources to do so violates the
             Act and congressional intent.22
         •   Commerce has accepted questionnaire responses under similar circumstances. For
             example, in the CVD investigation of Ripe Olivesfrom Spain, Commerce decided an
             extension request filed at 4:30 p.m. of the deadline date.
         •   While TKS/TKT's one-day extension request was timely, Commerce accepts even
             untimely extension requests,23 including those that cite printer issues, confused
             paralegals, counsel calendar errors, misunderstanding of ACCESS requirements,
             requesting extensions for the wrong documents, and refusal to file due to privacy laws.
             Commerce's disparate treatment of different companies with respect to extension
             requests, without explanation, is unlawfully arbitrary and capricious.24
         •   Commerce has approved last minute oral one-day extension requests that are not even
             allowed by its regulations. Therefore, Commerce should consider and specifically decide
             a properly filed written extension request per its regulations, such as that filed by
             TKS/TKT.
         •   There is extensive court precedent finding unlawful Commerce's rejection of untimely
             questionnaire responses. The courts are "guided first by the remedial, and not punitive,
             purpose of CVD/AD trade law and the AD/CVD statute's goal to determine margins "as
             accurately as possible."25 The courts weigh "the burden imposed upon the agency by
             accepting the late submission," "the need for finality at the final results stage,"26 and the
             interests of accuracy and fairness.
         •   In Artisan, the CIT held that Commerce's rejection of a respondent's questionnaire
             response as untimely was an abuse of discretion,27 finding that counsel's missing of a
             deadline and failure to timely request an extension was "inconsequential" and would not
             have had any "adverse consequences for the investigation" given it was only a one-day
             delay.28 The consequences of Commerce's rejection of TKS/TKT's response are grossly
             disproportionate, given the cash deposit rate of 120 percent established in the Preliminaty

calculate the actual CVD/AD margin and fairness, and the burden imposed upon the agency from accepting the late
submission); Grobest & I-Mei Indus. (Viet) Co, v. United States, 815 F. Supp. 2d 1342, 1367 (CIT 2012) (Grobest)
(Under the statutory scheme, even a questionnaire response filed after the deadline cannot be rejected, where
"rejection of the respondent's submission as untimely appears to have worked a substantial hardship upon that
company and resulted in an inaccurate dumping {subsidy}margin," especially where there was no significant burden
on Commerce and the company worked diligently to correct the problem); Hebei Metals and Minerals Imp. & Exp.
Co. v. United States, Slip Op. 04-88 at 10 (CIT 2004); NTN Bearing, 74 F.3d. at 1207; Timken Corp. v. United
States, 434 F.3d 1345, 1353-54 (Fed Cir. 2006); Nippon Steel, Slip Op. 01-52 at 13 (CIT 2001) (Nippon Steel
2001); Chapparal Steel Co. v. United States, 901 F. 2d 1097, 1103-04 (Fed. Cir. 1990); and Usinor Sacilor v. United
States, 872 F. Supp. 2d 1000, 1008 (CIT 1994)).
22 Id. at 15 (citing Zhejiang Native Produce & Animal By-Products Import & E•xport Corp, 637 F. Supp. 2d 1260,
61-63 (CIT 2009)).
23 Id. at 17 (citing, inter alia, Antidumping Duty Investigation of Certain Amorphous Silica Fabric From the
People's Republic of China: Final Affirmative Determination of Sales at Less-Than-Fair Value, and Final
Affirmative Determination of Critical Circumstances, 82 FR 8399 (January 25, 2017), and accompanying Issues and
Decision Memorandum (IDM) at 25).
24 Id. at 18 (citing SKF USA, Inc. v. United States, 263 F.3d 1369, 1382 (Fed. Cir. 2001); and Goodluck India Ltd. v.
United States, 393 F. Supp. 3d 1352, 1358 (CIT 2019)).
28 Id, at 18 (citing Grobest, 815 F. Supp. 2d at 1365).
26 Id.
27 Id.   at 19 (citing Artisan, 978 F. Supp. 2d at 1345).
28   Id. (citing Artisan, 978 F. Supp. 2d at 1348).



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       Determination.29 Commerce's exercise of discretion must be reasonable in light of its
        statutory obligations to calculate accurate AD/CVD margins within the statutory time
        limits.30
     • In NTN Bearing, the CIT stated that a "regulation which is not required by statute... must
        be waived where failure to do so would amount to an abuse of discretion.i31
       Commerce's failure to waive any deadline here is an abuse of discretion, as the deadline
        is not necessary to satisfy statutory obligations.
     • Commerce and the petitioners claim that certain information was missing from
       TKS/TKT's subsidy questionnaire response. However, Commerce cannot make this
       claim because it completely removed the questionnaire response filed by TKS/TKT from
       the record. Commerce may not refer to that response or make decisions based on
       information not on the record. Otherwise Commerce violates its own regulations as well
       as the statutory requirement that decisions be based on substantial evidence and makes
       decisions that would preclude judicial review.
     • TKS/TKT's filed questionnaire response was missing, at best, only five percent of the
       total pages, which occurred because counsel worked through much of the night to meet
       the deadline, and he inadvertently double filed the proprietary version of a TKS exhibit
       instead of a TKT exhibit on ACCESS. In any event, any information claimed to be
       missing was covered by the other submitted financials and reconciliations in the
       questionnaire response as well as the submitted public version of the document.
       Commerce could easily have requested the business proprietary information (BPI)
       version of the file.
     • Given Commerce's factual claim that information is missing from the record, 19 CFR
       351.301(4) entitles TKS/TKT with an opportunity to rebut Commerce's claim, which it
       did in its letters dated October 5 and 13, 2020.32
     • If Commerce erroneously maintains its unsupported claim that certain information was
       missing from the TKS/TKT questionnaire response, then by statute and court precedent,
       that questionnaire response is wholly in the record for that purpose. It is arbitrary and
       capricious for Commerce to cherry pick from documents and choose portions thereof to
       carve out a record of its choosing.
     • Section 516A(b)(2) of the Act states that "the record... shall consist of all information
       presented to or obtained by" Commerce "during the course of the administrative
       proceeding." Commerce's regulations at 19 CFR 351.104(a) state that the official record
       of an AD/CVD proceeding includes "all factual information, written argument, or other
       material developed by, presented to, or obtained by the Secretary during the course of a
       proceeding that pertains to a proceeding." Once Commerce allows a particular piece of
       information from a document on the record for any purpose, it must put the entire
       document on the record at least for that purpose or issue. Otherwise, no one, including a
       reviewing court, knows if the actual record supports the claim.



29 Id. (citing Artisan, 978 F. Supp. 2d at 1349).
3° Id. (citing NTN Bearing, 74 F.3d. at 1207).
31 Id. at 19-20 (citing NTN Bearing, 74 F.3d. at 1207).
32 Id. at 22 (citing TKS/TKT's Letter, "Silicon Metal from Kazakhstan," dated October 5, 2020; and TKS/TKT's
Letter, "Silicon Metal from Kazakhstan," dated October 13, 2020).



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         •   Commerce is "not free to prescribe what inferences from the evidence it will accept and
             reject, but must draw all those inferences that the evidence fairly demands,"33 i.e., the
             entire actual record. Courts reject AD/CVD agency analysis where the agency "did not
             fully analyze the issue ... {t}he absence of information necessary for a thorough
             analysis" renders a determination unsupported by substantial evidence.34
         •   Deficiencies in an initial questionnaire response are not a standalone reason to reject it as
             untimely, as section 782(d) of the Act mandates an opportunity to remedy deficiencies.
             Commerce remedies deficient questionnaire responses by requesting the missing part.
         •   After fully completing its filing, TKS/TKT cannot just unilaterally submit more
             information. Commerce should issue a supplemental questionnaire as to TKS/TKT's
             questionnaire response if there is concern that it was deficient.
         •   Finally, when evaluating TKS/TKT's arguments, there are a number of mitigating factors
             that Commerce should consider, including:
                 • TKS/TKT timely filed the first two affiliation questionnaire responses, without
                     requesting any extension;
                 • COVID-19 hindered TKS/TKT's efforts, as needed staff could not be in the office
                     or were on furlough including at its counsel's firm;
                 • TKS/TKT individuals answering Commerce's questionnaire are new to the U.S.
                     CVD process;
                 • TKS/TKT timely offered ways to Commerce to simplify the questionnaire
                     response process to make it manageable. The petitioners and Commerce rejected
                     all proposals and offered no alternative;
                 • The petitioners' conflict of interest claims (see Comments 4 and 5) handicapped
                     TKS/TKT's questionnaire response efforts and consumed the limited time
                     available to meet the questionnaire deadline. TKS/TKT was also awaiting a
                     response from Commerce with respect to those claims, which did not come before
                     the questionnaire response deadline;
                 • TKS/TKT's counsel did not receive the final questionnaire response until 10:58
                     a.m. on the September 15 due date. It was not possible for TKS/TKT to provide
                     the information sooner. However, on receipt, TKS/TKT's counsel initially felt
                     that it was still possible to meet the 5:00 p.m. deadline without burdening
                     Commerce with an extension request;
                 • Since Commerce had not responded to TKS/TKT's timely one-day extension
                     request, counsel worked through much of the night to resolve technical document
                     issues, and rushed to file the response by 10:11 a.in. the next morning; and
                 • TKS/TKT was unfamiliar with Commerce's rules, did not know if it even had
                     counsel, and was searching for answers on its own.




33 Id. at 23 (citing Pohang Iron & Steel Co. v. United States, No. 98-04-00906, 1999 WL 970743 at 11 (CIT 1999)
(quoting Allentown Mack Sales & Serv. v. NLRB, 522 U.S. 359, 378 (CIT 1998))).
34 Id. (citing USX Corp. v. United States, 655 F. Supp. 487, 492 & 498 (CIT 1987)).




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GOK's Comnzents:35
  • Commerce did not provide TKS/TKT with a chance to submit information.
  • The provision of a response after a deadline should not be deemed to hold back the
      progress of the investigation.
  • In Nippon Steel 2001, the CIT held that a 10-day delay in Nippon Steel's response to the
     questionnaire, even after a preliminary determination, "was not so big to impede the
     progress of the investigation."36
  • Commerce cannot impose "draconian measures," such as the rejection of a questionnaire
     response, for relatively minor violations that do not affect Commerce's ability to fulfill its
     statutory mandate to accurately calculate a subsidy rate.'

Petitioners' Rebuttal:38
   • TKS /TKT's questionnaire response was untimely because it was not received
       successfully by Commerce by the deadline on September 15, 2020, or by 8:30 a.m. on
       September 16, 2020. Therefore, Commerce properly rejected TKS/TKT's initial subsidy
       questionnaire response as untimely.
   • Commerce's regulations at 19 CFR 351.303(b)(1) require that "{a}n electronically filed
       document must be received successfully in its entirety by the Department's electronic
       records system, ACCESS, by 5 p.m. Eastern Time {(ET)} on the due date." and its
       regulations at 19 CFR 351.301(c)(1) states that Commerce "will reject any untimely
       filed... questionnaire responses."
   • Consistent with the regulations, Commerce's Initial Questionnaire explicitly required that
       "{a}n electronically filed document must be received successfully in its entirety by
       ACCESS by 5:00 p.m. ET on the due date, unless an earlier time is specified."39 The
       questionnaire also set out the consequences of failing to submit the questionnaires
       response as instructed.40
   • TKS/TKT received two extensions, totaling 15 additional days, to submit its initial
       questionnaire response.A1 Despite receiving significant additional time to prepare and
       submit its questionnaire response, TKS/TKT still failed to timely file this response.
       Instead, TKS/TKT filed a third extension request at 3:50 p.m., approximately one hour
       before the 5 p.m. deadline, to which Commerce was unable to respond before the
       deadline passed.42
   • Commerce has explicitly addressed last-minute extension request scenarios in the Final
       Rule, which was adopted after Commerce "frequently encountered the situation in which

35 See GOK's Case Brief at 4.
36 Id. (citing Nippon Steel 2001, Slip Op. 01-52 at 13).
37 Id. (citing Artisan and Groben).
38 See Petitioners' Rebuttal Brief at 5-19.
39 Id. at 6 (citing Commerce's Letter, "Investigation of Silicon Metal from the Republic of Kazakhstan:
Countervailing Duty Questionnaire," dated July 23, 2020 (Initial Questionnaire)).
401d.

41 Id. at 7 (citing Memorandum, "Silicon Metal from the Republic of Kazakhstan: Extension of Time to Submit
Section III Questionnaire Response," dated August 27, 2020 (First TKS/TKT Extension); and Memorandum,
"Silicon Metal from the Republic of Kazakhstan: Extension of Time to Submit Initial Section III Questionnaire
Response and KazSilicon Questionnaire Response," dated September 9, 2020 (Second TKS/TKT Extension)).
42 Id. (citing TKS/TKT's Letter, "Silicon Metal from
                                                     Kazakhstan," dated September 15, 2020 (Third TKS/TKT
Extension Request)).



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              a party filed an extension request so close to the time limit that {Commerce} did not have
              the opportunity to respond to the request before the time limit expires."43 According to
              the Final Rule, "{f} or submissions that are due at 5:00 p.m., if {Commerce} is not able to
              notify the party requesting the extension of the disposition of the request by 5:00 p.m.,
              then the submission would be due by the opening of business (8:30 a.m.) on the next
             work day.7;44
         •   The CIT has rejected TKS/TKT's argument that the record lacks proof that the
             questionnaire response was missing any information. In Bebitz (AD), the CIT held that
             "{m}erely acknowledging the procedural history of Commerce's investigation" by
             referencing the rejection of untimely and incomplete submissions "does not equate to an
             unfair use of information to which {the respondent} was unable to respond.s45 Rather,
             Commerce's own regulation "requires {that Commerce} exclude untimely material from
             consideration in its investigation.""
     •       Even if Commerce had retained TKS/TKT's initial questionnaire response for the sole
             purpose of showing that information was missing, there would be no basis for Commerce
             to consider the response on the merits.
     •       That TKS/TKT's questionnaire response was missing information is not in dispute, as
             TKS/TKT admits to "inadvertently double attaching a BPI TKS exhibit document instead
             of a TKT BPI exhibit document."47 Thus, TKS/TKT never filed the BPI portion of its
             initial response that would have contained TKT's financial reports, tax reports, and
             registrations. In any event, TKS/TKT's claim that only five percent of the pages of
             TKT's subsidy questionnaire response were missingA8 is inapposite, as each submission
             must be filed in its entirety pursuant to 19 CFR 351.303(b)(1).
     •       The missing confidential data from TKS/TKT's financial and tax reports would have
             included information that is critical to Commerce's subsidy analysis, such as information
             regarding potential benefits from subsidies, sales data, and information necessary for
             verification and reconciliation of other information on the record. Further, without
             having the missing BPI documents available for review, it is impossible for Commerce to
             confirm TKS/TKT's claim that the missing information was covered by other submitted
             information and the public versions.
     •       Even assuming that TKS/TKT's initial failure to provide the exhibit was inadvertent,
             TKS/TKT's persistent refusal to file the exhibit after realizing its error has been
             deliberate. Commerce should reject TKS/TKT's contention that it could not submit the
             missing information without a request from Commerce.
     •       Commerce was not required to provide TKS/TKT with an opportunity to provide the
             missing information under section 782 of the Act after it had already properly rejected the
             untimely filing.
     •       TKS/TKT's last minute extension request does not justify or require acceptance of
             TKS/TKT's untimely filed and incomplete initial questionnaire response.

43 Id. at 8 (citing Final Rule, 78 FR at 57791).
44 Id. (citing Final Rule, 78 FR at 57792).
45 Id. at 9-10 (citing Bebitz Flanges Works Pvt. Ltd. v. United States, 433 F. Supp. 3d 1309, 1328 n.7 (CIT 2020)
(Bebitz (AD)).
46 Id. at 10 (citing Bebitz (AD), 433 F. Supp. 3d at 1328).
47 Id. (citing TKS/TKT's Brief at 21).
48 Id.




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         •As both the Final Rule and the Initial Questionnaire make clear, the predicate for an
          extension is Commerce's actual granting of the extension, not a mere extension request.
          The mere act of filing an extension request before the deadline does not justify or require
         Commerce's acceptance of TKS/TKT's late questionnaire response.
       • Assuming an extension is automatic just by filing a request is contrary to the rule and
         would render Commerce's deadlines and rules meaningless. The Final Rule expressly
         warns that parties "should be aware that the likelihood of {Commerce} granting an
          extension will decrease the closer the extension request is filed to the applicable time
          limit because {Commerce} must have time to consider the extension request and decide
         on its disposition."49 The Final Rule further warns that parties "should not assume that
         they will receive an extension of a time limit if they have not received a response from
         {Commerce}."5° Similarly, the Initial Questionnaire also warns that any extension
         request "will be communicated in writing by Commerce; otherwise the original deadline
         will apply."5 I
       • Despite receiving such advance notice that Commerce would have had to act to grant any
         extension before the deadline expired, TKS/TKT waited until 3:50 p.m., approximately
         one hour before the deadline, to submit its extension request. If TKS/TKT did not
         receive the final part of the questionnaire response until 10:58 a.m. on the deadline date,
         TKS/TKT's counsel knew that it did not have complete information as of that time and
         could have submitted an extension request earlier in the day or on a previous day.
         TKS/TKT's counsel could have also requested an earlier extension due to the
         COVID-19-related issues discussed in its brief. Thus, TKS/TKT's decision not to file an
         extension request until late on the day the response was due must have been either a
         deliberate strategic choice or a significant error in judgment by TKS/TKT or its counsel.
       • As TKS/TKT filed the extension request too late for Commerce to consider it, the
         resulting deadline for the questionnaire response became 8:30 a.m. on the next business
         day, per the Final Rule. Commerce had no obligation to reach a decision on TKS/TKT's
         last-minute extension request after the deadline had passed.
       • TKS/TKT's alleged technical filing issues do not justify its failure to timely file a
         complete questionnaire response. The rejection email TKS/TKT received from ACCESS
         provided links to a step-by-step guide on removing unauthorized links from a submission,
         a simple process that takes mere moments to complete. Neither TKS/TKT nor its counsel
         are new to ACCESS and therefore must have some level of familiarity with the electronic
         filing process.
       • The Initial Questionnaire instructed TKS/TKT to "promptly notify the officials in charge
         and submit a full written explanation of the reasons you are unable to file the document
         electronically."52 Yet there is no indication on the record that TKS/TKT made any effort
         to contact the ACCESS Help Desk, the analyst working on the case, or any member of
         the Commerce team on September 15, 2020, or early in the morning of September 16,
         2020, once the technical issues occurred.
       • Commerce's rejection of TKS/TKT's untimely and incomplete questionnaire response
         was consistent with established precedent. The U.S. Court of Appeals for the Federal

4° Id.   at 12 (citing Final Rule, 78 FR at 57792).
5° Id.
S1   Id. at 13 (citing Initial Questionnaire, Cover Letter at 3).
52   Id. at 15 (citing Initial Questionnaire, Section 1, at 5).



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       Circuit (CAFC) has recognized that "the burden of creating an adequate record lies with
       interested parties and not with Commerce."53 The CIT has similarly recognized "the
       fundamental tenet that respondents must timely prepare an accurate and complete record
       in response to questions plainly asked by Commerce."54 TKS/TKT failed to meet its
       burden by failing to file a timely and complete questionnaire response here.
    • Commerce has broad discretion to set and enforce time limits in its proceedings, as the
      CAFC "has made clear Commerce's rejection of untimely-filed factual information does
       not violate a respondent's due process rights when the respondent had notice of the
      deadline and an opportunity to reply.s55 The CIT has further confirmed that "Commerce
       is not required to provide good cause or justification for rejecting untimely submissions
      and proceeding as if respondent has not provided requested information."56 TKS/TKT
      had notice of the deadline and the consequences for not meeting the deadline, as well as
      an opportunity to comply. Its failure to do so means that Commerce properly rejected
      TKS/TKT's untimely filed questionnaire response and may proceed as if TKS/TKT has
      not provided the requested information.
    • In Bebitz (CVD), the CIT upheld Commerce's rejection of an untimely questionnaire
      response by the same counsel representing TKS/TKT in this proceeding, where an
      additional extension request had been filed shortly before the filing deadline, and where
      counsel began the submission of a supplemental questionnaire response at 10:24 a.m. the
      following morning.57 Significantly, the CIT found that Commerce did not abuse its
      discretion by prioritizing the need for finality over the agency's obligation to determine
      the most accurate CVD margin where, as here, Commerce granted the respondent
      multiple extensions and had advised the respondent of the potential consequences of
      failing to meet the agency's deadlines in the initial questionnaire.58
    • The CIT has already noted that the cases that TKS/TKT and the GOK cite to support their
      argument that Commerce should accept TKS/TKT's untimely and incomplete filing "are
      inapposite."59 The CIT's decision in Nippon Steel 2003 was reversed by the CAFC,"
      while Artisan and Grobest "were issued prior to the Federal Circuit's precedential
      decision in Dongtai Peak."6I
    • In Artisan, the CIT found that Commerce had abused its discretion "in the particular
      circumstances of th{at} investigation" in rejecting a questionnaire response that was filed
      at 9:00 a.m. the morning after the filing deadline was missed "{d}ue to an inadvertent
      lapse" by counsel and where Commerce was ambiguous in communicating its policy on
      time extensions, which sent a "mixed message" to respondents.62 The questionnaire
      response at issue in Artisan was due in April 2012, and the final determination in the
      underlying investigation was made in February 2013. Thus, this case predated the Final

" Id. at 16 (citing Nan Ya Plastics Corp. v. United States, 810 F.3d 1333, 1337-38 (Fed. Cir. 2016)).
54 Id. (citing Bebitz (AD), 433 F. Supp. 3d at 1321).
55 1d. (citing Dongtai Peak Honey Indus. v. United States, 777 F.3d 1343, 1353 (Fed. Cir. 2015) (Dongtai Peak)).
56 Id. (citing Bebitz (AD), 433 F. Supp. 3d at 1327 (quoting Dongtai Peak, 777 F.3d at 1352))).
57 Id. at 17 (citing Bebitz (CVD), 433 F. Supp. 3d at 1302, 1305-07).
58 Id. (citing Bebitz (CVD), 433 F. Supp. 3d at 1305-06).
59 Id. at 18 (citing Bebitz (AD), 433 F. Supp. 3d at 1324 n.6 (addressing the cases cited at TKT Comment at 14-15
n. I I and COK Case brief at 2).
60 Id. (citing Nippon Steel 2003, 337 F. 3d at 1377, 1382-84; and Bebitz (AD), 433 F. Supp. 3d at 1324 n.6).
61 Id. (citing ArcelorMittal USA LLC v. United States, 399 F. Supp. 3d 1271, 1281 (CIT 2019)).
62 kl. (citing Artisan 978 F. Supp. 2d at 1339, 1344-45, 1347-48).




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         Rule, which was released in September 2013 and which clarified Commerce's policy on
         time extensions.
    •    Artisan is further distinguished from the current investigation because TKS/TKT
         disregarded Commerce's clearly communicated policy on deadlines, time extensions, and
         the consequences for failing to file a timely questionnaire response.

Commerce's Position: We disagree with TKS/TKT that Commerce should reconsider its
decision to reject the initial questionnaire response as untimely and remove that response from
the record. As we noted in the Preliminary Determination, Commerce issued the Initial
Questionnaire to the GOK, and in turn to TKS/TKT, on July 23, 2020. The Initial Questionnaire
provided the standard time for respondents to submit the final portion of their response, 37 days,
plus two additional days to account for a weekend.

On August 6, 2020, TKS/TKT filed a timely response to the affiliation portion of the
questionnaire. Subsequently, on August 12, 2020, we informed TKS/TKT that it should provide
full questionnaire responses for two additional companies with which it is affiliated: GRES-2
and KEGOC,G3 with these responses due concurrently with the responses of TKS/TKT. On
August 27, 2020, we extended the deadline for these responses at the request of TKS/TKT until
September 10, 2020.64 As part of a second supplemental questionnaire, on September 1, 2020,
we also requested a full questionnaire response on behalf of KazSilicon, to be filed on September
15, 2020.65 On September 9, 2020, we again extended the deadlines at the request of TKS/TKT,
until September 15, 2020 for all questionnaire responses except the KazSilicon response, for
which we provided a later due date of September 25, 2020.66

Shortly before the deadline of 5:00 p.m. on September 15, 2020, at 3:50 p.m., Commerce
received a third request for an extension from TKS/TKT.67 Due to the proximity of the
extension request to the actual deadline, Commerce was unable to respond to the extension
request by the deadline. If Commerce is unable to notify a party requesting an extension of the
disposition of that request by 5:00 p.m. on the due date, then, in accordance with the Final Rule,
the submission is due by 8:30 a.m. on the next working day.68 In this case, because the extension
request was filed shortly before the deadline, Commerce did not have sufficient time to consider
the request and decide on its disposition. Therefore, the deadline then became 8:30 a.m.,
September 16, 2020. TKS/TKT was apparently aware of this fact, as it began the submission of
its supplemental questionnaire response at 5:31 a.m. September 16, 2020, and continued filing its
submission through 10:10 a.m. that morning.69




63 See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Supplemental Questionnaire," dated August 12, 2020 (First Affiliation Supplemental Questionnaire).
6' See First TKS/TKT Extension.
65 See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Supplemental Questionnaire," dated September 1, 2020 (Second Affiliation Supplemental Questionnaire).
66 See Second TKS/TKT Extension.
G7 See Third TKS/TKT Extension Request.
68 See Final Rule, 78 FR at 57792.
69 See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Rejection and Removal of Submission from the Record," dated October 1, 2020 (First Rejection Letter).



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Because TKS/TKT did not meet the revised deadline of 8:30 a.m. on September 16, 2020,
Commerce rejected the TKS/TKT's response as untimely pursuant to 19 CFR 351.302(d).7° In
our letter to TKS/TKT explaining the reason for the rejection of the response, Commerce stated
that:

         {A}t approximately 3:50 p.m. on September 15, 2020, citing technical
         issues, you requested a one day extension of time to submit your response,
         but that Commerce was unable to respond to this request. Therefore, in
         accordance with the {Final Rule}, where Commerce is unable to notify
         the party requesting an extension of the disposition of that request by 5:00
         p.m., the submission would be due by the opening of business, i.e., 8:30
         a.m., on the next work day.

         Nonetheless, between 5:31 a.m. and 10:10 a.m., on September 16, 2020,
         you filed the business proprietary and public versions of TKT's Section III
         response as multiple separate submissions on ACCESS. These filings fail
         to meet the requirements of 19 CFR 351.303, which stipulate that the
         submission must be filed in its entirety by 5:00 p.m. on the due date
         specified, or applying the rule found in the Extension of Time Limits
         notice, by 8:30 a.m. on the following work day.71 (Emphasis in original).

TKS/TKT argues that it was not possible to provide the responses sooner, and it provides a litany
of reasons why this was so. However, Commerce provided TKS/TKT with multiple extensions
in order to submit its responses in a timely manner, extending the original 39-day deadline by
more than two weeks. Although TKS/TKT explains many of its difficulties as arising from its
own officials' unfamiliarity with the questionnaire process, the difficulties arising from
COVID-19 preventing in-person meetings, and computer/technical issues, the fact remains that
TKS/TKT was represented by experienced counsel, and Commerce had already granted multiple
extensions as a result of these issues.

Further, the Initial Questionnaire explained the consequences of failing to respond to the initial
questionnaire in accordance with the stated deadlines.72 TKS/TKT claims that, despite only
providing its completed response to its counsel at 10:58 a.m., it still considered it possible to file
the response in its entirety before the 5:00 p.m. deadline.73 It is apparent that this was an error in
judgment for which TKS/TKT and its counsel are responsible, as they delayed their request for
an extension of additional time until 3:50 p.m., at which point Commerce had just over an hour
to notice that an extension request had been filed and to affirmatively respond to it. Because
TKS/TKT's counsel did not attempt to contact either the official in charge of the investigation or
the ACCESS help desk before the close of business -- when Commerce employees were
available to assist in the resolution of any technical problems or to discuss the necessity of the

7° Id.; see also Memorandum, "Rejection of Untimely Filed Response," dated October I, 2020.
71 See First Rejection Letter. We reiterated most of these facts in a second letter to TKS/TKT when asked to
reconsider our initial decision. See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from
the Republic of Kazakhstan," dated November 19, 2020 (Second Rejection Letter).
72 See Initial Questionnaire at Cover Letter; see also First TKS/TKT Extension and Second TKS/TKT Extension.
73 See TKS/TKT's Brief at 6; see also TKS/TKT's Letter, "Silicon Metal From Kazakhstan," dated October 2, 2020
(TKS/TKT's Request for Reconsideration), at 2.



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extension request — no one at Commerce was aware that the request had been filed until well
after the deadline for the response had already passed.

TKS/TKT further argues that issues with Commerce's own ACCESS system, as well as the
impossibility of filing a physical copy, made it impossible to resolve technical issues related to
the filing of its response within the time allotted. However, it is apparent from TKS/TKT's own
statements that it failed to make more than the minimum effort to ensure that Commerce had
notice of its ongoing computer/technical issues.74 TKS/TKT merely argues that it ceased filing
its response based on rejection notifications from ACCESS, and that COVID-19 prevented
TKS/TILT, in the alternative, from making a physical filing. However, we note that the Initial
Questionnaire instructs recipients to contact Commerce officials at least 72 hours prior to
attempting a file a response without using ACCESS,75 and to "promptly notify the officials in
charge and submit a full written explanation of the reasons {the recipient is} unable to file the
document electronically.s76 TKS/TKT does not even claim to have promptly notified any
Commerce officials of its difficulties regarding filing, instead waiting until just over one hour
before the deadline to submit its last-minute extension request.77

TKS/TKT has further argued that accepting its untimely questionnaire response would not hinder
the investigation. In TICS/TKT's view, the timing of its questionnaire response, combined with
the postponed preliminary determination, provided more than enough time for Commerce to
continue to conduct its investigation. We are not persuaded by this argument. Commerce
establishes deadlines so that it can conduct this (and its numerous other trade remedy
proceedings) in an efficient manner within its statutory and regulatory deadlines. Therefore, it is
critical that parties file documents by the established deadline, or timely request an extension of
such a deadline such that Commerce can provide a considered response. Timely filings and
timely extension requests contribute to Commerce's efficient administration of the numerous
cases before it and the AD/CVD laws. Conversely, untimely filings and last-minute extension
requests hinder the efficient conduct of our proceedings, and require that Commerce devote
additional time and resources to addressing such untimely filings and last-minute requests.
Additionally, although the burden associated with a single late-filed questionnaire response may
be perceived as minimal, that burden is not minimal when aggregated across all proceedings.
Accordingly, for the efficient conduct of its proceedings, it is critical that parties adhere to the
deadlines established by Commerce.

The Final Rule addresses the situation where a party filed a timely extension request prior to
5:00 p.m. on the day the submission is due and Commerce did not respond to the extension
request by 5:00 p.m. on the day the submission is due:

        Parties should be aware that the likelihood of the Department granting an
        extension will decrease the closer the extension request is filed to the
        applicable time limit because the Department must have time to consider
        the extension request and decide on its disposition. Parties should not

74 See TKS/TKT's Brief at 10; see also TKS/TKT's Request for Reconsideration at 2.
' See Initial Questionnaire, Cover Letter at 2.
76 Id., Section I at 5.
77 See Third TKS/TKT Extension Request.




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         assume that they will receive an extension of a time limit if they have not
         received a response from the Department. For submissions that are due at
         5:00 p.m., if the Department is not able to notify the party requesting the
         extension of the disposition of the request by 5:00 p.m., then the
         submission would be due by the opening of business (8:30 a.m.) on the
         next work day. See 19 CFR 351.103(b).78

The purpose of this excerpt is to ensure that Commerce's inability to respond to an extension
request filed in close proximity to a submission deadline cannot be interpreted as Commerce
implicitly granting an extension. Under this rule, the submission must be made prior to opening
of business the following day. Commerce does not automatically grant extension requests
precisely because it must evaluate whether, among other things, granting such a request will
hinder Commerce's ability to administer the cases before it. The language emphasizes, rather
than diminishes, Commerce's reluctance to allow parties to self-grant extensions, while also
putting parties on notice that the likelihood of an extension being granted decreases the closer
such a request is made to the deadline. The language emphasizes the need for extension requests
to be submitted before the last minute. Therefore, we are not persuaded that this language should
excuse the untimely filing of a submission for which Commerce received a last-minute extension
request which we did not have time to evaluate. Moreover, we do not agree with TKS/TKT's
characterization of the Final Rule as a pre-COVID- I 9 relic. To the extent that Commerce
chooses to modify its rules and procedures to accommodate the pandemic, it is capable of doing
so.79 We have not attempted to do so with the Final Rule, nor have we in any way indicated that
it is no longer in effect. Finally, while TKS/TKT cites to several instances in the past where
Commerce has accepted untimely submissions, the CAFC has confirmed that Commerce is not
bound by its actions in prior proceedings, as each proceeding "is a separate act of Commerce's
authority that allows for different conclusions based on different facts in the record."8°

TKS/TKT argues that several court cases support its contention that Commerce's discretion to
reject untimely filed submissions is limited such that the interests of accurately calculating an
AD/CVD margin must outweigh the need for timely submitted information, or such that a
rejection of a submission would cause substantial hardship to a respondent. However, the CIT
has held that the cases cited by TKS/TKT as precedent for reversing our decision, namely,
Artisan, Grobest, and NTN Bearing are inapposite.8' Instead, the facts of this investigation are
very similar to those in Dongtai Peak, which set new precedent regarding the acceptance of late
submissions. In Dongtai Peak, the CAFC concluded that Commerce properly exercised its
discretion in rejecting the respondent's untimely-filed extension requests and untimely-filed
supplemental questionnaire response despite the respondent's claim that it encountered
debilitating computer system malfunctions and difficulties in overseas communication between
the rurally-located respondent and its U.S.-based counsel.82 The CAFC also concluded that
Commerce reasonably determined that the respondent was capable of at least submitting an
extension request on time, but simply failed to do so and, therefore, found that good cause did

78 See Final Rule, 78 FR at 57792.
7° See, e.g., Temporary Rule Modifj,ing AD/CVD Service Requirements Due to COVID-19; Extension of Effective
Period, 85 FR 41363 (July 10, 2020).
R0 See Qingdao SeaLine Trading Co., Ltd. v. United States, 766 F.3d 1378, 1387 (Fed. Cir. 2014).
81 See Bebitz (AD), 433 F. Supp. 3d at fn 6.
az See Dongtai Peak, 777 F.3d at 1350.



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not exist to extend the deadline retroactively.83 As in Dongtai Peak, TKS/TKT's extension
requests indicate that TICS/TKT was aware of its communication difficulties, the inexperience of
its personnel in responding to such questionnaires, and issues related to COVID-19; however,
these factors did not prevent TKS/TKT from filing previous additional extension requests early
enough for Commerce to respond. Nonetheless, on the final due date for the questionnaire
response, TKS/TKT failed to submit a similarly-early additional extension request, concluding
on its own that just over six hours was enough time for its counsel to receive and submit the
documents via ACCESS. In this regard, TICS/TKT and its counsel gambled unwisely, as their
responses contained numerous "Unauthorized Comment Type(s)" that prevented their
acceptance in the ACCESS system,84 despite the presence of experienced counsel.

As in Dongtai Peak, the untimely-filed response contained vital information.85 The Initial
Questionnaire requests crucial information regarding the use of subsidy programs under
investigation, the financial status of the companies under investigation, and information related
to sales by the companies that is used in the calculation of subsidy rates.86 As the CAFC noted in
Dongtai Peak with respect to the need for fairness and accuracy, Commerce's rejection of an
untimely-filed questionnaire response does not violate any due process rights of a respondent
such as TKS/TKT, because the respondent had notice of the deadline and the opportunity to
respond to the Initial Questionnaire in a timely manner, or file an earlier request for an
extension.87 The Initial Questionnaire emphasized the importance of submitting the response in
a timely manner, and highlighted that the consequences for failing to do so might result in the
application of AFA.88 As such, TICS/TKT was afforded notice regarding the consequences of its
decisions.

Since Dongtai Peak, more recent decisions by the CIT support Commerce's findings in this
investigation regarding our decision to reject TKS/TKT's untimely-filed questionnaire response
and to apply AFA in establishing the final CVD rate. For instance, the facts in Bebitz (CVD)
parallel those in this investigation nearly exactly: a respondent in the CVD investigation of
Stainless Steel Flangesfrom India was required to provide a questionnaire response to
Commerce.89 After receiving two extensions, and having one extension request rejected, the
respondent, Bebitz Flanges Works Private Limited (Bebitz), requested an additional and final
extension to submit its questionnaire response, just 20 minutes before the deadline for
submission.9° As in this investigation, Commerce was unable to respond to the final extension
request due to it not having sufficient time to consider the request prior to the deadline. Bebitz
ultimately filed its questionnaire response the next day, beginning at 10:24 a.m.91 Notably,
Bebitz was represented by the same counsel as TKS/TKT in this proceeding.

331d., 777 F.3d at 1352.
" See TKS/TKT's Letter, "Silicon Metal From Kazakhstan," dated September 17, 2020, at 4-5 (TKS/TKT's
Technical Issues Letter).
85 See Dongtai Peak, 777 F.3d at 1352.
86 See Initial Questionnaire, Section III.
87 See Dongtai Peak, 777 F.3d at 1352.
38 See Initial Questionnaire, Cover Letter.
89 See Bebitz (CVD), 433 F. Supp. 3d at 1300.
9° Id., 433 F. Supp. 3d at 1302.
91 See Stainless Steel Flanges From India: Final Affirmative Countervailing Duty Determination and Final
Affirmative Determination of Critical Circumstances, 83 FR 40748 (August 16, 2018), and accompanying IDM at
13.



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The CIT noted that Commerce, in its rejection letter to Bebitz, explained that, because it was
unable to respond to Bebitz's final extension request, that the response was thereby due no later
than 8:30 a.m. the following business day, a deadline which Bebitz failed to meet.92 Following
an affirmative determination based on AFA, the CIT addressed Bebitz's arguments that
Commerce should have accepted the untimely questionnaire response and calculated a subsidy
rate using the information therein, as Bebitz argued that "Commerce should have accepted its
submission because the need for an accurate CVD rate outweighs the need to strictly adhere to
the statutory deadlines for the investigation."93 The CIT agreed with Commerce that it had
provided sufficient time to provide a timely response given the multiple extensions already
provided to the respondent, and that it had advised Bebitz of the potential consequences of
failing to meet Commerce's deadlines as part of its initial questionnaire.94 The CIT cited
Bebitz's failure to comply with Commerce's instructions, which resulted in Commerce's
rejection of the untimely submission, while also criticizing Bebitz's claim that Commerce was
required to accept its untimely filing on the basis that there was sufficient time for Commerce to
consider the information therein before the preliminary determination.95 The CIT stated
specifically that "{i}t is not for Bebitz `to establish Commerce's deadlines or dictate to
Commerce whether and when Commerce actually needs the requested information."'96 The CIT
found that Bebitz failed "to establish that Commerce abused its discretion or otherwise acted
unlawfully in denying Bebitz's request for additional extensions," particularly where Commerce
had already provided multiple extensions, while also noting that Commerce has substantial
discretion pursuant to 19 CFR 351.302(b) to grant or deny an extension request.97

As in Bebitz (CVD), in this investigation Commerce provided multiple extensions to TKS/TKT,
and explained in the Initial Questionnaire the potential consequences of not meeting the
deadlines established therein. Given the opportunities and warnings provided to TKS/TKT,
Commerce did not abuse its discretion or otherwise act unlawfully in rejecting TKS/TKT's
untimely-filed questionnaire response. Moreover, the CIT did not view the 8:30 a.m. deadline
established in the Final Rule as a "mere discussion,"98 as TKS/TKT described it, instead
considering the 8:30 a.m. deadline as described in the Final Rule as part of the legal framework
in which extension requests exist.99 As such, we continue to decline to revisit our decision to
reject TKS/TKT's untimely questionnaire response.

Regarding TKS/TKT's argument that Commerce may not rely on the incompleteness of its
response when deciding this issue, we find that this argument is moot. As we explained in detail
above, Commerce is continuing to base its determination to reject TKS/TKT's initial
questionnaire response as untimely based on the lateness of the submission, rather than the
content of the BPI version of the response. As noted in the First Rejection Letter, we rejected
TKS/TKT's initial questionnaire response because "the initial questionnaire was not filed in its

92 See Bebitz (CVD), 433 F. Supp. at 1302.
93 1d., 433 F. Supp. at 1304.
94 Id.
95 Id., 433 F. Supp. at 1305.
96 Id. (citing Dongtai Peak, 777 F.3d at 1352).
97 Id., 433 F. Supp. at 1305-06.
95 See TKS/TKT's Brief at 2.
99 See Bebitz (CVD), 433 F. Supp. 3d at 1304.




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entirety by the time and date specified, or in accordance with the exception outlined in the {Final
Rule}."1°° The First Rejection Letter makes clear that the absence of portions of the BPI
submission only supplemented the fact that the submission was not filed in its entirety prior to
either the stated 5:00 p.m. deadline or the 8:30 a.m. deadline provided for in the Final Rule. We
noted in that letter that TKS/TKT's BPI submission was missing the business proprietary
versions of Exhibits III-A-1 through III-A-8, and the beginning portion of Exhibit III-A-9, while
the public versions of these particular files themselves were also untimely , again demonstrating
that the questionnaire response was not filed "in its entirety" by the deadline, in accordance with
19 CFR 35I.303(b)(1).101 To be clear, our highlighting of TKS/TKT's deficient response had as
much to do with the untimeliness of the accompanying public version than any documents
missing from the BPI version of the submission. Moreover, in the Preliminary Determination,
we did not rely on TKS/TKT's failure to provide a full version of the submission as a reason for
its rejection; in fact, we did not reference it at all. We stated only that "TKS/TKT's failure to
provide the requested information in a timely manner means that necessary information is not
available on the record, and TKS/TKT has significantly impeded this proceeding."102 As a
consequence, TKS/TKT's claim is misplaced, as is its argument that Commerce could have
requested that TKS/TKT submit the missing information as part of a deficiency questionnaire.

Finally, we disagree with TKS/TKT's characterization that Commerce has not decided the merits
of TKS/TKT's extension request. Commerce's rejection of TKS/TKT's response from the
record and the explanatory letters issued to TKS/TKT explaining this action represent a clear and
direct response to TKS/TKT's September 15, 2020, extension request. 103

Comment 2: Whether the APA Supports Accepting the Company Respondents'
           Questionnaire Response

TKS/TKT's Comments:10`1
  • The APA supports accepting TKS/TKT's questionnaire response. Because Commerce
     did not adopt the Final Rule as a regulation, the 8:30 a.m. deadline is not found in
     Commerce's regulations.
  • Commerce's regulations at 19 CFR 351.302(b) cover extension requests filed after the
     deadline, which is not applicable to TKS/TKT's request, which was filed before the
     deadline. Commerce's regulations at 19 CFR 351.301(a) allow extensions of any
     deadline at any time and for any amount of time warranted.
  • In Glycine & More, the CAFC found that Commerce's 2011 Notice105 regarding
     deadlines for withdrawing a request for an administrative review "represented an
     incompatible departure from the clear meaning of the {actual wording of the}
     regulation."106 Commerce cannot rewrite its own regulations via a Federal Register

1°° See First Rejection Letter at 1-2.
10' Id. at 1.
102 See Preliminary Determination PDM at 6.
103 See First Rejection Letter and Second Rejection Letter.
1°4 See TKS/TKT's Brief at 15-17.
105 See Antidumping or Countervailing Duty Order, Finding, or Suspended Investigation; Opportunity To Request
Administrative Review, 76 FR 45773 (August 1, 2011) (2011 Notice).
1°6 See TKS/TKT's Brief at 15 (citing Glycine & More, Inc. v. United States, 880 F.3d 1335, 1345 (Fed. Cir. 2018)
(Glycine & More)).


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      notice. Allowing Commerce to do so "would be to permit the agency, under the guise of
      interpreting a regulation, to create defacto a new regulation."107
    • If Commerce wishes to rewrite or amend a regulation, "such a regulation intended to
      have the force of law must be adopted with notice-and-comment rulemaking, which was
      absent here."108
    • The CAFC affirmed in Glycine & More that, as the 2011 Notice was intended to
      effectively rewrite the substantive meaning of the actual wording of the regulation
      without going through the necessary notice-and-comment rulemaking, it had no legal
      standing, and provided no basis upon which Commerce could make a decision. Further,
      the CAFC held that the only legally applicable standard with respect to deadlines for
      withdrawing a request for an administrative review was the one set out in 19 CFR
      351.213(d)(1).
    • In this investigation, Commerce's refusal to except TKS/TKT's questionnaire response is
      contrary to Commerce's actual regulations and the APA when it treats the Final Rule as a
      regulation.
    • Further, the courts have found unlawful attempts by Commerce to apply undefined
      tests.109 The Final Rule does not specifically state the time when it applies, in contrast to
      Commerce's other explicit time deadlines.

Petitioners' Rebuttal: 110
   • Although the grace period defined in the Final Rule is not codified in Commerce's
       regulations, the Final Rule was issued pursuant to the notice-and-comment rulemaking
       procedure required under the APA.
   • TKS/TKT appears to confuse the Final Rule with the unrelated 2011 Notice at issue in
       Glycine & More and Diamond Sawblades.111
   • TKS/TKT failed to file its initial subsidy questionnaire response "in its entirety" by 8:30
       a.m. on September 16, 2020, the next work day. Instead, TKS/TKT filed two parts of the
       BPI version of its response, and, with the exception of the narrative, all sections of the
       public version, after 8:30 a.m. on September 16, 2020.
   • In its letter to TKS/TKT, Commerce noted that TKS/TKT did not complete the filing
       process "until 10:10 a.m., well after the grace period provided for in the {Final Rule} 12

Commerce's Position: We disagree with TKS/TKT that Commerce's Final Rule is not
compliant with the APA. TKS/TKT relies on the CAFC's decision in Glycine & More for its
assertion that Commerce cannot alter the meaning of its regulations without a proper notice-and-
comment opportunity. In Glycine & More, the CAFC addressed the viability of the 2011 Notice,
which promulgated a rule that conflicted with the plain meaning of the regulation. The CAFC
noted that the 2011 Notice "represented an incompatible departure from the clear meaning of the
regulation" and that the 2011 Notice "was not simply an interpretive statement regarding the

107 1d. at 16 (citing Christensen v. Harris Cry., 529 US 576, 588 (2000) (Christensen)).
108 Id. (citing Christensen, 529 US at 587-88).
109 1d. at 17 (citing National Steel Corp. v. United States, 913 F. Supp. 593, 595 (CIT 1996)).
 1° See Petitioners' Rebuttal Brief at 8-9.
III Id. at 8 (citing Diamond Sawblades Manufacturers' Coalition v. United States, 301 F. Supp. 3d 1326, 1357 (CIT
2018) (Diamond Sawblades)).
12 Id. at 9 (citing Second Rejection Letter).




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ambiguity in the regulation or a general statement of policy."113 Notably, however, the CAFC
stated "{i} f Commerce wished to rewrite or amend the regulation, such a regulation intended to
have the force of law must be adopted with notice-and-comment rulemaking, which was absent
here."'"

The CAFC's holding in Glycine & More is not applicable to the Final Rule. The Final Rule was
the publication of Commerce's revision of its rule regarding requests for the extension of specific
time limits applicable to submissions in AD/CVD proceedings, 19 CFR 351.302(c). Importantly,
the Final Rule was subject to the notice-and-comment requirements of the APA. Specifically,
Commerce published a Federal Register notice discussing its proposed rule change and
requested comments from parties.115 Thus, in the Final Rule itself, Commerce noted that parties
commented on how Commerce will treat untimely extension requests.' 16 As a result, Commerce
clarified its position on the revised regulation, and provided further guidance on how the
regulation would be interpreted regarding extension requests that are submitted so close to the
deadline that Commerce is not able to respond to them, noting that "{p}arties should be aware
that the likelihood of {Commerce} granting an extension will decrease the closer the extension
request is filed to the applicable time limit because {Commerce} must have time to consider the
extension request and decide on its disposition."'" The Final Rule gives further notice to parties
that "if {Commerce} is not able to notify the party requesting the extension of the disposition of
the request by 5:00 p.m., then the submission would be due by the opening of business (8:30
a.m.) on the next work day."118 Because the Final Rule was compliant with the APA, we find
that TKS/TKT's arguments to the contrary are without merit.

Comment 3: Whether Commerce Should Apply FA Rather than AFA in Establishing the
           Countervailing Duty Rate

Following Commerce's decision to reject TKS/TKT's initial questionnaire response as untimely
(see Comments 1 and 2), in the Preliminary Determination Commerce found that the application
of AFA was warranted based on TKS/TKT's failure to provide the requested information within
its control in a timely manner and because TKS/TKT had significantly impeded this proceeding.

TKS/TKT's Comments:119
  • Adverse inferences are only permitted where there is substantial evidence that the
     respondent did not act to the best of its ability to answer. In Nippon Steel 2003, the
     CAFC stated that "an adverse inference may not be drawn merely from a failure to
     respond... only under circumstances in which it is reasonable for {Commerce} to expect
     that more forthcoming responses should have been made; i.e., under circumstances in
     which it is reasonable to conclude that less than full cooperation has been shown."120


113 See Glycine & More, 880 F.3d at 1345.
" 4 1d.
"5 See Modification ofRegulationRegardingtheExtensionofTimeLimits,78 FR 3367 (January 16, 2013).
116 SeeFinalRule,58FRat57792.
117 Id.
" 8 Id.
19 See TKS/TKT's Brief at 28.
120 Id. (citing Nippon Steel 2003, 373 F.3d at 1381).



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    •    Even if Commerce rejects a submission as untimely, the courts and Act state that "more
         is required... before an adverse inference may be drawn."' Commerce has not met this
         standard. and, thus, it should base TKS/TKT's final subsidy rate on FA.
    •    TKS/TKT acted to the best of its ability under the circumstances, fully responding to
         Commerce's questionnaire and requesting a one-day extension to file that submission
         with Commerce. Commerce unlawfully never decided the extension request.
    •    TKS/TKT based its extension request on how much more time it required at that point
         and why, and it premised the request on the need to address technical document issues to
         make the filing.

Petitioners' Rebuttal:122
   • Commerce properly determined that application of total AFA is warranted under section
       776 of the Act because "TKS/TKT failed to cooperate by not acting to the best of its
       ability to comply with a request for information."'23
   • TKS/TKT prevented itself from complying with the deadline when it decided to wait
       until shortly before the deadline to submit its extension request, even though TKS/TKT's
       counsel did not receive the final part of the questionnaire response until 10:58 a.m. on the
       deadline due date.
   • Because TKS/TKT was aware of the deadline for the initial questionnaire response and
       had the opportunity to file an earlier extension request that Commerce could timely
       consider, TKS/TKT's failure to submit an earlier request or to timely file a complete
       response "indicates an inattentiveness or carelessness with regard to its obligations" that
       warrants the application of AFA.124
   • TKS/TKT also failed to cooperate to the best of its ability by not submitting the
       information that was missing from its response once it realized its allegedly inadvertent
       error.

Commerce's Position: Under section 776(a) of the Act, Commerce shall apply "facts otherwise
available" if: (1) necessary information is not on the record; or (2) an interested party or any
other person (A) withholds information that has been requested, (B) fails to provide information
within the deadlines established, or in the form and manner requested by the Department, subject
to subsections (c)(1) and (e) of section 782 of the Act, (C) significantly impedes a proceeding, or
(D) provides information that cannot be verified as provided by section 782(i) of the Act.
Further, section 776(b) of the Act provides that Commerce may use an adverse inference in
applying the facts otherwise available when a party fails to cooperate by not acting to the best of
its ability to comply with a request for information. In selecting a rate for AFA, Commerce
selects a rate that is sufficiently adverse "as to effectuate the purpose of the facts available rule to



171 Id. (citing Nippon Steel Corp. v. United States, 118 F. Supp. 2d, 1366, 1377 (CIT 2000) (Nippon Steel 2000);
Nippon Steel 2001, Slip Op 01-52 at 10-15; Acciai Specie& Terni, S.p.A v. United States, 120 F. Supp. 2d 1101,
1104 (CIT 2000); F. Lli De Cecco Di Filippo Fara San Martino S.p.A. v. United States, 980 F. Supp. 485 (CIT
1997)).
122 See Petitioners' Rebuttal Brief at 19-20.
123 Id. at 19 (citing Preliminary Determination PDM at 6).
124 Id. at 19-20 (citing Dongtai Peak, 777 F.3d at 1356; Bebitz (CVD), 433 F. Supp. 3d at 1308 (affirming
Commerce's application of AFA); Bebitz (AD), 433 F. Supp. 3d at 1327-29 (same)).



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induce respondents to provide Commerce with complete and accurate information in a timely
manner."125

We continue to find that the application of FA is warranted with respect to TKS/TKT, based on
the company's failure to respond to the Initial Questionnaire in a timely manner, such that
information necessary to this investigation is not on the record, and that this action has
significantly impeded this proceeding. Moreover, we also affirm our findings from the
Preliminary Determination that TKS/TKT failed to cooperate by not acting to the best of its
ability to comply with a request for information, and that adverse inferences are, therefore,
warranted under section 776(b) of the Act to determine whether TKS/TKT received a benefit,
and the amount of that benefit, for each program under investigation.126 TKS/TKT was fully
aware of the established deadlines in this case, as evidenced by its multiple extension requests,
and was advised of the potential consequences of failing to provide the information requested in
the Initial Questionnaire in a timely manner, including the potential application of AFA.122

Moreover, TKS/TKT's counsel has practiced before Commerce in multiple proceedings over
many years and was aware of the need to file any extension requests as soon as he suspected
additional time may have been necessary, so as to ensure that Commerce was fully able to
consider such requests. Although TKS/TKT's counsel maintains that he intended to file an
entire response that he had received from his client at 10:58 a.m. that morning before the 5:00
p.m. deadline,128 he did not do so. Instead, counsel belatedly filed an extension request at 3:50
p.m., too late for Commerce to consider the request and respond in writing, and without making
any other effort to alert the Commerce officials conducting this investigation of its filing issues.
Accordingly, we find that TKS/TKT was aware of its responsibilities to meet the established
deadline, but nonetheless failed to submit its documents in a timely manner. As a result,
Commerce, consistent with its practice, determines that TKS/TKT failed to cooperate by not
acting to the best of its ability to comply with a request for information. The fact that TKS/TKT
"put forth some effort is not inconsistent with Commerce's conclusion that {the respondent)
failed to act `to the best of its ability.'"129

Further, we disagree with TKS/TKT's interpretation of Nippon Steel 2000. Selectively quoting
Nippon Steel 2000, TKS/TKT argues that "more is required...before an adverse inference may
be drawn"136 and that an untimely questionnaire submission does not equal a failure to cooperate.
However, in Nippon Steel 2000, the CIT stated:

        At a minimum, Commerce must find that a respondent could comply, or
        would have had the capability of complying if it knowingly did not place
        itself in a condition where it could not comply. Commerce must also find
        either a willful decision not to comply or behavior below the standard for
        a reasonable respondent. Insufficient attention to statutory duties under

125 See Notice of Final Determination of Sales at Less Than Fair Value.• Static Random Access Memory
Semiconductorsfrom Taiwan, 63 FR 8909, 8932 (February 23, 1998).
126 See Preliminetty Determination PDM at 6.
122 See Initial Questionnaire, Cover Letter at 3.
128 See TKS/TKT's Brief at 6; see also TKS/TKT's Request for Reconsideration at 2.
129 See Bebitz (CVD), 433 F. Supp. 3d at 1308 (emphasis in original).
In See TKT's Brief at 28 (citing Nippon Steel 2000, 118 F. Supp. 2d at 1377).



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         the unfair trade laws is sufficient to warrant adverse treatment. It implies
         an unwillingness to comply or reckless disregard of compliance standards.
         Commerce must be in a position to compel meaningful attention to and
         compliance with its requests.131

Here, TKS/TKT could have complied if it had submitted its initial questionnaire response by the
established deadline or made an extension request early enough for Commerce to be able to give
it full consideration. We do not believe that our decision to apply AFA in this case is
inconsistent with the facts discussed in Nippon Steel 2000.

TKS/TKT's failure to submit its questionnaire response by the deadline led to the absence of
record evidence necessary to determine whether TKS/TKT benefited from the subsidies under
investigation, impeded Commerce's ability to investigate the subsidies at issue, and
demonstrated TKS/TKT's failure to cooperate to the best of its ability, which warrants the
application of AFA.

Additionally, in Nippon Steel 2003, which the respondent also cites, the CAFC explained that for
a party to comply with Commerce's request to the best of its ability, it must:

         . . . put forth its maximum effort to provide Commerce with full and complete
         answers to all inquiries in an investigation. While the standard does not
         require perfection and recognizes that mistakes sometimes occur, it does not
         condone inattentiveness, carelessness, or inadequate record keeping.' 32

The CAFC goes further, noting that the focus of section 776(a) "is a respondent'sfailure to
provide information. The reason for the failure is of no moment. The mere failure of a
respondent to furnish requested information — for any reason — requires Commerce to resort to
other sources of information to complete the factual record on which it makes its determination"
(emphasis in original).133 The CAFC continues, "{section 776(b) of the Act} permits Commerce
to `use an inference that is adverse to the interests of {a respondent} in selecting from among the
facts otherwise available,' only if Commerce makes the separate determination that the
respondent `has failed to cooperate by not acting to the best of its ability to comply.' The focus
of subsection (b) is respondent'sfailure to cooperate to the best of its ability...?,I34

We determine that TKS/TKT did not put forth the "maximum effort" required of it. TKS/TKT
retained and was represented by experienced trade counsel throughout the entirety of this
proceeding, and, therefore, had the ability to understand Commerce's requests for information at
the time such requests were issued. In addition, it was TKS/TKT's responsibility to provide
complete and accurate information to Commerce so that we could analyze and determine the
amount of any benefits received under the programs being investigated. The "failure to provide
information" in a timely manner lies with TKS/TKT. As the CAFC held in Maverick Tube, it is
the responsibility of Commerce, and not the responsibility of a respondent, to analyze and

131 See Nippon Steel 2000, 118 F. Supp. 2d at 1379 (citations omitted).
132 See Nippon Steel 2003, 337 F. 3d at 1373 and 1382.
133 /d, 337 F. 3d at 1381.
1" Id.



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determine if a benefit exists, and if it does, to determine the amount of benefit received.'35
Moreover, given TKS/TKT's retention of experience counsel, TKS/TKT's inability to comply
with the instructions in the Initial Questionnaire to contact Commerce officials in case of
difficulty filing a submission, to file an extension request early enough to consider it, or to file a
complete response by 8:30 a.m. the following business day in accordance with the Final Rule is
inexplicable, and evidence of the respondent's failure to act to the best of its ability.

Finally, it is well established that applying adverse inferences is not intended as a punitive
measure, but rather is intended "to encourage future cooperation and ensure that a respondent
does not obtain a more favorable {AD/CVD} rate by failing to cooperate.i136 Therefore, for this
final determination, Commerce continues to find that the application of AFA to TKS/TKT is
warranted in establishing the final subsidy rate, is supported by evidence on the record, and is in
accordance with Commerce's practice under sections 776(a) and (b) of the Act.

Comment 4: Whether the Petitioners' Allegations of a Conflict-of-Interest Warrants the
           Application of FA Rather than AFA

In September 2020, the petitioners requested that the Commerce disqualify and require
immediate withdrawal from this proceeding of TKS/TKT counsel due to a direct and ongoing
conflict of interest because the firm represented the petitioners' parent company in the previous
investigation of silicon metal exports by TKT. Commerce concluded that there was no ongoing
conflict of interest because the two CVD investigations of silicon metal from Kazakhstan are not
substantially related, and because the petitioners did not demonstrate that TKS/TKT could
improperly use any information provided by the petitioners to TKS/TKT's counsel.137

TKS/TKT's Comments:138
  • Commerce was aware of the petitioners' request that TKS/TKT's counsel be disqualified,
     which added confusion to the investigation at a critical time. Commerce did not settle the
     issue until 28 days Iater, after the deadline for TKS/TKT's questionnaire response.
  • The petitioners' claims regarding a conflict of interest diverted significant resources from
     questionnaire preparation and eliminated the safety margin for filing delays caused by
     unanticipated events. Where a petitioner itself interferes in an investigation process,
     Commerce takes corrective action, including not applying AFA to a respondent.'39
  • The CAFC will vacate adverse margins determined by Commerce when Commerce does
     not consider "how the procedural irregularities" and "mitigating circumstances" in a
     proceeding affected respondent's "level of culpability" so that an AD/CVD margin is
     "not unduly punitive."'40 For example, in BMW, the CAFC faulted Commerce for failing

135 See Maverick    Tube Corp. v. United States, 857 F.3d 1353, 1360-61 (Fed. Cir. 2017) (Maverick Tube); see also
Certain Carbon and Alloy Steel Cut-to-Length Platefrom the Republic of Korea: Final Affirmative Countervailing
Duty Determination and Final Negative Critical Circumstances Determination, 82 FR 16341 (April 4, 2017), and
accompanying 1DM.
136 See Mukand, Ltd. v. United States, 767 F.3d 1300, 1307 (Fed. Cir. 2014).
137 See Memorandum, "Silicon Metal from the Republic of Kazakhstan: Representation of Tau-Ken Temir LLP by
Squire Patton Boggs," dated October 6, 2020 (Disqualification Memorandum).
138 See TKS/TKT's Brief at 29-40.
139 Id. at 30 (citing Stainless Steel Wire Rodfrom Taiwan, 63 FR 40461, 40464 (July 29, 1998)).
i" Id. (citing BMW v. United States, 926 F. 3d 129I, 1302 (Fed. Cir. 2019) (BMW)).



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      to address "unique factual circumstances" surrounding the respondent's failure to submit
      a questionnaire response in determining the appropriateness of the selected AD/CVD
      margin."1
    • It is always within the discretion of an administrative agency to relax or modify its
      procedural rules when the ends of justice require it.142 The petitioners' interference in the
      investigation is a procedural irregularity, providing mitigating circumstances where the
      ends of justice support remedial action.
    • A week prior to the due date for the submission of TKS/TKT's questionnaire response,
      the petitioners claimed that TKS/TKT's counsel and firm had a conflict of interest arising
      from their prior representation of TKS/TKT that precluded them from participating in the
      investigation, and that counsel should be immediately disqualified. This meritless claim
      seriously disrupted the questionnaire response process.
    • The petitioners relied on Makita143 as support for their claim; however, Makita holds that
      Commerce itself does not decide conflict of interests,144 evidencing that the petitioners
      acted in bad faith. Further, although the petitioners first made their conflict claim directly
      to TKS/TKT's counsel, and counsel alerted them to their error, the petitioners continued
      to make the same baseless claims to Commerce. This can only be interpreted as an
      attempt to wrongly interfere in a Commerce investigation, and particularly in the
      questionnaire response process. Indeed, the petitioners failed to indicate any error in
      Commerce's ultimate determination that no conflict of interest was present, indicating
      that their claim was not legitimate.
    • As a result of the petitioners' filing, the claims had to be fully addressed internally by
      TKS/TKT, its cross-owned companies, and the GOK, all of which were unfamiliar with
      the investigation process, and further diverting attention from the questionnaire response.
      The impact of the petitioners' filing was magnified at a time when COVID-19 prevented
      personal meetings to address such claims.
    • Companies are hard-pressed to provide timely responses as it is, and days, hours, or even
      minutes can make a critical difference as to extremely tight deadlines. Commerce's
      rejection of TKS/TKT's response as untimely indicates that even 1.5 hours are
      significant.
    • Prior to Commerce declaring that there was no conflict of interest, TKS/TKT, its
      cross-owned companies, and the GOK were all unclear if TKS/TKT had counsel, or if
      that counsel could be relied upon for advice. If TKS/TKT's counsel in fact had a conflict
      of interest, as the petitioners claimed, then TKS/TKT, its cross-owned companies, and the
      GOK would have needed to immediately seek out and discuss the preparation of their
      responses with other independent counsel.
    • High adverse CVD rates are intended to induce respondent cooperation; here, however,
      imposing high adverse CVD rates encourages a petitioner to interfere in an investigation.



141 Id. (citing BMW, 926 F. 3d at 1302; and Ball Bearings and Parts Thereoffrom Japan and United Kingdom:
Final Results of Antidumping Duty Administrative Reviews; 2010-2011, 80 FR 4248 (January 27, 2015),
accompanying IDM at 9).
142 1d. (citing DuPont Teijin Films v. United States, 931 F. Supp. 2d 1297 (CIT 2013) (citing American Farm Lines
v. Black Ball Freight Service, 397 U.S. 532, 539 (1970))).
142 Id. (citing Makita v. United States, 819 F. Supp. 1099 (CIT 1993) (Makita)).
144 Id. (citing Makita, 819 F. Supp. at 1101-02 and 1106-08).




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          Commerce should not be indifferent to such interference and should quickly act to
          provide a remedy, and especially when it is unclear whether the respondent has counsel.
      •   Commerce has held elsewhere that a petitioner's interference in an investigation supports
          non-adverse margins.

Petitioners' Rebuttal:145
    • The petitioners' conflict of interest claim cannot excuse TKS/TKT's failure to submit a
       complete and timely response to the Initial Questionnaire.
   • The petitioners did not interfere with the investigation by raising an allegedly bad faith
       and frivolous conflict of interest allegation before Commerce. In contrast, the
       petitioners' submissions to Commerce demonstrate the good faith basis for the claim.
   • The petitioners acknowledge Commerce's determination with respect to its request to
       disqualify TKS/TKT's counsel, and do not seek to relitigate it in the final determination.
   • Commerce should reject TKS/TKT's spurious claim, which is a last-ditch attempt by
       TKS/TKT to excuse its untimely and incomplete subsidy questionnaire response by
       reassigning blame for TKS/TKT's counsel's own professional miscalculations and poor
       judgment. The petitioners' claim has no bearing on TKS/TKT's failure to submit a
       complete and timely response to the initial questionnaire.
   • Commerce was not required to grant an extension based on the conflict issue "on its own
       initiative" as TKS/TKT suggests.146 TKS/TKT could, and should, have requested an
       additional extension, submitted early enough to provide Commerce sufficient time to
       consider it, if TKS/TKT was confused about its counsel's role or needed more of a
       "safety margin" to prepare and file the initial questionnaire response. Indeed, Commerce
       properly found that "if petitioners' claims interfered with TKS/TKT's ability to prepare
       and timely submit a response to Commerce's initial questionnaire, TKS/TKT should have
       requested additional time to respond."147
   • TKS/TKT's decision to not submit an earlier extension request in light of the conflict of
       interest issue was either a deliberate strategic choice or an error in judgment by
       TKS/TKT or its counsel, and TKS/TKT must bear the consequences.
   • Rule 11 of the Federal Rules of Civil Procedure "imposes an affirmative duty on
       attorneys to certify that they have conducted a reasonable inquiry and determined that
       any papers filed with the court are well-grounded in fact, legally tenable and not
       interposed for any improper purpose.I48 Rule 11 also requires any party submitting
       written submissions to represent that such filings are not being presented for any
       improper purpose, such as to harass, or delay a proceeding, that the claims made therein
       are not frivolous, and that factual contentions or denials thereof are supported by
       evidence. An analogous duty to comply with Rule 11 exists with respect to submissions
       to Commerce.I49
   • The petitioners' filing easily satisfies the Rule 11 standard, incl►ding providing citations
       to court decisions (i.e., Makita), as well as in-depth legal and factual analysis that directly

145 See Petitioners' Rebuttal Brief at 31-36.
146 Id. at 32 (citing TKS/TKT's Brief at 29).
147 Id. at 32 (citing Second Rejection Letter).
148 Id. at 33 (citing Wire Rope Imps. Ass'n v. United States, 18 C.I.T. 478, 481 (May 26, 1994) (citing Cooler & Gell
v. Hartmarx Corp., 496 US 384, 393 (1990))).
"9 1d. at 33 (citing e.g., PAM, S.P.A. v. United States, 582 F.3d 1336, 1339 (Fed. Cir. 2009)).



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        addressed TKS/TKT's responses. The petitioners did not present the claim for an
        improper purpose, and instead sought to avoid unnecessary delay, harassment, or costs by
        discreetly presenting the matter to TKS/TKT's counsel at the outset of the investigation,
        despite having no ethical obligation to do so. By first addressing its concerns directly to
        TKS/TKT's counsel, the petitioners afforded TKS/TKT's counsel additional time to
        respond to the issue.
      • The petitioners did not file the request for disqualification with Commerce until it
        became clear that TKS/TKT's counsel would not act and only after multiple consultations
        with the D.C. Bar's legal ethics counsel and the District of Columbia Court of Appeals
        Office of Disciplinary Counsel.
      • It was not improper to the petitioners to raise the conflict of interest claim before
        Commerce, as the CIT has expressly recognized Commerce's "plenary authority and
        responsibility to supervise professional conduct," including restricting access to
        documents under an administrative protective order.15° TKS/TKT itself has
        acknowledged Commerce's authority to supervise professional conduct in the context of
        its unsubstantiated and irrelevant antitrust allegations. TKS/TKT cannot claim that
        Commerce should handle matters involving professional conduct and then argue against
        issues involving such conduct from being presented to Commerce.
      • The fact that Commerce determined that no ongoing conflict of interest exists does not
        mean that the conflict of interest claim was frivolous or made in bad faith. An action is
        frivolous where the factual contentions are baseless or when the claim is based on an
        indisputably meritless legal theory.151 The petitioners' conflict of interest claim here is
        not "clearly baseless" or "based on an indisputably meritless legal theory," as the
        petitioners have presented ample legal and evidentiary support for the claim.
      • The CAFC has held that there was no evidence of bad faith litigation or frivolous
        arguments even where the underlying substance of the defense lacked merit.152
        Commerce has never characterized the allegation as "clearly baseless" or "indisputably
        meritless," and instead merely stated that "Commerce does not find that an ongoing
        conflict of interest exits."153
      • Commerce rejected TKS/TKT's repeated allegations of bad faith and "sham" claims,
        having denied TKS/TKT's requests to terminate the investigation on this basis.
        TKS/TKT undermines its own claim in this regard, acknowledging that Commerce took
        nearly a month to review, examine, and assess the issue. A "clearly baseless" or
        "indisputably meritless" claim would not have required the time or expertise TKS/TKT
        describes.

Commerce's Position: As noted above, in September 2020, the petitioners alleged that
TKS/TKT's counsel had a conflict of interest in representing TKS/TKT in this investigation due
to his prior representation of one of the petitioners in an International Trade Commission (ITC)
proceeding involving silicon metal from Kazakhstan. After analyzing this claim, Commerce


ISO Id. at 34-35 (citing Makita, 819 F. Supp. at 1104).
151 Id. at 35 (citing Nance v. Kelly, 912 F.2d 605, 606 (2nd Cir. 1990) (per curium) (quoting Neitzke v. Williams, 490
US 319, 327 (1989) (Neitzke))).
152 Id. at 35-36 (citing DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1339 (Fed. Cir. 2009)).
" 3 Id. at 36 (citing Disqualification Memorandum).


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issued the Disqualification Memorandum, finding that TKS/TKT's counsel was not acting
inappropriately in representing TKS/TKT in this proceeding.

In the Disqualification Memorandum, we drew an analogy to the situation underlying the
decision in GEO Specialty, involving a petitioner's attempt to disqualify its former counsel from
representing a respondent in a subsequent and separate proceeding. fS4 The CIT found in that
case that a lawyer who recurrently handled a type of problem for a former client was not
precluded from later representing another client in a wholly distinct problem of that type, even
though the subsequent representation involves a position adverse to the prior client. ' S$ The CIT
also noted that the petitioner in that case failed to explain how the information learned in the
representation of GEO Specialty might be useful to the two Chinese companies involved in that
proceeding or impact the new shipper review.156 Based on these findings, in the Disqualification
Memorandum, we stated that:

         Commerce does not find that an ongoing conflict of interest exists because the
         two CVD investigations of silicon metal from Kazakhstan are not substantially
         related. Based on the findings in GEO Specialty, the current investigation must
         be treated as a separate matter, irrespective of the fact that it covers the same
         subject matter, as the time periods of the investigations are not contemporaneous,
         the investigations are before different agencies, and because the petitioner has not
         demonstrated that TKT can make any improper use of any information provided
         by the petitioner to Squire Patton Boggs.157

For the reasons stated in the Disqualification Memorandum, and based on the petitioners' desire
not to reopen this issue,158 we continue to find that there is no basis for disqualifying TKS/TKT's
counsel from representing the company in this investigation.

The remaining question before us is whether the petitioners impermissibly interfered with
TKS/TKT's preparation and submission of its initial questionnaire response. We find no
evidence that the petitioners' allegation of a conflict of interest interfered with the respondent's
ability to respond to Commerce's Initial Questionnaire in a timely manner. The record simply
does not support this conclusion. Commerce issued its Initial Questionnaire to TKS/TKT on
July 23, 2020, with a response due 39 days later, on August 31, 2020. Commerce subsequently
extended this deadline twice at the request of TKS/TKT, for a total of 15 additional days to
respond to the initial questionnaire.159 While TKS/TKT maintains that it had only one week to
consider and respond to the petitioners' claims, information on the record clearly indicates that
the petitioners first raised their concerns directly with TKS/TKT's counsel on August 13, 2020,
more than a month before TKS/TKT's response to the Initial Questionnaire was due.160 The

154 See Disqualification Memorandum (citing GEO Specialty Chem., Inc. v. Husisian, 951 F. Stipp. 2d 32, 42
(D.D.C. 2013) (Geo Specialty)).
I" Id.
156 Id. (citing Geo Specialty, 951 F. Supp. 2d 32, 43).
1511d. at 3.
158 See Petitioners' Rebuttal Brief at 31; see also Petitioners' Letter, "Silicon Metal from Kazakhstan: Response to
Tau-Ken Temir LLP's Request to Terminate the Investigation," dated October 16, 2020, at 2.
159 See First TKS/TKT Extension; see also Second TKS/TKT Extension.
16° See Request to Disqualify at Exhibit 1.


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petitioners' submission indicates that both parties were in subsequent communication regarding
this issue,161 and that TKS/TKT's counsel provided a direct response to the petitioners, dated
August 27, 2020,162 which closely parallels its response to the petitioners' submission to
Commerce on this issue on September 17, 2020.163 TKS/TKT clearly had several weeks to
consider this issue prior to the petitioners' raising it before Commerce, as well as to discern the
status of its counsel.

The petitioners requested that Commerce disqualify TKS/TKT's counsel on September 8, 2020,
two days before TKS/TKT's initial questionnaire was due to be submitted. 164 The following day,
on September 9, 2020, TKS/TKT submitted its second request that the due date for the Initial
Questionnaire be extended.165 In its extension request, TKS/TKT cited as the following reasons
for its need for additional time: (1) Commerce's additional information requests regarding
TKS/TKT affiliates; (2) the affiliation supplemental questionnaire response it had filed the •
previous day; (3) the scope of the reporting burden; (4) the unfamiliarity of personnel with the
response process; and (4) difficulties stemming from COVID-19 quarantine requirements.166
Notably, TKS/TKT did not reference any additional burden placed upon it by the petitioners'
submission of the previous day, nor any uncertainty regarding the role of counsel vis-a-vis
TKS/TKT. Nor did TKS/TKT claim that the petitioners' submission had any deleterious effect
on its ability to timely submit its response to the Initial Questionnaire on the revised due date,
September 15, 2020.167 Further, following Commerce's rejection of TKS/TKT's initial
questionnaire response as untimely, TKS/TKT similarly failed to argue that the petitioners
interfered in its response preparation process as part of its October 2, 2020, reconsideration
request.168 In that letter, TKS/TKT merely notes that its counsel only received the complete
questionnaire response at 10:58 a.m. on the date the submission was due.169 Thus, the record
does not support TKS/TKT's contentions.

TKS/TKT is not precluded from now claiming that the petitioners' request for disqualification
hindered its ability to submit a timely questionnaire response. However, the weight of the record
evidence leads us to conclude that this request did not hinder TKS/TKT's submission of its
response in a timely manner. At the time the petitioners' submission, the due date for
TKS/TKT's initial questionnaire response was only two days away. It would be unreasonable to
expect that Commerce could have reached a decision regarding the disqualification of
TKS/TKT's counsel before the due date for the questionnaire response (even after the
subsequent extension of five additional days). As such, we find it difficult to understand why
TKS/TKT or its counsel would divert significant resources from the preparation of the
questionnaire response to respond to the petitioners' disqualification submission, especially since
much of the argument had already been prepared and communicated to the petitioners in


161 Id. at Exhibits 2 and 3.
162 /d. at Exhibit 3.
163 ,SeelICS/TErsTechnicalIssuesLetter.
164 SeeRequesttoDisqualify.
16$ See TKS/TKT's Letter, "Silicon Metal From Kazakhstan," dated September 9, 2020.
166 id.

167 See Third TKS/TKT Extension Request.
168 See TKS/TKT's Request for Reconsideration.
169 Id.




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August.'" Nor is it clear why, in only a one-week period, TKS/TKT and its counsel would be
rendered uncertain as to whether their attorney-client relationship would continue, or why this
would affect the efficacy of their efforts to prepare and submit a timely questionnaire response,
particularly where, as TKS/TKT argues, Makita stands for the proposition that Commerce does
not decide conflict-of-interest matters. In summary, we find that no evidence that the petitioners'
claim overly burdened TKS/TKT, preventing it from submitting its initial questionnaire response
in a timely manner, or otherwise prejudicing its due process in this investigation.

Comment 5: Whether Petitioners' Allegations of a Conflict-of-Interest Create an
           Actionable Violation of Antitrust Laws

TKS/TKT's Continents:171
  • Commerce should not operate in an AD/CVD silo and allow itself to undermine U.S.
     competition law. Under antitrust case law based on the First Amendment to the U.S.
     Constitution, private entities are immune from liability under the antitrust laws for
     attempts to influence enforcement of laws, even if such enforcement would produce
     anticompetitive effects.
  • First Amendment rights supersede U.S. antitrust laws; however the "sham exception" to
     the Noerr-Pennington doctrine holds that the petitioning process via sham claims to
     achieve an anticompetitive result destroys that immunity.172 Here, the petitioners made
     sham claims of a conflict of interest at time-sensitive points in the questionnaire process
     to disrupt it. The resultant 120 percent AFA margin is contrary to U.S. competition laws.
  • In the previous CVD investigation of silicon metal from Kazakhstan, the ITC questioned
     one of the petitioner's anti-competitive practices, insinuating that that petitioner was
     participating in anticompetitive behavior. Further, one of the petitioners, Globe,
     previously unsuccessfully defended against an antitrust violation in conjunction with an
     AD/CVD action that led to the termination of the action.' 73
  • The ITC would be unlikely to accept a margin with clear anticompetitive effect, such as
     the rate applied in the Preliminary Determination, which resulted as a result of the
     petitioners' misconduct.
  • The petitioners would have Commerce enable a violation of antitrust law and act at
     cross-purpose with other parts of the U.S. government, which is especially troublesome
     given the recent surge in U.S. antitrust enforcement in recognition of the pernicious drag
     of anticompetitive practices on the U.S. economy and where the U.S. Administration and
     Congress have recently pushed the Commission in particular in this regard.' 74




17° See Disqualification Letter at Exhibit 3.
171 See TKS/TKT's Brief at 40-42.
172 Id. at 41 (citing California Motor Transport v. Trucking Unlimited, 404 US 508 (1972) (California Motor
Transport)).
173 Id. at 42 (citing Elkem Metals Co., American Alloys, Inc., Applied Industrial Materials Corp. CC Metals & Alloys
and Globe Metallurgical Inc. v. United States, Slip Op. 03-66 (CIT 2003).
174 Id. We note that TKS/TKT cites to several articles not on the record of this investigation in support of this
contention. As these materials themselves are not on the record, we do not address TKS/TKT's argument on this
matter.



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Petitioners' Rebuttal:175
    • Commerce should disregard TKS/TKT's antitrust allegation, which is both
       unsubstantiated and inapplicable here. In conjunction with its tactic to allege a "sham"
       conflict of interest claim, TKS/TKT pursues this wholly irrelevant legal avenue to shift
       blame for its own shortcomings with respect to its submissions in this investigation.
   • TKS/TKT's brief contains new and untimely submitted factual information in
       contravention of 19 CFR 351.301(c), and should be rejected.
   • The First Amendment protects "the right of the people... to petition the Government for a
       redress of grievances." Petitioning the government of the United States is protected from
       antitrust scrutiny under the Noerr-Pennington doctrine, which establishes that antitrust
       and other civil claims may not be based on activity associated with petitioning the
       government.176 Such immunity from antitrust laws also extends to petitioning federal
       agencies such as Commerce.177
   • TKS/TKT wrongly suggests that the limited "sham" exception to Noerr-Pennington
       immunity applies here. The Supreme Court has "carved out only a narrow exception for
       `sham' litigation" to the Noerr-Pennington doctrine.178 "Under the sham exception,
       activity `ostensibly directed toward influencing governmental action' does not qualify for
       Noerr {Pennington) immunity if it `is a mere sham to cover... an attempt to interfere
       directly with the business relationships of a competitor.'"179
   • To qualify as a "sham," a plaintiff must demonstrate that petitioning activity is
       "objectively baseless in the sense that no reasonable litigation could realistically expect
       success on the merits" and that it "conceals an attempt to interfere directly with the
       business relationships of a competitor through the `use {of} the government process — as
       opposed to the outcome of that process — as an anticompetitive weapon. ),,I80 A plaintiff
       "must have brought baseless claims in an attempt to thwart competition (i.e., in bad
       faith)."'
   • TKS/TKT's claim that the petitioners' request to disqualify gives rise to the sham
       exception fundamentally misreads the law. TKS/TKT needs to show that this
       proceeding, i.e., the CVD investigation as a whole, "is a mere sham to cover... an attempt
       to interfere directly with the business relationship of a competitor."132 TKS/TKT has not
       made such a claim, instead focusing on a single procedural filing with the larger
       substantive administrative proceeding, and, as a result, its argument should be rejected
       out of hand.


175 See  Petitioners' Rebuttal Brief at 37-40.
176 Id. at 37-38 (citing E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 US 127 (1961) (Noerr), and
United Mine Workers v. Pennington, 381 US 657 (1965) (Pennington)).
m Id. at 38 (citing California Motor Transport, 404 US at 510-11 (finding that the petition protection afforded
under Noerr generally extends to administrative and judicial proceedings, and to efforts to influence executive and
legislative action)).
178 Id. (citing Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 US 545, 556 (2014) (Octane Fitness)).
179 Id. (citing Prof l Real Estate Investors, Inc. v. Columbia Pictures Indus., 508 US 49, 51 (1993) (Real Estate
Investors) (quoting Noerr, 365 US at 144).
Is° Id. at 38-39 (citing Real Estate Investors, 508 US at 60-61 (1993) (quoting City of Columbia v. Omni Outdoor
Adver., Inc., 499 US 365, 380 (1991)) (emphasis in original)).
181 Id. at 39 (citing Octane Fitness, 572 US at 556).
187 Id. (citing Noerr, 365 US at 144).




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     •   TKS/TKT does not and cannot satisfy the two-prong test for the narrow "sham"
         exception. TKS/TKT fails to establish the triggering mechanism for the test, because the
         conflict of interest claim is not "objectively baseless," and is instead based on well-
         grounded law and fact resulting from a reasonable inquiry conducted by the petitioners.
    •    Even if TKS/TKT satisfied the first factor of the "sham" exception process, it fails to
         meet the second factor, because it cannot demonstrate that the petitioners raised the
         conflict of interest issues for anticompetitive purposes. The petitioners have no
         anticompetitive purpose or intent, but merely wish to petition Commerce in the context of
         a CVD investigation as the Act allows.

Commerce's Position: TKS/TKT's argument that Commerce is enabling the petitioners to
violate antitrust laws by virtue of entertaining the merits of the petitioners' Disqualification
Letter is unsubstantiated.

The Noerr-Pennington doctrine states that the Petition Clause of the First Amendment of the
United States Constitution prohibits imposing liability under the Sherman Act for attempting to
persuade the legislature or the executive to take particular action.183 It protects those who
petition administrative agencies through immunity from liability for their petitioning conduct.I84
The petitioners made an argument that a conflict of interest existed here, but, as discussed in
Comment 4 above, we found that no conflict of interest existed. It was an argument provided to
the agency on the basis of facts and law as the petitioners understood it, and we do not disagree
with the petitioners that, at minimum, those facts and arguments have at least a passing relevance
to this CVD investigation of silicon metal from Kazakhstan. While the legal and economic
standards for antitrust investigations do not normally govern or pertain to Commerce's practices
and procedures in an investigation, under the Noerr-Pennington doctrine we agree that parties
have the right to make good faith arguments based on relevant facts and law.I85

Furthermore, as the petitioners have argued, with respect to the "sham exception," to qualify as a
"sham," a party must demonstrate that petitioning activity is "objectively baseless in the sense
that no reasonable litigation could realistically expect success on the merits" and that it "conceals
an attempt to interfere directly with the business relationships of a competitor through the `use
{of} the government process — as opposed to the outcome of that process — as an anticompetitive
weapon.' 186 When the petitioners alleged that TKS/TKT's counsel had a conflict of interest in
representing TKS/TKT in this investigation due to his prior representation of one of the
petitioners in an ITC proceeding involving silicon metal from Kazakhstan, although Commerce
determined, as noted above, that no conflict existed, that does not mean that the petitioners'
allegation was, in any case, a "sham." Indeed, Commerce prepared and issued an entire
Disqualification Memorandum to address the issue because the concerns raised by petitioners
unquestionably had merit and justified a thorough and comprehensible analysis by the agency.


183 See E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961) (Noerr); see also United
States Workers v. Pennington, 381 U.S. 657 (1965).
184 See California Motor Transport Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972).
185 See, e.g., Certain Softwood Lumber Productsfrom Canada: Final Results of the Countervailing Duty
Administrative Review, 2017-2018, 85 FR 77163 (December 1, 2020), and accompanying IDM at 70.
186 Proil Real Estate Investors, Inc. v. Columbia Pictures Indus, 508 U.S. 49, 60-61 (1993) (citing City of Columbia
v. Omni Outdoor Advert, Inc., 499 U.S. 365, 380 (1991)).



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We, therefore, strongly disagree that such an allegation was "objectively baseless" or that the
petitioners in no way could have expected a different result from Commerce.

In truth, the petitioners' claims in this regard had merit, but for the reasons we have explained
above, it is acceptable for TKS/TKT's counsel to represent his client in this proceeding. That
being said, there is zero merit in TKS/TKT's claim that raising this issue and making it part of
this investigation creates antitrust concerns. Accordingly, we determine that there are no
concerns about antitrust violations as a result of the petitioners' claims in this regard as alleged
by TKS/TKT.

Comment 6: Whether the Petitioners' Alleged Violation of a Confidentiality Agreement
           Warrants the Application of FA Rather than AFA

TKS/TKT's Comments:187
  • Commerce should not enable violations of confidentiality agreements and undermine its
     mandate to promote U.S. business abroad. Commerce has an interest to coordinate
     internally as to its other missions to promote U.S. trade and business abroad and a desire
     that confidentiality agreements be sacrosanct.
  • In the previous CVD investigation of silicon metal from Kazakhstan, TKS/TKT
     documented that one of the petitioners and its counsel impermissibly used BPI obtained
     by the petitioner from TKS/TKT under a non-disclosure joint venture agreement as the
     basis for its prior CVD petition, and the petitioners admitted that they had done so.
  • The petition in this investigation relied on the fruits of the petitioners' prior
     impermissible conduct, citing Commerce's public statements regarding that prior
     investigation subsidy findings, i.e., findings based on AFA, to support the CVD petition
     in this investigation.
  • The petitioners have been silent with regard to this fraud and do not deny it, particularly
     where false certifications would risk criminal liability.
  • The petitioners are attempting to have Commerce sacrifice its principles to allow
     prohibitive trade-stopping CVD rates that have nothing to do with any actual subsidies.

Petitioners' Rebuttal:1"
   • TKS/TKT has provided no support for its allegation that the petitioners relied on BPI
       obtained under a non-disclosure joint venture agreement as the basis for the CVD petition
       in this investigation. Neither of the submissions referenced by TKS/TKT mention this
       issue or even contain an attachment.
   • The petition in this investigation was based entirely on publicly available information,
       citing Commerce's public findings in the prior CVD investigation of silicon metal from
       Kazakhstan, which were based on AFA.
   • In the previous CVD investigation, Commerce applied AFA based on TKS/TKT's failure
       to provide CVD questionnaire responses on behalf of two of its cross-owned companies,
       as well as the GOK's failure to provide information about the electricity for LTAR



187 See   TKS/TKT's Brief at 42-44.
188 See   Petitioners' Rebuttal Brief 40-42.



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         program.189 Commerce made no reference to any violation of a non-disclosure
         agreement in the preliminary or final determination or accompanying decision
         memoranda.
     •   To the extent that TKS/TKT may be attacking Commerce's findings in the previous CVD
         investigation, TKS/TKT's assertion is improper and must fail.
     •   As there is no support for TKS/TKT's allegation of a non-disclosure agreement violation
         on the record of this investigation, and the petition was based entirely on public
         information, there was no basis or need for the petitioners to address that allegation in a
         factual submission, accompanied by company certifications, as TKS/TKT suggests.

Commerce's Position: In its Request to Terminate letter, TKS/TKT requested that Commerce
terminate this investigation based, in part, on claims that one of the petitioners, Globe,
improperly relied on information obtained from TKS as part of a potential joint venture
agreement under a non-disclosure agreement. This information, TKS/TKT alleges, forms a basis
for the petition underlying this investigation, as well as the previous CVD investigation of silicon
metal from Kazakhstan.190 In support of its allegation, TKS/TKT included as an attachment to
its Request to Terminate letter a submission made to Commerce in the previous CVD
investigation, dated June 16, 2017.191 This letter includes allegations that the petition in the
previous CVD investigation, as well as an additional AD/CVD proceeding brought in Canada,
relied on BPI and documents obtained via the potential joint venture between TKS and Globe.192
As part of these allegations, the June 16, 2017, letter to Commerce references several documents
contained in the petition for the previous CVD investigation and the Canadian proceeding related
to Globe's use of information obtained in violation of its confidentiality agreement with TKS.193

As an initial matter, Commerce addressed TKS/TKT's Request to Terminate in a memorandum
dated October 6, 2020, declining to terminate the investigation.394 With respect to TKS/TKT's
allegation that the petition underlying this investigation stems from impermissible conduct by the
petitioners, we continue to find that the information on the record does not support such a
conclusion. TKS/TKT's June 16, 2017, letter, as an attachment to TKS/TKT's Request to
Terminate, makes several references to the petition in the previous CVD investigation of silicon
metal from Kazakhstan, as well as a contemporaneous AD/CVD proceeding in Canada.195
However, the documents related to those proceedings that are referenced by TKS/TKT are not on
the record of this investigation. Nor is the information purportedly obtained by Globe from TKS
as part of the attempted joint venture. With this information missing from the record, it is
impossible for Commerce to render a judgment that the petitioners acted inappropriately in
bringing the present action.


1A9 Id. at 41 (citing Silicon Metalfrom the Republic of Kazakhstan: Final Affirmative Countervailing Duty
Determination, 83 FR 9831 (March 8, 2018) (Silicon Metalfrom Kazakhstan), and accompanying IDM at 5-6.
110 See Request to Terminate at 3.
191 Id. at Attachment.
192 We note that, while the existence of a non-disclosure agreement and potential joint venture were bracketed as
BPI in the June 16, 2017, letter, the existence of these documents as the basis of its allegation is publicly referenced
in TKS/TKT's Request for Reconsideration.
193 See Request to Terminate at Attachment.
194 See Disqualification Memorandum.
195 See Request to Terminate at Attachment.




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Finally, we do not find TKS/TKT's argument that the petitioners or their counsel admitted
wrongdoing with respect to their actions in the previous investigation persuasive. TKS/TKT
seems to rely on the attachments to its June 16, 2017, letter in making this point, specifically
stating in that letter that "one could not imagine a more damning reply as to these transgressions
than provided by the USA Petitioner Globe's own counsel"196 in the exhibits thereto. However,
these exhibits contain no admission of wrongdoing, nor a particularly "damning reply," given
that the petitioners' counsel in the previous CVD investigation merely stated in response to
TKS/TKT's counsel that "{t} he allegations in Globe's petition that Tau-Ken Temir is receiving
countervailable subsidies are supported by extensive evidence from public sources" and that
"{TKT} has publicly acknowledged the accuracy of the information in the petition in its own
submissions to the {Commerce}." 197 Thus, we find no merit to TKS/TKT's arguments, and we
continue to find no basis to terminate this investigation.

Comment 7: Whether the AFA Rate Applied in the Preliminary Determination is
           Warranted

In the Preliminary Determination, Commerce applied an AFA rate of 20 percent to six programs
that were preliminarily found to be countervailable, resulting in a total preliminary subsidy rate
of 120 percent.

TKS/TKT's Comments:198
  • Commerce's AFA margin has no basis in reality and is contrary to law. Congress,
     through the Act, requires the corroboration of adverse inference rates, and "clearly
     intended that such rates should be reasonable and have some basis in reality."199
  • "Commercial reality" and "accurate" have been found to "represent reliable guideposts
     for Commerce's" application of AFA.200 There is no basis that the 120 percent rate
     applied in the Preliminary Determination is reasonable, accurate, or at all reflects reality,
     and as such it is contrary to law.
  • Commerce should not impose capital punishment, i.e., effective exclusion from the U.S.
     market, for a minor infraction, particularly whereas here Commerce has yet not decided
     on TKS/TKT's timely one-day extension request.

Petitioners' Rebuttal:2°1
   • Commerce properly followed the applicable law and its practice regarding the selection
       of the AFA rates in the Preliminary Determination, and it should continue to do so in the
       final determination.
   • The 120 percent AFA subsidy rate reflects the aggregate of program-specific rates that
       Commerce properly selected pursuant to section 776(d) of the Act and its established
       hierarchy.

196 Id. at page 2 of the Attachment.
197 Id. at Exhibit 3 of the Attachment.
198 See TKS/TKT's Brief at 40.
199 Id. (citing F.Lii de Cecco di Filippo Fara S. Martino S.p.A. v. United States, 216 F.3d 1027, 1034 (Fed. Cir.
2000); and BMW, 926 F.3d at 1300 (quoting Gallant Ocean (Thailand) Co. v. United States, 602 F.3d 1319, 1323
(Fed. Cir. 2010)).
200 Id. (citing Papietfabrik Aug. Koehler SE v. United States, 843 F.3d 1373, 1380-81 (Fed. Cir. 2016)).
2°1 See Petitioners' Rebuttal Brief at 45-50.



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     •In the Preliminary Determination, Commerce properly calculated and applied an AFA
       rate to TKS/TKT for the Corporate Income Tax Exemption program for companies
      located in an SEZ equal to Kazakhstan's standard corporate income tax rate of 20
      percent. Commerce applied an adverse inference that TKS/TKT paid no income tax
      during the POI by virtue of its location in the SEZ, and, therefore, the highest benefit
      TKS/TKT could have received from the Corporate Income Tax Exemption program was
      20 percent.
    • Commerce also applied that 20 percent rate as the AFA rate for each of the other
      programs that it found to be countervailable because that rate reflects the highest — and
      only — above-de minimis rate calculated for any subsidy program in a Kazakhstan CVD
      proceeding that TKS/TKT's industry could conceivably use, consistent with Commerce's
      AFA hierarchy. In the final determination, Commerce should again apply 20 percent
      program-specific AFA rates for all countervailable subsidy programs.
    • Neither the program-specific AFA rates, which were based on primary information, nor
      the aggregate AFA rate, need be corroborated, and TKS/TKT has not argued that the
      AFA rate is uncorroborated.
    • Section 776(c) of the Act only requires that corroboration when Commerce "relies on
      secondary information rather than on information obtained in the course of an
      investigation." In the Preliminaq Determination, Commerce properly relied only on
      primary information obtained during the course of this investigation from the GOK to
      determine the subsidy rates and therefore need not corroborate this information.
    • Even when corroboration is required, "the statute's corroboration requirement is
      program-specific," and there is no requirement to corroborate the aggregate subsidy
      rate.202
    • The total AFA rate need not, as TKS/TKT argues, rely on commercial reality, as that
      requirement has since been superseded by statute, which now explicitly states that
      Commerce "is not required... to demonstrate that the countervailable subsidy rate...
      reflects an alleged commercial reality of the interested party."203
    • All of the cases that TKS/TKT cites to support its argument involved proceedings that
      began before the Act was revised in 2015 and, thus, are inapplicable because the law has
      changed. Consistent with the current law, Commerce need not estimate what TKS/TKT's
      countervailable subsidy rate would have been if it had cooperated with this investigation
      or demonstrate that TKS/TKT's countervailable subsidy rate reflects reality.
    • TKS/TKT's total AFA rate is not unduly punitive. TKS/TKT makes a false equivalence
      between "capital punishment" and "effective exclusion from the U.S." market.
    • The application of total AFA is warranted based on TKS/TKT's and the GOK's failures
      to cooperate to the best of their ability because TKS/TKT failed to submit a complete and
      timely initial subsidy questionnaire response, and the GOK failed to respond to the ILV
      Questionnaire.
    • TKS/TKT's counsel was well aware of the potential consequences of failing to submit a
      complete and timely questionnaire response. Although TKS/TKT made a late afternoon
      one-day extension request, TKS/TKT's failure to request an earlier extension was
      deliberate — either a strategic choice or an error in judgment.

202 See Petitioners' Rebuttal Brief at 47 (citing POSCO v. United States, 296 F. Supp. 3d 1320, 1352 n.47 (CIT
2018) (POSCO)).
203 Id. at 48 (citing POSCO, 296 F. Supp. 3d at 1352).



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    •   Commerce properly calculated TKS/TKT's total AFA rate as the aggregate of
        program-specific rates that were properly calculated and applied in accordance with the
        Act and Commerce's established AFA hierarchy, the same as it had in the prior CVD
        investigation of silicon metal from Kazakhstan.
    •   The prior CVD investigation put TKS/TKT on notice that its failure to provide
        information requested by Commerce could trigger total AFA and how Commerce would
        select the program-specific AFA rates and, thus, what its likely total AFA rate would be.

Commerce's Position: We disagree with TKS/TKT that the subsidy rate selected by Commerce
in the Preliminary Determination was inappropriate because it had no basis in reality or was
otherwise contrary to law. On the contrary, Commerce explained in detail how it applies its
CVD hierarchy in selecting from available rates when applying AFA in a CVD investigation.2°4
In particular, we noted that the 20 percent rate applied to Corporate Income Tax Exemption
program was the highest above-de minimis rate used for any non-company-specific program in a
CVD case involving the same country that the company's industry could conceivably use, and
for which we preliminarily found that there is a financial contribution and that the benefit was
specific.205 This remains true in the final determination. The 20 percent rate selected for the
income tax program at issue remains the highest rate available on the record, and forms the basis
of the rate for each of the eight programs Commerce has found to be countervailable in this final
determination, resulting in a total subsidy rate of 160 percent ad valorem for TKS/TKT and all
other producers/exporters in Kazakhstan.

Furthermore, we agree with the petitioners that it is not necessary for Commerce to corroborate
the information relied on to establish the AFA rate or to consider the commercial reality of an
interested party. Section 776(c) of the Act states that whenever Commerce "relies on secondary
information rather than on information obtained in the course of an investigation... {Commerce}
shall, to the extent practicable, corroborate that information from independent sources..." The
Act mandates that Commerce corroborate only secondary information, rather than "information
obtained in the course of an investigation," i.e., primary information, such as the tax rate
applicable to the Corporate Income Tax Exemption program which was provided by the GOK as
part of this investigation.206 As this tax rate is not secondary information, it need not be
corroborated. Further, section 776(d)(3)(b) of the Act, which states that it is not necessary for
Commerce, when applying AFA, "to demonstrate that the countervailable subsidy rate or
dumping margin used by the administering authority reflects an alleged commercial reality of the
interested party," remains applicable to this final determination as well. As a result, we need not
consider whether the final subsidy rate applied in this final determination reflects the commercial
reality of TKS/TKT.




204 See Preliminary Determination PDM at 7-8.
205 1d. at 8.
206 See Letter from the GOK, "Countervailing Duty Questionnaire Response," dated September 9, 2020 (GOK IQR),
at Exhibit CITI.



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Comment 8: Whether Commerce Should Rely on Information Provided by the
           Government of Kazakhstan in Determining the Countervailability of
           Programs

GOK's Comments:207
  • The GOK timely provided detailed answers, with all relevant supporting documents, to
      Commerce's initial and supplemental questionnaires. Notwithstanding all the
      information provided and the effort the GOK made to cooperate in the investigation,
      Commerce preliminary determined that countervailable subsidies are being provided to
     producers and exporters of silicon metal in Kazakhstan and calculated the estimated
     countervailable subsidy rates based on AFA.
  • Given that the GOK's information is available on the record, according to section 776 of
     the Act, Commerce should determine the estimated countervailable subsidy rates upon
     this information on the record instead of applying AFA.
  • The application of AFA in the Preliminary Determination violates both World Trade
     Organization (WTO) and U.S. law.
  • Commerce ignored the GOK's responses regarding corporate income tax, customs duties,
     electricity provision, and debt forgiveness. Commerce did not take into account the fact
     that TKT2°8 did not receive any corporate income tax reductions during the POI due to
     the absence of taxable income or that there is no customs duty exemption program for the
     SEZ members.
  • The GOK proved that TKS/TKT has paid customs duties in accordance with the
     established procedure for the SEZ members, according to which imported goods are not
     exempt from duties but are temporarily placed until being exported to the territory of
     Kazakhstan or other countries.
  • Also, the SEZ in which TKS/TKT is located does not provide its members with any kind
     of preferences for electricity; thus, there is no program providing electricity for LIAR.
  • There is no debt forgiveness program.
  • Programs that do not exist cannot be incorporated into the final subsidy rate.

TKS/TKT's Comments:209
  • In the GOK's initial questionnaire response, the GOK answered Commerce's subsidy
     questionnaire as to any subsidies provided to TKT and its cross-owned companies,
     providing Commerce with the information pertinent to its subsidy analysis.
  • Commerce issued a supplemental questionnaire to the GOK two months later, despite
     section 782(d) of the Act requiring a "prompt" issuance of a deficiency questionnaire.
     Either Commerce believes that the GOK's initial questionnaire response did not have any
     deficiencies, or that two months is prompt.
  • Either the GOK initial questionnaire response was complete, or TKS/TKT's 1.5 hour
     response delay in filing its questionnaire response was not significant.
  • Commerce's Preliminaiy Determination indicated that the GOK's questionnaire
     responses were irrelevant as to Commerce's treatment of TKS/TKT. By this and other

207 See GOK's Case Brief at 3-4.
208 We note that the GOK limited its arguments to TKT.
2" See TKS/TKT's Brief at 26-28.



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         Commerce actions, there was no point for the GOK thereafter to answer further
         questions, such as questions in the verification questionnaire. Commerce should blame
         itself for creating a situation where the GOK would not pointlessly respond to the
         verification questionnaire.
     •   The courts reject Commerce's use of AFA where it does not achieve its objective to deter
         non-compliance.21° The CAFC has stated that "an adverse inference may not be drawn
         merely from a failure to respond... only under circumstances in which it is reasonable for
         Commerce to expect that more forthcoming responses should have been made."211 Given
         its own actions, Commerce should have expected no response because, for the GOK,
         cooperation was futile.212
    •    The courts reject any view that Commerce can impose adverse inferences on a company
         respondent for the questionnaire response actions of its govemment.213

Petitioners' Rebuttal to the GOK:214
    • Commerce cannot rely on the information submitted by the GOK because that
      information is unverifiable and deficient. The information submitted by the GOK does
      not and cannot provide a basis for determining whether or the extent to which TKS/TKT
      and its cross-owned affiliates received countervailable subsidies because it cannot be
      verified due to the GOK's failure to cooperate with Commerce's verification. Commerce
      should apply AFA based on the GOK's failure to cooperate, consistent with established
      case law.
    • The GOK's unverifiable questionnaire responses also lack information that is necessary
      for Commerce's subsidy analysis. The GOK completely ignored and failed to respond to
      Commerce's ILV Questionnaire, an act which alone justifies the application of AFA.
    • The ILV Questionnaire explicitly requested specific information regarding three
      programs under investigation, the Provision of Electricity for LTAR, the Provision of
      Water for LTAR, and the Provision of Drainage Services for LTAR, in order for
      Commerce to verify whether those programs provided countervailable subsidies.
    • The GOK's failure to provide the requested information means that the information that
      the GOK previously submitted in its questionnaire responses cannot be verified, thus
      establishing an independent basis for the application of AFA.
    • In the ILV Questionnaire, Commerce expressly warned the GOK if the requested
      information was not received, it may apply AFA. Consistent with its warning to the
      GOK and section 776 of the Act, Commerce should conclude that the GOK has not
      cooperated to the best of its ability in this proceeding and apply total AFA, or at least
      apply AFA to conclude that the three LTAR programs discussed in the ILV
      Questionnaire are countervailable.
    • The application of FA is warranted because necessary information relevant to whether the
      programs are countervailable is not on the record, and the GOK has withheld and failed


21° Id. at 27 (citing Cf. Olympic Adhesives v. United States, Court No. 89-1367 (Fed. Cir. 1990)).
211 Id. (citing Nippon Steel 2003, 373 F.3d at 1381).
212 Id. at 27-28 (citing San Martino, 980 F. Supp. at 485).
2131d. at 28 (citing Clearon Corp. v. United Slates, 474 F. Supp. 3d 1339 (CIT October 8, 2020) (Clearon); and
Guizhou Tyre Co. v. United States, 415 F. Supp. 3d 1402, 1405 (CIT 2019) (Guizhou Tyre)).
214 See Petitioners' Rebuttal Brief at 20-22.




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             to provide information that was requested by Commerce, significantly impeded the
             proceeding, and provided information about those programs that cannot be verified.
      •      The application of AFA is warranted because the GOK failed to cooperate by not acting
             to the best of its ability to comply with Commerce's requests for information.

Petitioners' Rebuttal to TKS/TKT.•215
    • The courts have rejected TKS/TKT's argument that Commerce cannot impose AFA on a
       company respondent for the actions of its government.216 In Fine Furniture II, the CAFC
       upheld Commerce's application of AFA based on a government's failure to respond
       regarding a program, which adversely affected the company respondent's subsidy rate,
       noting that "on its face, the statute authorizes Commerce to apply adverse inferences
       when an interested party, including a foreign government, fails to provide the requested
       information."2'7
   • The CAFC also noted in Fine Furniture II that "a remedy that collaterally reaches {the
       company respondent} has the potential to encourage the {government respondent} to
       cooperate so as not to hurt its overall industry,"218 and "{a}lthough it is unfortunate that
       cooperating respondents may be subject to collateral effects due to the adverse inferences
       applied when a government fails to respond to Commerce's questions, this result is not
       contrary to the statute or its purposes, nor is it inconsistent with this court's precedent."219
   • The cases cited by TKS/TKT did not hold that Commerce could never impose adverse
       inferences affecting a company respondent based on a foreign government's actions;
       rather, they addressed Commerce's factual findings regarding a specific program not
       relevant here, i.e., the Export Buyer's Credits provided by the Government of China.
   • In Clearon and Guizhou Tyre, the CIT rejected Commerce's findings because Commerce
       did not adequately explain why it could not verify non-use of the program at issue in light
       of the government's failure to provide the requested information.22°
   • In RZBC, the CIT applied Fine Furniture II, recognizing that "Commerce has authority to
       apply AFA when, as here, a government is uncooperative but a respondent is
       cooperative."221
   • As in Fine Furniture II and RZBC, adverse inferences are warranted based on the foreign
       government's failure to cooperate with the proceeding. There is no verifiable
       information on the record regarding the subsidy programs under investigation in light of
       the GOK's failure to cooperate to the best of its ability here, and there is no information
       on the record from TKS/TKT regarding the subsidies under investigation because
       Commerce properly rejected TKS/TKT's incomplete and untimely initial questionnaire
       response.



215 See  Petitioners' Rebuttal Brief at 22-25.
216 Id. at 22 (citing Fine Furniture (Shanghai) Ltd. v. United States, 748 F.3d 1365, 1371 (Fed. Cir. 2014) (Fine
Furniture II); and RZBC Group Shareholding Co. v. United States, 222 F. Supp. 3d 1196, 1208 (CIT 2017)
(RZBC)).
217 Id. at 23 (citing Fine Furniture II, 748 F.3d at 1371).
    • (citing Fine Furniture II, 748 F.3d at 1373).
210 la
219 Id.
220 Id.   at 24 (citing Clearon, 474 F. Supp. 3d at 1349-54; and Guizhou Tyre, 415 F. Supp. 3d at 1403-05).
221 la
     •    (citing RZBC, 222 F. Supp. 3d at 1208-09 (citing Fine Furniture II, 748 F.3d at 1372)).



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      •The application of AFA based on the GOK's failure to cooperate is even less problematic
        here than in Fine Furniture II or RZBC because TKS/TKT is not a cooperating
        respondent.
     • Contrary to TKS/TKT's claim that Commerce is to blame for the GOK's failure to
       respond to the ILV Questionnaire, there is no indication that Commerce would not
       consider the GOK's responses. In the Preliminary Determination, Commerce found that
       two programs, the Provision of Water for LTAR and the Provision of Drainage System
       Services for LTAR, were not countervailable based on information the GOK provided in
       its questionnaire responses.222
     • In its ILV Questionnaire, Commerce asked for additional information to verify whether
       those two programs, as well as the Provision of Electricity for LTAR program, are
       countervailable. Given Commerce's findings in the Preliminary Determination, there is
       every indication Commerce would have considered the GOK's response to the ILV
       Questionnaire and made appropriate findings regarding the LTAR programs in the final
       determination if the GOK had submitted the response.
     • The GOK's failure to respond to the ILV Questionnaire means that the information the
       GOK previously submitted in its questionnaire responses cannot be verified. Commerce
       should therefore apply AFA to conclude that the three LTAR programs are
       countervailable and to determine the subsidy rates for these programs.
     • The GOK's unverifiable questionnaire responses do not contain all of the information
       necessary to determine whether and the extent to which TKS/TKT benefited from the
       subsidies under investigation.
     • There were numerous significant deficiencies in the GOK's initial questionnaire
       response, resulting in the need for Commerce to issue a supplemental questionnaire to the
       GOK.
     • Commerce cannot rely on the GOK's responses as a substitute for TKS/TKT's responses
       for other reasons as well. The GOK's questionnaire responses failed to provide
       information about any subsidies to three of TKS/TKT's cross-owned companies, GRES-
       2, KEGOC, and KazSilicon. The GOK's questionnaire responses also do not contain any
       information about the free-on-board (FOB) sales values of TKT, TKS, or their cross-
       owned companies, which would serve as the denominator in the subsidy rate calculations.
       Such sales information would have to come from the companies themselves and are not
       available on the record.
     • Contrary to TKS/TKT's claim that there are no subsidies, the GOK's initial questionnaire
       response indicates that TKS/TKT benefits from at least some of the subsidy programs
       under investigation, namely, the property tax exemption program and the land tax and
       land use fee exemption.223 However, the GOK did not provide the information necessary
       to determine the extent to which TKS/TKT benefited from those programs.
     • The information provided by the GOK regarding TKS/TKT's use of the Corporate
       Income Tax Exemption program was not usable, as Commerce specifically asked the
       GOK to provide information regarding deductions from taxable income or other tax
       benefits on the tax return filed during the POI.



222 Id.   at 25 (citing Preliminary Determination PDM at 18).
223 Id.   at 28 citing GOK IQR at 10-11, 14-15, 17-18, 22.



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      • The record contains no evidence of the extent to which TKS/TKT could or did export
        goods on which customs duties were deferred under the Customs Duty Exemption from
        the Saryarka SEZ to the territory of Kazakhstan or other countries.
      • Commerce, therefore, properly drew the adverse inference "that TKS/TKT did not export
        goods to the customs territory of Kazakhstan or other countries, and that any customs
        duties owed on any goods imported into the SEZ are still deferred within the meaning of
        19 CFR 351.510(a)(2)." Commerce treated these deferrals of customs duties "as a
        contingent liability interest-free loan" in accordance with 19 CFR 351.510(a)(2) and
        351.505(d), and drew the adverse inference "that the event upon which the repayment
        depends, i.e. the export of the goods from the SEZ, is not viable, and . . . therefore,
        treat{ed }the deferred customs duties as grants in accordance with 19 CFR
        351.505(d)(2)."224
      • The GOK failed to provide significant information necessary for Commerce to determine
        and verify whether the three LTAR programs are countervailable and the extent to which
        TKT and its cross-owned companies may have benefited from such programs, such as
        responses to the Standard Questions Appendix with respect to these programs.
      • Necessary information regarding the debt forgiveness benefit that TKS/TKT received is
        missing from the record, and Commerce correctly concluded in the Preliminary
        Determination that the program provided a benefit to TKS/TKT.

Commerce's Position: We disagree with the GOK and TKS/TKT that the information
submitted by the GOK as part of its initial questionnaire response and supplemental
questionnaire response is sufficient to find the programs at issue not used by the mandatory
respondents or their cross-owned companies, or, alternatively, to find that these programs were
used by TKS/TKT and to establish the subsequent AFA rate.

 In certain situations, Commerce has relied on a government's response where a company
 respondent failed to cooperate. For example, in Lined Paperfrom India, Commerce used
 information in the Government of India's (GOI's) response in making its findings because AR
 Printing & Packaging India Pvt. Ltd., a mandatory respondent, did not respond to Commerce's
 questionnaire.225 Specifically, we assumed, as AFA, that the respondent received a
 countervailable benefit in all instances in which the reported information in the GOI's response
 indicated that a program was specific and constituted a financial contribution.226 In CTL Plate
from Indonesia, Commerce also relied on some of the information submitted in the Government
 of Indonesia's questionnaire response to address financial contribution and specificity even when
 Krakatau Steel, a mandatory respondent, failed to respond to Commerce's questionnaires.227 In

224  Id. at 29-30 citing Preliminao, Determination PDM at 14.
225 See   Certain Lined Paper Productsfrom India; Final Results of Countervailing Duty Administrative Review;
 Calendar Year 2010, 78 FR 22845 (April 17, 2013) (Lined Paperfrom India), and accompanying IDM at
 "Summary."
 226 Id.
 227 See Final Affirmative Countervailing Duty Determination: Certain Cut-to-Length Carbon-Qualit.), Steel Plate
from Indonesia, 64 FR 73155, 73156 (December 29, 1999) (CTL Platefrom Indonesia), where Commerce discussed
 that "... Krakatau failed to respond to any of {Commerce's} questionnaires. The GOI provided some, although not




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 Warmwater Shrimp from Malaysia, Commerce determined it was appropriate to rely on the
Government of Malaysia's (GOM's) response in lieu of a company's response with regard to
provincial or regional programs when applying AFA in certain instances. Specifically, we found
that, with respect to such programs, when the GOM could "demonstrate through complete,
verifiable, positive evidence that non-cooperating companies (including all their facilities and
cross-owned affiliates) are not located in the provinces whose subsidies are being investigated,"
Commerce would not apply an AFA rate for such programs.228 Conversely, for similar reasons
we find TKS/TKT's reliance on Clearon and Guizhou Tyre inapposite. In both of these cases,
the CIT rejected Commerce's finding that necessary information regarding the program was
missing from the record, which is a predicate for the application of AFA. As the CIT found that
there was other evidence on the record that the cooperating respondents did not use the program,
it found that Commerce did not adequately explain why it could not verify non-use of the
program in light of the Government of China's failure to provide the requested information.229

In the instances referenced above, the respective governments provided responses that included
useable information about, and specific to, non-cooperating company respondents. This is in line
with Commerce's general practice regarding CVD investigations, wherein we rely on
information provided by governments to determine whether a financial contribution exists under
section 771(5)(D) of the Act and whether any benefit provided by the program under
investigation is specific under section 771(5A) of the Act. Conversely, in examining whether the
final element of a subsidy exists, i.e., benefit, Commerce typically examines information
provided by the company respondents that produce and/or export the goods in question. In the
case of benefit, Commerce does not limit its analysis to the mere receipt of assistance from an
authority. The receipt of such assistance is only one part of our subsidy analysis, as additional
information is required to reach a conclusion that assistance provides any benefit. Specifically,
Commerce requires additional information from company respondents to perform this analysis,
comparing the value of that assistance to the company's sales in order to calculate a subsidy rate.
Moreover, this analysis may, in the case of non-recurring subsidies, take account of several
years' worth of assistance, as well as corresponding sales data and supporting documentation
used in the analysis.

Considering Commerce's practice as described above, the information provided by the GOK is
lacking in certain respects. First, while the GOK stated affirmatively in its responses that certain
programs were not used by TKS/TKT, its responses were not inclusive of every cross-owned
company for which Commerce requested a response from TKS/TKT. Instead, the GOK limited

all, of the information requested about Krakatau. In the Preliminary Determination, relying upon section 782(e) of
the Act, {Commerce} the Department determined that based on the GOI's submission of some data, the
administrative record was not so incomplete that it could not serve as a reliable basis for reaching a preliminary
determination. Therefore, {Commerce) used the GOI's data where possible, i.e., {Commerce) relied on
information provided by the GOI to reach a preliminary determination that Krakatau had not used the Rediscount
Loan Program and Tax Holiday Program. {Commerce} only resorted to the facts otherwise available in those
instances where data necessary for the calculation of Krakatau's subsidy rate was missing.... In addition, ...
{Commerce) determined that in those instances when resort to facts available was necessary, the use of an adverse
inference was warranted under section 776(b) of the Act because {Commerce} determined that Krakatau failed to
cooperate by not acting to the best of its ability in complying with requests for information in this investigation."
228 See Certain Frozen Warmwater Shrimp from Malaysia: Final Affirmative Countervailing Duty Determination,
78 FR 50381, August 19, 2013 (Warmwater Shrimpfrom Malaysia), and accompanying IDM at 29.
229 See Clearon at 474 F. Supp. 3d at 1349-54; see also Guizhou Tyre, 415 F. Supp. 3d at 1403-05.




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its responses to three companies within the TKS/TKT group, TKS, TKT, and SM, the three
companies TKS/TKT identified in its initial questionnaire response as needing to provide a full
questionnaire response.23° However, Commerce did not limit its investigation to these
companies, instead expanding the universe of companies for which we required information and
requesting that TKS/TKT provide full questionnaire responses to include GRES-2, KEGOC, and
KazSilicon.231 We did not specifically request additional information regarding these companies
from the GOK because their additional responses would not affect the financial contribution or
specificity information for which we would rely on the GOK's response. This is appropriate,
because while the GOK may declare a program used or not used, our analysis is not reliant on
the GOK's responses alone. As we explained in Comment 1, above, part of the intention of
applying adverse inferences is to induce cooperation from company respondents by ensuring that
they do not receive more favorable treatment than if they had not cooperated fully. In Comment
1, we further explained our finding that TKS/TKT failed to act to the best of its ability in
providing a timely-filed questionnaire response. It therefore stands to reason that it would be
inappropriate to ignore our AFA precedent by concluding that TKS/TKT did not use a program,
despite failing to provide a timely questionnaire response. To the extent that the GOK provided
statements that programs were not used by TKS, TKT, or SM, the three companies referenced in
the GOK's response, this information is not enough to conclude that the other TKS/TKT
companies from which we requested full questionnaire responses did not use the programs under
investigation. Finding cross-ownership among several companies with TKS/TKT, we concluded
that these programs were used and attributable to TKS/TKT in the Preliminary Determination.232
Moreover, given our finding that the information provided by the GOK is unverifiable, we
cannot rely, as we did in the Preliminary Determination, on the GOK's statements that it did not
provide water or drainage services for LTAR in the Saryarka SEZ.

While we find that the GOK's provision of some infonnation regarding some of the companies
cross-owned with TKS/TKT does not preclude us from finding that these programs were used by
TKS/TKT and its cross-owned companies, and that benefits were attributable to the group as a
whole, we also take note that, even if we were to rely solely on the information provided by the
GOK, there is not enough information on the record to calculate an actual benefit other than the
AFA rate applied in the Preliminary Determination. That is because the information provided
by the GOK does not include the denominator portion of the information needed to conduct a
benefit calculation, the sales of TKS/TKT and its cross-owned companies. For instance, we note
that, while the GOK provided TKT's tax return filed in 2020,233 any assistance identified therein
is exclusive of aid provided to TKS/TKT's cross-owned companies, covers the wrong time
period, and includes no sales information that we could use to establish a denominator. Such
sales information is usually sourced from, and reconciled to, a company's financial statements.
While the GOK did provide several years of financial statements from TKT, from 2014 through
2017, and this information could be useful in the context of examining a nonrecurring subsidy, in
this case, these financial statements are deficient in several respects because there is no
information from the POI, the financial statements exclude TKS/TKT's cross-owned companies,
and because financial statements form only the starting point for a company respondent's

230 See TKS/TKT's Letter, "Silicon Metal From Kazakhstan," dated August 6, 2020, at 9.
231 See First Affiliation Supplemental Questionnaire; see also Second Affiliation Supplemental Questionnaire.
232 See Preliminaq Determination PDM at 6-7 and 10.
233 See GOK IQR at Exhibit CIT1.




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reported sales figures. Companies generally do not just report gross sales as listed in their
financial statements, but instead provide adjusted figures that account for FOB sales, domestic
and export sales, and the removal of inter-company sales.

Nor are we persuaded by the GOK's arguments that the information it provided regarding the
provision of electricity for LTAR, the exemption from customs duties, and debt forgiveness
programs demonstrates that these programs are not countervailable. With respect to the
provision of electricity for LTAR, the GOK argues that the Saryarka SEZ does not provide
preferential prices on electricity.234 However, as we stated in the Preliminary Determination, our
finding that the GOK provides a financial contribution is based on the fact that "{i}n the case of
the Saryarka SEZ, where TKT is located, `Managing company of the Saryarka special economic
zone' JSC (MC SEZ Saryarka) is registered in the state register of natural monopoly entities in
the Karaganda region for the provision of services for the transmission of electrical energyi23s
and that "{t}he GOK identified the ultimate owner of MC SEZ Saryarka as a government
institution."236 We further noted that information provided by the GOK "indicates that electricity
transmission is within the sphere of regulated services that are subject to the law" and that "the
GOK has the authority to `develop and approve the tariff setting rules' and to `develop and
approve the standard contracts for provision of regulated services.'"237 Based on the facts
provided by the GOK in its questionnaire responses, we therefore concluded that "{g} iven the
ownership and monopolistic status of MC SEZ Saryarka, the company's role in transmitting
electricity to companies in the Saryarka SEZ, and the GOK's role in establishing electricity
transmission tariffs and subsequent purchase contracts... the provision of electricity for LTAR
constitutes a financial contribution in the form of the provision of a good or services under
section 771(D)(iii) of the Act and 19 CFR 351.511.s238 There is no information on the record to
contradict this finding, and as described above in the "Use of Facts Otherwise Available and
Adverse Inferences" section, we are finding that this program is specific under section
771(5A)(D)(iv) of the Act. With respect to TKS/TKT's receiving a benefit from this program,
we affirm our finding in the Preliminary Determination that TKS/TKT benefited from this
program, based on AFA.239

With respect to the exemption of customs duties, the GOK stated that goods imported into an
SEZ are not exempt from the payment of duties, but that these duties are merely deferred. We
noted in the Preliminaty Determination that the GOK denied the existence of any customs duty
exemption program, but nonetheless we found a program existed and that it was
countervailable.' As we explained in the Preliminary Determination, "a deferral of import
charges will be treated as a government-provided loan in the amount of the taxes deferred,
according to the methodology described in 19 CFR 351.505."241 We further explained that we
were "treating these deferrals of customs duties as we would a contingent liability interest-free


234 See   GOK's Case Brief at 3-4.
235 See Preliminary Determination    PDM at 15.
236 Id.
237 Id.
238 Id
239 Id. at 6.
24° Id. at 14.
241 Id.




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loan" in accordance with 19 CFR 351.510(a)(2) and 19 CFR 351.505(d).242 Such loans are
essentially grants, in accordance with 19 CFR 351.505(d)(2), which function as customs duty
exemptions as described in 19 CFR 351.510(a)(1).243 While the GOK denies that these customs
deferrals act as a program, it nonetheless confirms that TKS/TKT took advantage of such
deferrals during the PO1.244 Consequentially, we consider these deferral procedures to constitute
a program, and that, based on AFA, TKS/TKT paid no customs duties, such that the deferral
program acts as an exemption program for the purpose of finding this program countervailable.

With respect to debt forgiveness, as we explained in the Preliminary Determination, we
acknowledge that the GOK has claimed that the debt forgiveness program does not exist.245
Nonetheless, we explained our findings that, based on the record, the GOK was the ultimate
owner of the institution providing the debt forgiveness (the Investment Fund of Kazakhstan
(IFK)), and that the record supported a finding that that the assets of Silicium Kazakhstan LLP
(Silicium Kazakhstan), including its silicon metal production plant, were transferred,
unencumbered by Silicium Kazakhstan's debt to the IFK, to Kremnyi Kazakhstan, which was in
turn acquired by TKS/TKT, unencumbered by the predecessor company's debt.246 We continue
to find, as we did in the Preliminary Determination, that this severance of Silicium Kazakhstan's
debt from the assets transferred to Kremnyi Kazakhstan constitutes a form of debt forgiveness
for Kremnyi Kazakhstan, which was subsequently acquired debt-free by TKS/TKT.' As such,
we continue to find in this final determination that the debt forgiveness program exists, that it
provided a financial contribution to TKS/TKT in the form of debt forgiveness under section
771(5)(D)(i), and that it is de jure specific pursuant to section 771(5A)(D)(iii)(1) of the Act
because the actual recipient of the debt forgiveness is limited to a certain enterprise, i.e.,
TKS/TKT.

We also disagree with TKS/TKT's argument that Commerce in any way dissuaded the GOK
from responding to the ILV Questionnaire. On the contrary, in the Preliminary Determination,
Commerce relied on information provided by the GOK to determine that two programs, the
Provision of Water for LTAR and the Provision of Drainage Services for LTAR, were not
available to TKS/TKT and were therefore not countervailable.248 We also relied on information
provided by the GOK to reach our preliminary determination that the provision of electricity was
de facto specific to the metallurgical industry.249 Because we relied on the information provided
by the GOK in reaching our findings regarding these programs in the Preliminary
Determination, we included these programs in our ILV Questionnaire, in order to allow the GOK
to provide additional or supporting information that would allow us to rely on this information in
the final determination, in accordance with section 782(i) of the Act. In the ILV Questionnaire,
we advised the GOK that failure to respond to the questionnaire may result in the application of
partial or total facts available pursuant to section 776(a) of the Act, which may include adverse


242 Id.
243 Id.
244 See GOK IQR at Exhibit 1Dg.
245 See Preliminaly Determination PDM at 16.
246 1d. at 16-17.

242 Id. at 17.
248 Id. at 18.
249 Id. at 15-16.




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inferences pursuant to section 776(b) of the Act.250 To the extent that the respondents argue that
the GOK's questionnaire responses indicate that TKS/TKT did not use these programs, in order
for Commerce to rely on the GOK's responses on non-use of the programs by TKS/TKT, the
GOK must provide accurate, complete, and verifiable information to support its claims. The
current record indicates that the GOK's responses on non-use of the programs are unverifiable
assertions unsupported by the record. Although TKS/TKT may be adversely impacted by virtue
of information not provided by the GOK, it would be improper to depart from our practice, as
outlined above. As the CIT has noted:

         {A}n adverse inference in a CVD investigation may have "a collateral impact
         on a cooperating party," without being rendered "improper." Where, as here,
         an adverse inference made against the {the government} "collaterally
         reaches" a cooperating company that is "within the {country}, benefitting
         directly from subsidies the {government} may be providing," then the adverse
         inference is permissible, because it "has the potential to encourage the
         {government} to cooperate so as not to hurt its overall industry."25'

Finally, with respect to the GOK's WTO-related arguments, Commerce has conducted this
investigation in accordance with the Act and our regulations, and U.S. law is fully compliant
with our WTO obligations. Moreover, it is the Act and Commerce's regulations that have direct
legal effect under U.S. law, and not the WTO Agreements or WTO reports. In this regard, WTO
reports "do not have any power to change U.S. law or to order such a change."252

Comment 9: Whether Commerce Is Required to Exhaust Administrative Remedies

TKS/TKT's Comments:253
  • 28 USC § 2637(d) states that the "Court of International Trade shall, where appropriate,
     require the exhaustion of administrative remedies," and "indicates a congressional intent
     that, absent a strong contrary reason, the court should insist that parties exhaust their
     remedies before the pertinent administrative agencies."254
  • The purpose of requiring the exhaustion of administrative remedies is to first provide for
     administrative opportunities for the resolution of issues, rather than ask the courts to
     decide issues that should have been fully addressed at the agency level.
  • This doctrine equally applies to Commerce,255 which has been silent on key issues. If a
     respondent is left guessing as to what to argue, it is not given proper notice in that
     regard.256



250 See ILV Questionnaire, Cover Letter at 1.
251 See Hebei Jiheng Cheers. Co. v. United States, 161 F. Supp. 3d 1322, 1332 (CIT February 18, 2016) (citing Fine
Furniture II, 748 F.3d at 1372-73).
252 See Finished Carbon Steel Flanges from India: Final Affirmative Countervailing Duty Determination, 82 FR
29479 (June 29, 2017), and accompanying 1DM at Comment 1.
253 See TKS/TKT's Brief at 44.
254 Id. (citing Corns Staal BV v. United States, 502 F.3d 1370, 1379 (Fed. Cir. 2007) (Corns)).
255 Id. (citing United States v. Nitek, 806 F.3d 1376 (Fed. Cir. 2015) (Nitek)).
256 Id. (citing Nitek and United States v. Toth, Slip Op. 06-61 (CIT June 20, 2016) (Toth)).




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Petitioners' Rebuttal:257
   • The legal requirement to exhaust administrative remedies does not apply to Commerce in
        AD/CVD proceedings. The CAFC has explicitly stated that "the court should insist that
        parties exhaust their remedies before the pertinent administrative agencies."258
        Commerce is not a party to this investigation, but rather is the administrative agency
        before which parties must exhaust their administrative remedies.
   • The cases to which TKS/TKT cites for the assertion that exhaustion of administrative
       remedies applies to agencies did not involve Commerce proceedings, but were instead
       customs penalty cases brought by the U.S. government to enforce penalties imposed by
       U.S. Customs and Border Protection (CBP).
   • The CAFC held in Nitek that the CIT did not abuse its discretion in finding that the U.S.
       government failed to exhaust its administrative remedies because CBP failed to inform
       the importer litigant of the culpability level subject to the claim and because CBP could
       have changed the level of culpability during the administrative proceeding but failed to
       do so.259
   • In Toth, the CIT similarly held that, because CBP failed to pursue the claims based on the
       different culpability levels in the underlying administrative penalty proceeding, those
       claims did not exist before the court and they were dismissed.26°
   • Both Nitek and Toth are completely irrelevant to this proceeding, and TKS/TKT has not
       cited any case holding that Commerce itself must exhaust administrative remedies.
   • While the CIT has recognized that "{w}hen Commerce fails to provide an opportunity
       for comment, it inhibits a plaintiff's opportunity to exhaust its administrative
       remedies,"261 Commerce has provided TKS/TKT ample opportunities for comment and
       has fully addressed TKS/TKT's comments and arguments in this investigation.
   • TKS/TKT made no fewer than nine written submissions regarding the issues that it raised
       in its case brief, including its untimely submission of its initial questionnaire response
       and its claim that the petitioners' allegation regarding a conflict of interest interfered with
       its ability to submit its questionnaire response. TKS/TKT also participated in two ex-
       parte meetings with Commerce to discuss those issues.
   • After Commerce properly rejected TKS/TKT's untimely-filed questionnaire response,
       Commerce carefully considered the issues raised in TKS/TKT's letters and the ex-parte
       meetings and fully addressed them in a detailed letter to TKS/TKT's counsel 262
      •   In its Second Rejection Letter, also referenced in the Preliminary Determination,263
          Commerce affirmed its rejection of TKS/TKT's untimely and incomplete initial
          questionnaire response, rejected TKS/TKT's request to terminate the investigation, and
          noted that TKS/TKT could have submitted an extension request if the petitioners'
          disqualification request had interfered with TKS/TKT's ability to respond to the initial
          questionnaire.


257 See Petitioners' Rebuttal Brief at 42-45.
255 Id. at 43 (citing Con's, 502 F.3d at 1379).
2" Id. (citing Nitek, 806 F.3d at 1378, 1381-82 (Fed. Cir. 2015)).
26° Id. at 43-44 (citing Toth at 4-5 (CIT 2016)).
261 Id. at 44 (citing Fine Furniture I, 865 F. Supp. cat fn.14).
262 Id. at 45 (citing Second Rejection Letter).
263 Id. (citing Preliminary Determination PDM at 3 and fn.20).




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                                                   Appx240
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     •    Even after Commerce issued its Second Rejection Letter and Preliminary Determination,
          TKS/TKT still had an opportunity to be heard in its briefs and at a hearing.

Commerce's Position: We agree with the petitioners that the requirements of 18 USC §
2637(d) are not applicable to Commerce in this instance. The petitioners correctly note that in
Corus the CAFC insisted that "parties exhaust their remedies before the pertinent administrative
agencies."264 Commerce is not a "party" to this investigation, but rather is the "pertinent
administrative agenc{y}" before which this investigation is being adjudicated. Furthermore, I8
USC § 2637(d) is specific to actions brought before the CIT, not to Commerce's own final
determination in an investigation.

Further, we find that TKS/TKT's reliance on Nitek and Toth are misplaced, as both of these cases
involve the United States, and CBP in particular, as parties to an action before the CIT involving
the collection of duties, rather than any agency acting in an administrative capacity.

Comment 10: Whether Commerce Imposed Provisional Measures Without Adequate
            Consideration

TKS/TKT's Comments:265
  • Despite the tremendous impact of the Preliminary Determination on importers,
     Commerce failed to provide a clear explanation for its decision on several issues, thereby
     significantly impeding TKS/TKT's ability to challenge Commerce's findings.
  • Commerce must base its determinations, including preliminary determinations, on
     substantial record evidence,2' with "a rational connection between the facts found and
     the choices made.i267
  • Commerce's Preliminary Determination falls well short of the CAFC's standards for
     clarity and reasonableness. The CAFC states that a court will "uphold a decision of less
     than ideal clarity if the agency's path may reasonably be discerned, {but} the required
     explanation must reasonably tie the determination under review to the governing
     statutory standard and to the record evidence by indicating what statutory interpretations
     the agency is adopting and what facts the agency is finding."268
  • Commerce did not provide sufficient explanation or detail to support its decisions and did
     not review the full record of the investigation containing facts relevant to the
     determination.
  • As the Preliminary Determination is the first moment in which importers face real
     monetary consequences, Commerce should be held to a higher standard than it has shown
     in this investigation.
  • The petitioners should request alignment of the final determination in this CVD
     investigation with the final less-than-fair-value (LTFV) determination in the companion

264 See Cortes, 502 F.3d at 1379 (emphasis added).
265 See  TKS/TKT's Brief at 45-47.
266 Id. at 45 (citing Asociacion Colombiana de Exportadores v. United States, 6 F. Supp. 2d 865, 880 (CIT 1998)).
2G7 Id. (citing Siderca, S.A.LC. v. United States, 350 F. Supp. 2d 1223, 1236 (CIT 2004) (citing Burlington Truck
Lines v. United States, 371 U.S. 156, 168 (1962)).
268 Id. at 46 (citing CP Kelco v. United States, 949 F.3d 1348, 1356 (Fed. Cir. 2020) (quoting Bowman Transp., Inc.
v. Arkansas-Best Freight Sys.. Inc., 419 US 281, 286 (1974)).



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                                                  Appx241
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          investigation of silicon metal from Malaysia, as they already have with the final
          determinations in the companion LTFV investigations of silicon metal from Iceland and
          Bosnia and Herzegovina. Such an alignment would extend the signature date for the final
          determination until June 10, 2021, and would be a partial first step to address their
          interference in this CVD investigation.
      •   Absent an alignment request from the petitioners, Commerce could make a neutral
          subsidy rate decision based on the questionnaire responses submitted to date, including
          the GOK's response and TKS/TKT's initial questionnaire response.
      •   Commerce could, as it has in the past, issue an affirmative final subsidy finding where no
          duties or cash deposits are imposed until a future administrative review, at which time
          Commerce could determine if there are any subsidies without the petitioners'
          interference.269

Petitioners' Rebuttal.•270
    • TKS/TKT's proposed remedies are not warranted.
    • Commerce's findings in the Preliminary Determination, including its application of total
       AFA, selection of AFA subsidy rates, and calculation of the total AFA subsidy rate, were
       proper and consistent with the manner in which Commerce regularly conducts CVD
       investigations.

Commerce's Position: We disagree with TKS/TKT's characterization of Commerce's actions
in this proceeding, as well as its suggested remedies. TKS/TKT states that Commerce did not
provide sufficient explanation or detail to support its decisions. On the contrary, we provided
extensive explanations regarding our findings in the Preliminary Determination, as well as in
multiple memoranda and letters drafted in response to TKS/TKT's filings on the record of this
investigation. For instance, in a one-week period, we released multiple letters and memoranda
explaining why we: (1) would not accept TKS/TKT's untimely filing of its initial questionnaire
response;27I (2) would accept KazSilicon's timely filed initial questionnaire response;272 and (3)
rejected the petitioners' request to disqualify TKS/TKT's counsel from participating in this
investigation.273

Further, in October, we twice held meetings or conference calls with TKS/TKT's counsel to
discuss its rejected submissions, as well as TKS/TKT's request that Commerce terminate the
investigation, first with the Director of the office handling this investigation,274 and then with the
Assistant Secretary of Enforcement & Compliance.275 Commerce subsequently addressed its
decision not to terminate the investigation, while providing further explanation to TKS/TKT

269 Id. at 47 (citing Small Business Telephonesfrom Taiwan, 43 FR 42543, 42550 (October 17, 1989) (SBTSfronz
Taiwan), affirmed in Auto Telecom Co., Ltd. v. United States, 765 F. Supp. 1094 (CIT 1991).
27° See Petitioners' Rebuttal Brief at 50-51.
271 See First Rejection Letter.
272 See Memorandum, "Silicon Metal from the Republic of Kazakhstan: Acceptance of KazSilicon Response,"
dated October 2, 2020.
273 See Disqualification Memorandum.
274 See Memorandum, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Ex-Parte Telephone Call with Counsel for Respondent," dated October 16, 2020.
27$ See Memorandum, "Countervailing Duty
                                              Investigation of Silicon Metal from the Republic of Kazakhstan:
Ex-Parte Telephone Call with Counsel for Respondent," dated October 27, 2020.



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regarding the rejection of TKS/TKT's initial questionnaire response, and our decision not to
disqualify TKS/TKT's counsel from participating in this investigation.'-76 In addition to
responding to inquiries and allegations from both TKS/TKT and the petitioners, we also fielded
inquiries from the GOK regarding the rejection of TKS/TKT's response, holding an ex-parte
conference call between the Ambassador from Kazakhstan to the United States and the Assistant
Secretary for Enforcement & Compliance.'-77 Recently, as Commerce prepared for this final
determination, and subsequent to the deadline for the submission of briefs and rebuttal briefs, we
issued two separate letters to TKS/TKT explaining its decision to reject TKS/TKT's submission
of untimely-filed new factual information and untimely arguments.278

The Prelinzinmy Determination, as well as the numerous memoranda and letters issued by
Commerce in this investigation, indicate the facts that Commerce relied upon in making our
findings in this investigation, as required by the Act. Furthermore, Commerce afforded
TKS/TKT the opportunity to comment further in its case brief, and we have considered these
arguments once again prior to issuing a final determination.

With respect to the TKS/TKT's proposed remedies, it is not within Commerce's authority to
align the final determination in this CVD investigation with the final determination in the LTFV
investigation of silicon metal from Malaysia, absent a request to do so by the petitioners under
19 CFR 351.210(b)(4). Moreover, as explained in further detail in Comment 3, we do not find it
appropriate to make a "neutral subsidy margin decision" based solely on the GOK's
questionnaire responses or on TKS/TKT's rejected initial questionnaire response, which as
TKS/TKT has noted, has not been maintained on the record of this investigation. Nor do we find
it appropriate make an affirmative finding while requiring no cash deposits of estimated CVD
duties. While we acknowledge that Commerce has done so before,279 this action is rare and
based on case-specific circumstances which are not present here. In the instance referenced by
TKS/TKT, Commerce only applied a zero percent cash deposit rate for "All Others." This
finding was deemed appropriate under the dumping-specific "multinational corporation"
methodology,2s0 which is not applicable to the current CVD proceeding.

Comment 11: Whether Commerce Should Find that Two Additional Programs Are
            Countervailable

In the Preliminary Determination, Commerce found that two programs, the Provision of Water
for LTAR and Provision of Drainage System Services for LTAR, were not countervailable based
on information provided by the GOK.



226 See Second Rejection Letter.
277 See Memorandum, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Ex-Parte Telephone Call with Ambassador Erzhan Kazykhanov," dated December 2, 2020.
228 See Commerce's Letter, "Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan:
Rejection and Removal of Submissions from the Record," dated January 27, 2021; see also Commerce's Letter,
"Countervailing Duty Investigation of Silicon Metal from the Republic of Kazakhstan: Request for
Reconsideration," February 11, 2021.
279 See SETSfrom Taiwan.
280 See section 773(d) of the Act.


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 Petitioners' Comments:28I
     • In the Preliminary Determination, Commerce found that two programs, the Provision of
         Water for LTAR and Provision of Drainage System Services for LTAR, were not
         countervailable, based on information that the GOK provided about those programs in its
         questionnaire responses.
    • Since the Preliminary Determination, the GOK failed to respond to Commerce's ILV
         Questionnaire, which explicitly requested specific information regarding those programs.
         The GOK's failure to provide the requested information signifies that the information that
         the GOK provided cannot be verified.
    • In the ILV Questionnaire, Commerce expressly warned the GOK that failure to submit
         the requested information could result in the application of AFA. Consistent with this
        warning, Commerce should conclude that the GOK has decided not to cooperate in this
         proceeding and apply total AFA; as a result, Commerce should conclude that the
         Provision of Water for LTAR and Provision of Drainage System Services for LTAR
         programs are countervailable and determine subsidy rates for these programs.
    • The application of AFA is warranted here based on the GOK's failure to respond to the
        ILV Questionnaire because the GOK has failed to cooperate by not acting to the best of
        its ability to comply with Commerce's request for information.
    • Section 782(d) of the Act, which requires that Commerce provide a party with one
        opportunity to correct a deficient submission, is not relevant here because it does not
        apply to verification,2" or where there is a complete failure to respond.283
    • Commerce should apply AFA rates of 20 percent to both the water and drainage service
        programs, consistent with its precedent and practice.
    • In both the prior CVD investigation of silicon metal from Kazakhstan and the
        Preliminary Determination, Commerce properly calculated and applied an AFA rate for
        the Corporate Income Tax Exemption program for companies located in the SEZ in
        question, equal to Kazakhstan's standard corporate income tax rate of 20 percent.
    • Because the 20 percent rate from the Corporate Income Tax Exemption program reflects
        the highest, and only, above-de minimis rate calculated for any subsidy program in a
        Kazakhstan CVD proceeding that TKS/TKT's industry could conceivably use, relying on
        this rate is consistent with Commerce's AFA hierarchy.

Commerce's Position: We agree that the programs that were found to be not countervailable in
the Preliminary Determination, the Provision of Water for LTAR and the Provision of Drainage
Services for LTAR, should be found to be countervailable for purposes of this final
determination. Pursuant to section 782(i)(1) of the Act, which requires Commerce to "verify all
information relied upon in making a final determination in an investigation," on December 7,
2020, we issued the ILV questionnaire to the GOK "to collect additional or supporting
documentation related to information that {the GOK } already submitted in this investigation."284

281 See Petitioners' Brief at 2-6. We received no additional comments from other parties on these programs.
282 Id. at 5 (citing Hung Vuong Corp. v. United States, Slip Op. 20-174, at 44 (CIT 2020) ("{T} he Court construes
1677m(d) as inapplicable at the verification stage")).
283 Id. at 5 (citing Ta Chen Stainless Steel Pipe, Inc. v. United States, 298 F.3d 1330, 1338 (Fed. Cir. 2002) ("The
statute only applies when a `response to a request' is deemed to not comply. A failure to respond is not the same as
a `response' as required by the statute")).
284 See ILV Questionnaire, Cover Letter at 1.




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 Our ILV questionnaire was limited in scope to programs for which we relied on information
 provided by the GOK to make countervailability findings in the Preliminaly Determination.
 Hence, we asked the GOK to provide documentation supporting information it provided in its
 initial and supplemental questionnaire responses, including its assertions that the Provision of
 Water for LTAR and the Provision of Drainage Services for LTAR programs were not available
 to the company respondents, and thus not countervailable. The GOK did not respond to the ILV
 Questionnaire.

In reaching our finding that the Provision of Water for LTAR and the Provision of Drainage
Services for LTAR programs are countervailable, we are relying on facts otherwise available,
under section 776(a) of the Act, with an adverse inference pursuant to section 776(b) of the Act,
because we find that the GOK failed to act to the best of its ability in not responding to
Commerce's ILV Questionnaire. In selecting from among the possible rates to apply to these
programs, we are applying the same methodology that was used in the Preliminary
Determination to establish a 20 percent ad valorem subsidy rate for each program,285 resulting in
a total final subsidy rate of 160 percent ad valorem.

VIII. RECOMMENDATION

We recommend approving all of the above positions and adjusting countervailable subsidy rates,
as appropriate. If these positions are accepted, we will publish the final determination in the
Federal Register and notify the ITC of our determination.



Agree                          Disagree
                                     2/22/2021



  x
      Signed by:
             by:JAMES MAEDER
James Maeder
Deputy Assistant Secretary
 for Antidumping and Countervailing Duty Operations




285   See Preliminary Determination PDM at 7-8.



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         COMMERCE COUNTERVAILING DUTY ORDER




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to secure the payment of estimated             Dated: April 14, 2021,                            the ITC notified Commerce of its
antidumping duties with respect to           Christian Marsh,                                    affirmative final determination that
entries of the subject merchandise           Acting Assistant Secretaryfor Enforcement           pursuant to sections 705(b)(1)(A)(i) and
entered or withdrawn from warehouse,         and Compliance.                                     705(d) of the Act, an industry in the
for consumption on or after September        Appendix—Scope of the Orders                        United States is materially injured by
12, 2020 (i.e., 90 days prior to the date                                                        reason of subsidized imports of silicon
of the publication of the Preliminary         The scope of these orders covers all forms         metal from Kazakhstan.2
                                             and sizes of silicon metal, including silicon
Determinations), but before December         metal powder. Silicon metal contains at least       Scope of the Order
11, 2020 (i.e., the date of publication of   85.00 percent but less than 99.99 percent
the Preliminary Determinations).             silicon, and less than 4.00 percent iron, by           The product covered by this order is
                                             actual weight. Semiconductor grade silicon          silicon metal from Kazakhstan. For a
Provisional Measures                         (merchandise containing at least 99.99              complete description of the scope of the
                                             percent silicon by actual weight and
  Section 733(d) of the Act states that                                                          order, see the Appendix to this notice.
                                             classifiable under Harmonized Tariff
suspension of liquidation pursuant to an     Schedule of the United States (HTSUS)               Countervailing Duty Order
affirmative preliminary determination        subheading 2804.61.0000) is excluded from
may not remain in effect for more than       the scope of these orders.                             On April 12, 2021, in accordance with
four months, except where exporters             Silicon metal is currently classifiable          sections 705(b)(1)(A)(i) and 705(d) of the
representing a significant proportion of     under subheadings 2804.69.1000 and                  Act, the ITC notified Commerce of its
                                             2604.69.5000 of the HTSUS. While the
exports of the subject merchandise           HTSUS numbers are provided for
                                                                                                 final determination that an industry in
request Commerce extended the four-          convenience and customs purposes, the               the United States is materially injured
month period to no more than six-            written description of the scope remains            by reason of subsidized imports of
months. Commerce published the               dispositive.                                        silicon metal from Kazaklistan.3
Preliminary Determinations on                IFR Doc. 2021-08112 Filed 4-16-21: 8:45 am)         Therefore, in accordance with section
December 11, 2020. Commerce's Final          BILLING CODE 3510-DS-P                              705(c)(2) of the Act, Commerce is
Determinations were not extended and                                                             issuing this countervailing duty order.
were published on February 26, 2021.                                                             Because the ITC determined that
Therefore, the four-month period         DEPARTMENT OF COMMERCE                                  imports of silicon metal from
beginning on the date of publication of                                                          Kazakhstan are materially injuring a
the Preliminary Determinations ended     international Trade Administration                      U.S. industry, unliquidated entries of
on April 9, 2021. Furthermore, section   [C-834—811]                                             such merchandise from Kazakhstan,
737(b) of the Act states that definitive                                                         which are entered or withdrawn from
duties are to begin on the date of       Silicon Metal From the Republic of                      warehouse for consumption, are subject
publication of the ITC's final injury    Kazakhstan: Countervailing Duty Order                   to the assessment of countervailing
determination.                           AGENCY: Enforcement and Compliance,
                                                                                                 duties.
   Therefore, in accordance with section International Trade Administration,                        Therefore, in accordance with section
733(d) of the Act, we will instruct CBP  Department of Commerce.                                 706(a) of the Act, Commerce will direct
to terminate the suspension of           SUMMARY: Based on affirmative final                     U.S. Customs and Border Protection
liquidation and to liquidate, without    determinations by the Department of                     (CBP) to assess, upon further instruction
regard to antidumping duties,            Commerce (Commerce) and the                             by Commerce, countervailing duties for
unliquidated entries of silicon metal    International Trade Commission (ITC),                   all relevant entries of silicon metal from
from Bosnia and Iceland entered, or      Commerce is issuing a countervailing                    Kazakhstan. Countervailing duties will
withdrawn from warehouse, for            duty order on silicon metal from the                    be assessed on unliquidated entries of
consumption after April 9, 2021, the     Republic of Kazakhstan (Kazakhstan).                    silicon metal from Kazakhstan which
date on which the provisional measures DATES: Applicable April 19, 2021.                         are entered, or withdrawn from
expired, until and through the day       FOR FURTHER INFORMATION CONTACT:                        warehouse, for consumption on or after
preceding the date of publication of the Justin Neuman, AD/CVD Operations,                       December 3, 2020, the date of
ITC's final injury determinations in the Office V, Enforcement and Compliance,                   publication of the Preliminary
Federal Register. Suspension of          International Trade Administration,                     Determination," but will not include
liquidation will resume on the date of   U.S. Department of Commerce, 1401                       entries occurring after the expiration of
publication of the ITC's final            Constitution Avenue NW, Washington,                    the provisional measures period and
determinations in the Federal Register.  DC 20230; telephone: (202) 482-0486.                    before the publication of the ITC's final
                                             SUPPLEMENTARY INFORMATION:                          injury determination under section
Notifications to Interested Parties                                                              705(b) of the Act, as further described
                                         Background
   This notice constitutes the                                                                   below.
antidumping duty orders with respect to     In accordance with sections 705(a),
silicon metal from Bosnia and Iceland    705(d), and 777(i)(1) of the Tariff Act of              Determination, 86 FR 11725 (February 26, 2021)
                                         1930, as amended (the Act), and 19 CFR                  (Final Determination) and accompanying Issues end
pursuant to section 736(a) of the Act.   351.210(c), on February 26, 2021,                       Decision Memorandum.
Interested parties can find a list of    Commerce published its affirmative                        = See ITC's Letter, ITC Notification, dated April
antidumping duty orders currently in     final determination that countervailable                12,2021 (1TC Notification Letter).
effect at http://enforcernent.trade,gov/ subsidies are being provided to                           3 Id.

statsliastatsi.html.                                                                                 See Silicon Metal from the Republic of
                                         producers and exporters of silicon metal                Kazakhstan: Preliminary Affirmative Countervailing
   These orders are published in         from Kazakhstan.1 On April 12, 2021,                    Duty Determination, and Alignment of Final
accordance with section 736(a) of the                                                            Determination with Final Antidumping Duty
Act and 19 CFR 351.211(b),                   See Silicon Metal from the. Republic of             Determination, 85 FR 78122 (December 3,2020)
                                             Kazakhstan: Final Affirmative Countervailing Duty   (Preliminary Determination).

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Suspension of Liquidation and Cash             Federal Register. Suspension of                 impact of our information collection
Deposits                                       liquidation will resume on the date of          requirements and minimize the public's
   In accordance with section 706 of the       publication of the ITC's final                  reporting burden. The purpose of this
Act, Commerce will instruct CBP to             determination in the Federal Register.          notice is to allow for 60 days of public
reinstitute the suspension of liquidation      Notification to Interested Parties              comment preceding submission of the
of silicon metal from Kazakhstan, as                                                           collection to OMB.
described in the appendix to this notice,        This notice constitutes the
                                               countervailing duty order with respect          DATES: To ensure consideration,
effective on the date of publication of                                                        comments regarding this proposed
the ITC's notice of final determination        to silicon metal from Kazakhstan
                                               pursuant to section 706(a) of the Act.          information collection must be received
in the Federal Register, and to assess,                                                        on or before June 18, 2021.
upon further instruction by Commerce,          Interested parties can find a list of
pursuant to section 706(a)(1) of the Act,      countervailing duty orders currently in         ADDRESSES: Interested persons are
countervailing duties for each entry of        effect at http://enforcement.trade.gov/         invited to submit written comments by
the subject merchandise in an amount           statstiastats1.html. This order is issued       mail to Maureen O'Reilly, Management
based on the net countervailable               and published in accordance with                Analyst, NIST, by email to
subsidy rates below. On or after the date      section 706(a) of the Act and 19 CFR            PRAcotnments€doc.gov. Please
of publication of the ITC's final injury       351.211(b).                                     reference OMB Control Number 0693-
determinations in the Federal Register,          Dated: April 14, 2021.                        0080 in the subject line of your
CBP must require, at the same time as          Christian Marsh,                                comments. Do not submit Confidential
importers would deposit estimated              Acting Assistant Secrete'', for Enforcement     Business Information or otherwise
normal customs duties on this                  and Compliance.                                 sensitive or protected information.
merchandise, a cash deposit equal to the       Appendix                                        FOR FURTHER INFORMATION CONTACT:
rates noted below. The all-others rate                                                         Requests for additional information or
applies to all producers or exporters not      Scope of the Order
                                                                                               specific questions related to collection
specifically listed below.                        The scope of this order covers all forms
                                               and sizes of silicon metal, including silicon   activities should be directed to Jeni
                                    Subsidy    metal powder. Silicon metal contains at least   Kostick, Office of Safety, Health, and
           Company                    rate     85.00 percent but loss than 99.99 percent       Environment, NIST, 100 Bureau Drive,
                                   (percent)   silicon, and less than 4.00 percent iron, by    Gaithersburg, MD 20899, (301) 975-
                                               actual weight. Semiconductor grade silicon      3263 or jennifer.kostick©nist.gov.
Tau-Ken Temir LLP and JSC                      (merchandise containing at least 99.99
   NMC Tau-Ken Samruk 5               160.00   percent silicon by actual weight and            SUPPLEMENTARY INFORMATION:
All Others                            160.00   classifiable under Harmonized Tariff
                                               Schedule of the United States (HTSUS)           I. Abstract
Provisional Measures                           subheading 2804.61.0000) is excluded from         The National Institute of Standards
                                               the scope of this order.
  Section 703(d) of the Act states that           Silicon metal is currently classifiable      and Technology (NIST) is a unique
suspension of liquidation pursuant to an       under subheadings 2804.69.1000 and              federal campus which hosts daily a
affirmative preliminary determination          2804.69.5000 of the HTSUS. While the            range of non-federal individuals. Non-
may not remain in effect for more than         HTSUS numbers are provided for                  federal individuals may include 'MST
four months. In the underlying                 convenience and customs purposes, the           Associates, volunteers, students, and
investigation, Commerce published the          written description of the scope remains        visitors. In order to provide these
Preliminary Determination on December          dispositive.                                    individuals with proper health care and
3,2020. Therefore, the four-month               (FR Doc. 2021-08111 Filed 4-16-21; 8:45 am)    health documentation, NIST is pursuing
period beginning on the date of the             BILLING CODE 3510-DS-P                         approval of three health unit forms. The
publication of the Preliminary                                                                 information is collected for the
Determination ended on April 1, 2021.                                                          following purposes:
Furthermore, section 707(b) of the Act          DEPARTMENT OF COMMERCE
                                                                                                 1. For medical treatment, testing, or
states that definitive duties are to begin                                                     recording of medical or safety
                                                National Institute of Standards and
on the date of publication of the ITC's                                                        equipment or incidents.
final injury determination,                     Technology
  Therefore, in accordance with section Agency Information Collection                            2. To refer information required by
703(d) of the Act, we instructed CBP to                                                        applicable law to be disclosed to a
                                                Activities; Submission to the Office of        Federal, State, or local public health
terminate the suspension of liquidation         Management and Budget (OMB) for
and to liquidate, without       regard   to                                                    service agency, concerning individuals
                                                Review and Approval; Comment                   who have contracted certain
countervailing duties, unliquidated             Request; Safety and Health
entries of silicon metal from Kazakhstan Information Collection                                communicable diseases or conditions.
entered, or withdrawn from warehouse,                                                          Such information is used to prevent
for consumption, on or after April 2,           AGENCY: National Institute of Standards        further outbreak of the disease or
2021, the date the provisional measures and Technology (NIST), Commerce.                       condition.
expired, until and through the day              ACTION: Notice of Information                    3. To disclose information to the
preceding the date of publication of the        Collection, request for comment.               appropriate Federal, State, or local
ITC's final injury determination in the                                                        agencies responsible for investigation of
                                                SUMMARY: The Department of
                                                Commerce, in accordance with the               an accident, disease, medical condition,
   As discussed in the Issues and Decision                                                     or injury as required by pertinent legal
Memorandum, Commerce has found the following    Paperwork Reduction Act of 1995
companies to he cross-owned with Tau-Ken Temir  (PRA), invites the general public and          authority.
LLP and JSC NMC Thu-Ken Sattiruk: Silicon Metal other Federal agencies to comment on             4. To disclose to the Office of
LLP, Metallurgical Combine KazSilicon LLP,
National Welfare Fund "Samruk-Kazyna" JSC,      proposed, and continuing information           Workers' Compensation Programs about
"Ekibastuz GRES-2 station" JSC, and JSC KEGOC,  collections, which helps us assess the         a claim for benefits filed.

                 Filed By: Justin Neuman, Filed Date: 4/19/21              11:15 AM, Submission Status: Approved



                                                             Appx297
